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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater *         MDL NO. 2179
  Horizon” in the Gulf of Mexico, on April *
  20, 2010                                 *
                                           *         SECTION J
                                           *
This document relates to all actions.      *
                                           *
                                                *    Honorable CARL J. BARBIER
                                                *
                                                *    Magistrate Judge SHUSHAN
                                                *


Bon Secour Fisheries, Inc., et al., individually *   Civil Action No. 12-970
and on behalf of themselves and all others *
similarly situated,                              *
                                                 *   SECTION J
                                                 *
  Plaintiffs,                                    *
                                                 *
                                                *    Honorable CARL J. BARBIER
v.
                                                *
                                                *    Magistrate Judge SHUSHAN
BP Exploration & Production Inc.; BP
America Production Company; BP p.l.c., *


     Defendants.


        BP DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION
FOR FINAL APPROVAL OF DEEPWATER HORIZON ECONOMIC AND PROPERTY
    DAMAGES SETTLEMENT AGREEMENT AS AMENDED ON MAY 2, 2012



COUNSEL FOR MOVING PARTIES ARE LISTED AT END OF MOTION
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                                       INTRODUCTION

       Settlements are favored in the federal system. See Williams v. Phillips Petroleum Co., 23

F.3d 930, 935 (5th Cir. 1994) (“Public policy favors voluntary settlement of claims . . . .”).

Interminable litigation, by contrast, is deeply disfavored. See White v. Murtha, 377 F.2d 428,

431 (5th Cir. 1967) (referring to the “sound public policy that litigation should come to an end”).

More than two decades were spent litigating disputes in both federal and state court arising out

of the Exxon Valdez spill in 1989 before the Supreme Court brought a substantial measure of

legal closure to that incident—and even so, some Valdez litigation remains ongoing. See Exxon

Shipping Co. v. Baker, 554 U.S. 471 (2008); see also infra n.36. Indeed, Congress enacted the

Oil Pollution Act of 1990 (“OPA”) in response to the legal dysfunction revealed by the Valdez

litigation, and as a result, OPA encourages settlements of spill claims whenever fairly possible.

See, e.g., 33 U.S.C. § 2713.

       Consistent with the strong public policy favoring settlements, as underscored by OPA’s

policy favoring prompt resolution of disputes regarding oil spills, both BP (through movants BP

Exploration & Production Inc. and BP America Production Company) and the Plaintiffs’

Steering Committee (“PSC”) were determined to avoid a repeat of the Exxon Valdez litigation

cycle, and, if possible, to reach common ground for the benefit of the Gulf’s citizenry. In short,

the parties sought to balance risks to each side, so that economic relief could be channeled on a

timely basis to affected individuals and businesses, while minimizing burdens on the judicial

system, potential trial witnesses, and the taxpaying public. After many thousands of hours of

legal negotiation and drafting, analysis from a broad team of experts, and a significant

commitment of judicial resources in the form of Magistrate Judge Shushan’s oversight and active

mediation, BP (alongside the PSC) now seeks from the Court an order of final approval for the

settlement that they hammered out over months of hard-fought negotiations.
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         There is no question that class action settlements require careful judicial scrutiny to

ensure the fair treatment of class members, to ensure the absence of collusion, and to make

certain that any settlement is constructed for the benefit of the entire class and not for its

attorneys alone or even predominantly for its attorneys and class representatives. But none of the

problems that have existed in some other litigated class settlements can seriously be contended to

exist here. Outside of the Seafood Compensation Program, the settlement relief offered by BP is

uncapped. BP also voluntarily assumed the payment of all compensatory damages for class

members, despite the significant—indeed substantial—causal role of other defendants in the

incident. Class representatives were not shown special treatment. And a collusive arrangement

between BP and class counsel simply would not have required the many months consumed in

this settlement’s excruciatingly detailed negotiations and indeed could not have occurred under

the watchful eyes of Judge Shushan, who personally oversaw and mediated the settlement

process and negotiations.

         In this brief, BP explains in detail why this settlement is more than a fair, reasonable, and

adequate resolution of this dispute.              Yet, while the Court necessarily must consider the

Settlement Agreement in light of the facts that have been developed and the recovery that the

class might obtain in litigation, it is important to stress that the Court’s scrutiny of the Settlement

Agreement should not rise to the level of a trial. See, e.g., Reed v. Gen. Motors Corp., 703 F.2d

170, 172 (5th Cir. 1983) (“The court, however, must not try the case in the settlement hearings

because the very purpose of the compromise is to avoid the delay and expense of such a trial.”)

(alteration and quotation omitted).1 Rather, the Court should bear in mind that class action


1
  See also Ass’n for Disabled Ams., Inc. v. Amoco Oil Co., 211 F.R.D. 457, 467 (S.D. Fla. 2002) (“In evaluating
these considerations, the Court must not try the case on the merits.”); In re Corrugated Container Antitrust Litig.,
643 F.2d 195, 212 (5th Cir. 1981) (explaining that the evaluation of a settlement “is not and cannot involve a trial on
the merits”); In re Enron Corp. Sec., Deriv. & “ERISA” Litig., 228 F.R.D. 541, 553 (S.D. Tex. 2005) (stating that

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settlements are entitled to a presumption of reasonableness, meaning that those few class

members who have objected to the Settlement Agreement bear the burden of demonstrating that

the Settlement Agreement is not fair, reasonable, and adequate—and that their objections rise to

the level of being both valid and relevant. See infra Argument Parts I.A, III.A.

         Precisely because the great benefits of this historic settlement—including its monetary

and structural fairness to class members—are so self-evident, the Court in May 2012

preliminarily approved the comprehensive class action settlement that the parties present here for

final approval to resolve the vast majority of the private claims for economic and property

damages that arose against BP following the sinking of the Deepwater Horizon and the resulting

oil spill. See Rec. Doc. 6418 (“Preliminary Approval Order”). In preliminarily approving the

settlement, the Court concluded that it “appears fair, has no obvious deficiencies, does not

improperly grant preferential treatment to the Class Representatives or to segments of the Class,

and does not grant excessive compensation to attorneys.” Id. at 32.

         In light of the Court’s own initial judgment in May 2012 that the Settlement Agreement

is fair and reasonable as well as the strong confirmation of that view by the objective facts

developed in the record and the legal analysis summarized below, BP respectfully requests that

the Court enter an order granting final approval to the Settlement Agreement.




evaluation of a settlement cannot involve a trial on the merits “because the policy of encouraging settlements is
effected by ‘the very uncertainty of the outcome of the litigation and the avoidance of wasteful litigation and
expense’”) (quoting In re Corrugated Container, 643 F.2d at 212); UAW v. Gen. Motors Corp., 235 F.R.D. 383, 387
(E.D. Mich. 2006) (“[A] fairness hearing is not a trial, but instead has a very singular and narrow purpose—to
determine whether the settlement at issue is fair, reasonable, and adequate.”). Nor is it the Court’s responsibility to
determine whether, had negotiations proceeded differently, the class conceivably might have obtained even greater
recovery. See Sullivan v. DB Invs., Inc., 667 F.3d 273, 324 (3d Cir. 2011) (en banc) (“Notably, in conducting the
analysis, the court must guard against demanding too large a settlement based on its view of the merits of the
litigation; after all, settlement is a compromise, a yielding of the highest hopes in exchange for certainty and
resolution.”) (quotations omitted).


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                                          BACKGROUND

I.        PROCEDURAL HISTORY

          A.     Creation Of MDL 2179

          On April 20, 2010, following loss of well control at the Macondo well in the MC 252

block in the Gulf of Mexico, an explosion and fire aboard Transocean’s drilling rig Deepwater

Horizon set in motion a tragic chain of events that led to eleven deaths, dozens of injuries, and an

oil spill in the Gulf affecting multiple Gulf Coast communities and States. Notwithstanding BP’s

immediate and unflagging commitment to pay every legitimate claim for damages, BP quickly

faced hundreds of lawsuits from private parties seeking compensation for economic and other

losses.

          This Court took charge of the cases filed in this District arising from the incident, and on

August 10, 2010, the Judicial Panel on Multidistrict Litigation (“JPML”) centralized all federal

actions (excluding shareholder suits) in this District and assigned them to this Court pursuant to

28 U.S.C. § 1407. See In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,

on April 20, 2010, 731 F. Supp. 2d 1352 (J.P.M.L. 2010).

          On October 19, 2010, the Court issued Pretrial Order 11 (“PTO 11”), creating pleading

bundles for various types of claims. See Rec. Doc. 569. Among the pleading bundles was the

B1 bundle, which encompasses all private claims for economic loss and property damage. Id. at

3. In accordance with PTO 11, plaintiffs filed a B1 Master Complaint on December 15, 2010,

Rec. Doc. 879, and filed an Amended B1 Master Complaint on February 9, 2011, Rec. Doc.

1128. After numerous defendants filed motions to dismiss the Amended B1 Complaint, the

Court issued an order granting in part and denying in part these motions on August 26, 2011.

See Rec. Doc. 3830. BP subsequently answered the First Amended Complaint on September 27,

2011. See Rec. Doc. 4130. To date, more than 109,500 claimants have filed short-form joinders

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adopting the First Amended B1 Master Complaint.2

        B.       Unprecedented Depth And Volume Of Discovery In The Underlying MDL
                 Proceedings

        In the 20 months that elapsed between the JPML’s centralization order and this Court’s

preliminary approval order, the parties engaged in what the Court described in an understated

fashion as “extensive discovery and motion practice.” Preliminary Approval Order at 3. As the

Court recognized, this extensive discovery included “taking 311 depositions, producing

approximately 90 million pages of documents, and exchanging more than 80 expert reports on an

intense and demanding schedule.”               Id.   The parties also had the benefit of numerous

governmental and other public investigations, as well as other sources of data reflecting on class

members’ damages, such as statements made on short form joinders (“SFJs”) and information

drawn from the record of payments from the Gulf Coast Claims Facility (“GCCF”). As a result

of this extensive discovery, and with the benefit of information developed through the SFJs and

the GCCF, the parties arrived at the eve of the Limitation and Liability trial scheduled and

structured by Pretrial Order 41 (Rec. Doc. 4083) completely apprised of the operative facts and

the potential risks and benefits of trial. See infra Argument Part I.C.3.

        C.       Settlement Negotiations

        While conducting discovery at a truly breakneck pace (again overseen by Judge

Shushan), the parties simultaneously engaged in extensive, good-faith, arms-length settlement

negotiations. All told, the parties engaged in more than 145 days of face-to-face meetings, as

2
  On April 16, 2012, following the parties’ arrival at an agreement in principle, the PSC filed a new class action
complaint captioned Bon Secour Fisheries, Inc. v. BP Exploration & Production Inc., No. 12-970, Doc. No. 1 (E.D.
La. Apr. 16, 2012). The Bon Secour Fisheries class action complaint is similar to the Amended B1 Complaint and
asserts four causes of action or accompanying forms of relief: (1) negligence, gross negligence and willful
misconduct, and breach of contract, under general maritime law; (2) OPA claims; (3) nuisance, trespass, fraudulent
concealment, and strict liability claims, under federal or other applicable law; and (4) punitive damages on the
foregoing claims. Id. ¶¶ 319-432. The PSC filed an amended complaint on May 2, 2012. See Rec. Doc. 6412. BP
answered the amended Bon Secour Fisheries complaint on May 7, 2012. See Rec. Doc. 6453.


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well as numerous phone calls and WebEx conferences. See Preliminary Approval Order at 3; see

also Godfrey Decl. (Ex. 8) ¶ 2 (describing “many months of arms-length negotiations between

counsel representing the Plaintiffs’ Steering Committee (‘PSC’) and counsel for BP”).

       The parties initiated contact through their respective counsel and had preliminary

meetings in early 2011. See Godfrey Decl. (Ex. 8) ¶ 6. The parties began negotiating in

February 2011, id. ¶ 7, and negotiations were held on a sustained basis commencing in May

2011, id. ¶¶ 9-53.

       “Talks intensified in July 2011, [also] occurring on an almost-daily basis.” Preliminary

Approval Order at 3.     “In early 2012, Magistrate Judge Shushan became involved in the

negotiations as neutral mediator.” Id. Judge Shushan ensured that the negotiation process was

fair and ethical, and her involvement over time became integral to resolving the litigation. Not

only was Judge Shushan heavily involved on a daily basis, but key compensation elements of the

settlement were reached in her presence, with Judge Shushan engaged in intense shuttle

diplomacy between class counsel and BP’s counsel, who were in different rooms as she helped to

broker the agreement’s key compensation terms.

       In negotiating the Settlement Agreement, the parties followed the same protocol for each

type of claim: rather than negotiating a total settlement ceiling, either for an aggregate class

settlement or for any type of claim, the parties instead assessed the strength and value of each

type of claim. Without regard to total payout figures, the parties negotiated claims frameworks,

programs, and processes, including details such as (1) what categories of claims would be paid,

(2) what types of proof would be required for claimants to receive a settlement payment,

(3) whether certain claimants should be permitted to benefit from causation presumptions that

BP was willing to accept for settlement purposes (despite its informed legal views as to what



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OPA or maritime law strictly demanded), and (4) how settlement benefits would be calculated.

The negotiations were thus exclusively focused, from the outset, on producing claims

frameworks that could be administered fairly, objectively, and consistently.

       During this process, PSC and other counsel most familiar with each type of claim advised

the negotiators to ensure that the frameworks reflected and were reasonably designed to address

the actual situations faced by the claimants falling within each category. For example, attorneys

representing business owners contributed to the development of the business economic loss

framework.    So, too, did attorneys representing employees inform the development of the

individual lost wages framework; attorneys representing wetlands owners, the property damage

framework; attorneys representing homeowners, the property sales loss framework—and so on.

The parties also received input from class members during the process, ensuring that their voices

were fully heard during the settlement negotiation process. Finally, as discussed below, see infra

Part III.A.1, a Court-appointed neutral was central to the development of the Seafood

Compensation Program.

       D.      Agreement In Principle And The Transition Process

       On March 2, 2012, after the Court had already once adjourned the Limitation and

Liability trial originally scheduled for February 27, 2012, see Rec. Doc. 5887, the parties

informed the Court that they had reached an agreement in principle. After again adjourning the

Limitation and Liability trial, see Rec. Doc. 5955, the Court entered its First Amended Order

Creating Transition Process to facilitate the transition from the GCCF to the Court Supervised

Settlement Program envisioned by the Settlement Agreement. See Rec. Doc. 5995.




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        As Meade Monger3 explains, “The transition in this matter was seamless with relatively

no impact on claimants.” Monger Decl. (Joint Ex. D) ¶ 31. The Transition Order governed the

Transition Process pending the Court’s preliminary approval of the settlement and initiation of

the settlement claims process.4 To aid in the transition from the GCCF to the new Settlement

Program, the Court further appointed Lynn Greer as Transition Coordinator and directed her to

establish the Transition Process. See Rec. Doc. 5995.

        E.       Preliminary Approval And Conditional Class Certification

        On April 18, 2012, the parties presented the Court with a joint motion for preliminary

approval of the Settlement Agreement. See Rec. Doc. 6266. The PSC simultaneously moved for

preliminary and conditional class certification, see Rec. Doc. 6269, and BP filed a conditional

non-opposition to that motion the following week. See Rec. Doc. 6348. On April 25, 2012, the

parties appeared before the Court for a preliminary approval hearing.

        Following the preliminary approval hearing, on May 2, 2012, the parties presented the

Court with a joint motion to approve a slightly amended settlement agreement. See Rec. Doc.

6414. Later that day, the Court granted the joint motion, preliminarily approved the Settlement



3
  Meade Monger founded and co-leads the Information Management Service practice of AlixPartners, where he is a
Managing Director. Monger Decl. (Joint Ex. D) ¶ 1. He has twenty-five years of professional consulting experience
with extensive claims management experience working on many of the most complex claims assignments in history.
Id. ¶ 4. “Examples include claims associated with the restructuring of General Motors Corporation, claims of Aon’s
insurance policyholders over a twelve year period related to contingent commission payments, investor claims
subject to the Bernard L. Madoff Investments fraud, customer claims against London based Lloyds TSB bank
resulting from the UK Financial Service Authority payment protection insurance ruling of April 2011, claims
associated with Kmart’s restructuring that was the largest trade claims case in history, lead paint product liability
claims against chemical company Lyondell and environmental claims against the large mining company Asarco.”
Id.
4
  During the Transition Process, claimants with an unpaid, unexpired offer pending before the GCCF could receive
from the Transition Coordinator 60% of such an offer without signing a release. Those claimants falling within the
settlement class then had the option of receiving the greater of the remaining 40% of the GCCF offer, or the class
settlement payment less any amount previously paid by the Transition Process. See Rec. Doc. 5995 at 2-3. During
the Transition Process, the Transition Coordinator paid nearly 16,000 claims totaling $403 million. See Monger
Decl. (Joint Ex. D) ¶ 26.


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Agreement, and preliminarily and conditionally certified the class for purposes of settlement

only.   The Court concluded that the Settlement Agreement “appears fair, has no obvious

deficiencies, does not improperly grant preferential treatment to the Class Representatives or to

segments of the Class, and does not grant excessive compensation to attorneys.” Preliminary

Approval Order at 32. The Court further held that it was appropriate to preliminarily and

conditionally certify the class for settlement purposes, id. at 26-29, and approved the proposed

class notice, id. at 36-39. Finally, the Court (1) appointed Patrick Juneau, Esq. as Claims

Administrator;      (2)   appointed    Garden       City   Group,   Inc.,    BrownGreer       PLC,

PricewaterhouseCoopers LLP, and Postlethwaite & Netterville as Claims Administration

Vendors; and (3) ordered the new Court Supervised Settlement Program to open by June 4, 2012.

See id. at 34-35.

        F.       Class Notice

        Following the Court’s grant of preliminary approval, the parties engaged in what is surely

among the most thorough and comprehensive notice programs ever undertaken, see infra

Argument Part IV. As the Court has explained:

        The Notice Plan contemplates direct mailed notice to individual class members, to
        the extent known, and their attorneys, to the extent known. In addition, the Notice
        Plan provides for a broad-reaching published Notice in numerous national and
        local media, with a notice effort covering the entire United States, primarily
        focusing on the main impact States of Louisiana, Alabama, and Mississippi, and
        enumerated counties in Texas and Florida. Furthermore, banner notice ads will
        appear on national and local web properties. A complete copy of the Proposed
        Settlement with exhibits will be provided to any individuals or entities wishing to
        determine whether they are class members and what their rights are under the
        Proposed Settlement. There will also be a case website where potential class
        members can obtain additional information and documents, including a list of
        frequently asked questions that will be regularly updated to provide useful
        information about the Settlement.

Preliminary Approval Order at 37-38.



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           G.     Opening Of The Settlement Program

           Consistent with the Court’s order, the Deepwater Horizon Court Supervised Settlement

Program commenced operations on June 4, 2012. See Preliminary Approval Order at 35. As of

August 10, 2012, 48,954 claims had been submitted to the Settlement Program or were in

process. The Program is readily accessible to claimants. For instance, the Program’s presence

on the Internet is ubiquitous. In fact, typing a search into the Google, Bing, or Yahoo! search

engines for “Deepwater Horizon” displays the Program’s website at or near the top of the search

results.        See Deepwater Horizon Court-Supervised Settlement Program, http://www.

deepwaterhorizonsettlements.com. Translations of the site into Spanish and Vietnamese enhance

its accessibility to claimants.

           H.     Objections And Opt-Outs Versus Claims Volume And Class Size

           While the opt-out and objections deadlines have not yet arrived, the initial reception of

the Settlement Agreement by the class has been positive. To date, fewer than 75 persons have

objected to the Settlement Agreement, and the number of opt-outs appears to be low in light of

the great size of the class. (In Argument Part III, infra, BP summarizes why the few objections

received to date—many of which are not from class members, and many of which are duplicative

form objections—lack merit.) In contrast, even in advance of the Court’s grant of final approval,

nearly 50,000 persons have submitted or started to submit claims to the Court Supervised

Settlement Facility. And, as discussed below, millions of people and businesses have received

notice of the Settlement Agreement. See infra Argument Part IV.A.1.

II.        SETTLEMENT CLASS DEFINITIONS AND EXCLUSIONS

           To effectuate the settlement, the PSC is filing a separate motion to finally certify the class

of individuals and businesses that the Court preliminarily certified in May. See Preliminary



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Approval Order. BP will not oppose that motion on the condition that the Court grants final

approval to the Settlement Agreement.

        The class definition is set out in the Preliminary Approval Order and need not be restated

here. But several key features of the economic loss and property damages class definition bear

noting by way of background. First, the class definition is detailed. Its length reflects the care

taken by the parties to establish precise metes and bounds for the class.

        Second, the class definition references geography to reduce or eliminate disputes

regarding whether particular claims are included and to focus relief on those in the most affected

areas of the Gulf region. See, e.g., Coffee Decl. (Joint Ex. C) ¶ 4 (“Also simplifying this case is

the fact that the class definition carefully excludes remote claimants . . . . This deliberately

narrow definition of the class . . . ensures that this class action will remain compact and that class

members will be similarly situated (and hence more cohesive).”);5 Miller Decl. (Ex. 15) ¶ 13

(“Among the most important structural features in this settlement is the class definition, which

clearly and objectively defines the class in terms of time period, geographic region, and type of

claim.”).6

        Third, the class definition takes pains to specify a list of exclusions, for two reasons:

(1) to exclude claims that BP does not believe are even colorably compensable under OPA or

maritime law; and (2) to avoid the inclusion of claims that could not be efficiently resolved by a


5
  The parties jointly have submitted the declaration of John C. Coffee, Jr., the Adolf A. Berle Professor of Law at
Columbia Law School and a leading expert in class action law. Professor Coffee’s declaration sets forth his
independent opinions regarding certification of the Economic and Property Damages Settlement Class, which the
parties agree should be considered by the Court. BP agrees, for settlement purposes, with Professor Coffee’s
conclusion that the proposed settlement class satisfies all the requisites for class certification in this case, even
though BP does not necessarily agree with every specific statement in his declaration. It would be inappropriate to
utilize or apply this declaration outside the context of this class settlement.
6
 Professor Geoffrey P. Miller is the Stuyvesant P. Comfort Professor of Law at New York University and a leading
expert in class action law. See Miller Decl. (Ex. 15) ¶ 1.


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definable and administrable claims framework. See Miller Decl. (Ex. 15) ¶ 21 (“The exclusions

reduce the risk that such claims would distort the orderly and rational allocation of settlement

benefits to persons and entities who were most affected by the Incident.”). The result is a class

that is neither sprawling nor under-inclusive, but instead carefully tailored to what the parties

could reasonably agree on against the backdrop of the uniform body of OPA and maritime law

that the Court has ruled is applicable (but while preserving any BP objections to this Court’s

prior rulings).

III.    SUMMARY OF THE ECONOMIC AND PROPERTY DAMAGES SETTLEMENT

        Like any settlement, the settlement that has been reached to resolve this litigation is “a

compromise, a yielding of the highest hopes in exchange for certainty and resolution.” Altier v.

Worley Catastrophe Response, LLC, No. 11-241, 2012 WL 161824, at *14 (E.D. La. Jan. 18,

2012) (quotation omitted). The settlement stands alone, however, in its substantive generosity to

class members and in its procedural fairness.7

        A.        The Settlement Agreement Contains Important Features That Guarantee Its
                  Fairness To Class Members.

        The Settlement Agreement includes six overarching features that guarantee its fairness

and adequacy to class members.

                  1.     All But One Program Of The Settlement Agreement Provides For
                         Uncapped Relief.

        A key feature of this settlement is its open-ended commitment to pay all proven claims

for economic damages, with no limitation on BP’s overall liability. See Preliminary Approval

Order at 31 (“The comprehensive system of claims frameworks featured in the Settlement



7
 Consistent with Federal Rule of Civil Procedure 23(e)(3), there is no “agreement made in connection with th[is]
proposal” other than the Economic and Property Damage Class Settlement Agreement.



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Agreement . . . provides for class recovery unlimited by any aggregate cap [and] does not

constitute a limited fund to be divided among competing claimants . . . .”); Coffee Decl. (Joint

Ex. C) ¶ 8 (“Because the liability of the BP Parties is uncapped, a payment to one claimant in no

way depletes the funds available for others. In short, there is no zero-sum game.”); Richardson

Decl. (Ex. 16) ¶ 32 (“The most compelling point regarding the fairness of the Economic Damage

Claim Frameworks . . . is that there are no limits on the total amount to be paid for individual or

business economic losses.”).8 Rather, all claims that meet the criteria for each program will be

paid in full, and without delay.

        The only component of the Settlement Agreement that is capped is the Seafood

Compensation Program, to which a total of $2.3 billion has been allocated. Id. Significantly, the

PSC agrees that this amount is nearly five times the total annual revenues of seafood harvested in

the class geography—and this does not include the more than $700 million that the GCCF spent

prior to the settlement compensating persons in the seafood industry. See PSC Slides Supporting

Preliminary         Approval          at       28        (April        25,       2012),        available         at

http://www.bpmdl2179.com/sites/www.bpmdl2179.com/files/pdfs/Class%20Presentation.pdf

(noting that between 2007 and 2009, the total revenues for harvesting of Seafood species

included in the Seafood Compensation Program from the Gulf Coast Area totaled $476.12

million); Apr. 25, 2012 Preliminary Approval Hr’g Tr. at 38:14 (comments of Mr. Rice for the

same proposition); Herman Decl. (Rec. Doc. 7101-7) ¶ 11 (describing the $2.3 billion figure as

“more than sufficient to adequately compensate past and future commercial fishing losses”);


8
  Dr. James A. Richardson is the John Rhea Alumni Professor of Economics, the Harris J. and Marie C. Chustz
Distinguished Professor in Business Administration, and Director of the Public Administration Institute in the E. J.
Ourso College of Business at Louisiana State University. Richardson Decl. (Ex. 16) ¶ 5. Dr. Richardson has served
continuously since 1987 as the private economist on Louisiana’s Revenue Estimating Conference, the panel
responsible for providing official revenue estimates for the state. Id. ¶ 14.


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Balhoff Decl. (Joint Ex. B) at 4 (noting that the GCCF spent more than $700 million

compensating seafood claimants);9 Perry Decl. (Joint Ex. E) at 4 (same).

         At the parties’ suggestion, the Court appointed John W. Perry, Jr., of Baton Rouge to

preside over the negotiation of a settlement framework for the Seafood Compensation Program.

See Rec. Doc. 5998.         To do so, Mr. Perry and his law partner Daniel Balhoff met with

participants in the industry, their attorneys, members of the PSC, counsel for BP, and various

experts retained by the parties, overseeing both the development of methodologies for evaluating

and compensating various types of seafood claims and other issues regarding the program. See

Perry Decl. (Joint Ex. E) at 2; Balhoff Decl. (Joint Ex. B) at 3 (Seafood Compensation Program

methodologies designed to: (1) be transparent; (2) be consistently tailored to the types of species

and claimants; (3) be easy to administer; (4) be framed with sufficient detail, so as to avoid

inconsistent treatment; (5) incorporate hardship exceptions; and (6) overall, provide fair and

adequate compensation to claimants); see also Coffee Decl. (Joint Ex. C) ¶ 8 (“[T]he Seafood

Compensation Program is capped, but in its case the allocation of funds has been made by a

court-appointed neutral party . . . and this objective allocation did not invite competition or

jockeying for position within the class.”).

                 2.       The Settlement Agreement Includes Generous Risk Transfer
                          Premiums That Could Not Be Obtained Through Adversarial
                          Litigation.

         Claimants in most of the claims categories will receive, in addition to calculated baseline

compensation, Risk Transfer Premium (“RTP”) payments.10 See Agreement Ex. 15. The RTP



9
 Daniel J. Balhoff is a partner in the Baton Rouge law office of Perry, Atkinson, Balhoff, Mengis & Burns, L.L.C.
Balhoff Decl. (Joint Ex. B) at 1. As described in the main text, he worked closely with his law partner John W.
Perry, Jr., in overseeing the development of the Seafood Compensation Program.
10
  RTPs are multiples of baseline compensation added to many class members’ compensatory damages awards. For
example, if the compensation amount is $10,000 for a tourism-related injury, and the RTP applicable to a recovery

                                                       14
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payments are meant to compensate class members for pre-judgment interest, the risk of oil

returning, consequential damages, inconvenience, aggravation, the risk of future loss, the lost

value of money, compensation for emotional distress, liquidation of legal disputes about punitive

damages, and other factors.

         As Dr. Henry Fishkind11 explains, the use of an RTP multiplier to compensate class

members for the risk of future injury “is an economically sound method.” Fishkind Decl. (Ex. 4)

¶ 33. While RTPs are available for the majority of claims compensated under the settlement,

they are not available for claims that do not involve any risk of future injury, such as claimants

seeking compensation for their participation in the Vessels of Opportunity (“VoO”) program.

         As explained below, see infra Argument Parts II.A.4, II.E, claimants would be unable to

obtain multiples of their established damages if this case were not resolved by settlement. And

even if claimants could seek compensation for future losses outside the context of the settlement,

as further explained infra Argument Part II.F, the risk of future loss is low in light of the robust

recovery that the Gulf is undergoing. Finally, even if a claimant could recover something in the

future, it would be in the far distant future, as the Exxon Valdez case well illustrates. All of these

factors demonstrate that the generous RTPs provided for by the settlement are more than fair,

reasonable, and adequate.

                 3.       The Settlement Agreement Completely Satisfies The Class’s Claims
                          For Compensatory Damages, Including For Damages Caused By
                          Transocean And Halliburton.

         Paragraph 4.4.10.3 of the Settlement Agreement provides for the satisfaction of all

of that type is 2.5, then $10,000 is multiplied by 2.5, which product is then added to the $10,000 to reach the total
amount of compensation (i.e., $10,000 + $25,000 = $35,000 in total compensation).
11
  Dr. Fishkind is an economist with over 30 years of experience in economic analysis and forecasting. Fishkind
Decl. (Ex. 4) ¶ 4. He has extensive experience as a damages expert in economic loss cases. Id. ¶ 21. He has served
on the Florida Governor’s Council of Economic Advisors under two different administrations, those of Governors
Graham and Bush. Id. ¶ 9.


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economic and property damage claims by class members arising out of the oil spill, even though

(1) every prior factfinder to consider the Deepwater Horizon incident has concluded that

significant causal responsibility must be laid at the feet of BP’s co-defendants, Transocean and

Halliburton;12 and (2) BP was prepared to demonstrate as much at trial, see infra Argument Part

II.A. In light of BP’s demonstrated commitment to the Gulf Coast and its co-defendants’

stubborn refusal to contribute or pay anything at all to the citizens and communities that they

have damaged, BP alone has taken the extraordinary step of agreeing to pay all compensatory

damages of class members itself even though the incident and resulting spill was a multi-party,

multi-causal event.

                 4.       The Settlement Agreement Assigns Various Of BP’s Valuable Claims
                          Against Transocean And Halliburton To The Class.

         Paragraph 11 of the Settlement Agreement assigns spill-related claims that BP has against

Transocean and Halliburton to the class. See Preliminary Approval Order at 6-7 (“Under the

Proposed Settlement, BP will also assign certain of its claims against Transocean and Halliburton

to the settlement class.”).          The assigned claims include claims “relating to the repair,

replacement, and/or re-drilling of the Well and the costs BP incurred to control the well and/or

respond to and clean up the spill.” Id. at 7 n.12. Indeed, since the blowout of the Macondo well,

BP has spent more than $22 billion to compensate governmental entities, individuals, and

businesses, as well as to engage in response and cleanup; the assignment to the PSC includes


12
   See, e.g., Nat’l Comm’n on the BP Deepwater Horizon Oil Spill & Offshore Drilling, Deep Water: The Gulf Oil
Disaster and the Future of Offshore Drilling (Final Report) (2011); Nat’l Comm’n on the BP Deepwater Horizon
Oil Spill & Offshore Drilling, Macondo: The Gulf Oil Disaster (Chief Counsel’s Report) (2011); Bureau of Ocean
Energy Mgmt., Regulation & Enforcement, Report Regarding the Causes of the April 20, 2010 Macondo Well
Blowout (2011); U.S. Coast Guard, Report of Investigation into the Circumstances Surrounding the Explosion, Fire,
Sinking & Loss of Eleven Crew Members Aboard the Mobile Offshore Drilling Unit Deepwater Horizon in the Gulf
of Mexico (2011); Nat’l Acad. of Eng’g, Macondo Well-Deepwater Horizon Blowout: Lessons for Offshore Drilling
Safety (2011). While these reports form a backdrop to the parties’ negotiations, the Court has correctly ruled that
they are inadmissible at any trial. See, e.g., Rec. Doc. 5810; Rec. Doc. 5635; Rec. Doc. 5448.


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claims for recovery of much of that amount. The class may pursue these claims for additional

compensation on top of the settlement’s full compensatory payments to class members that

already have been augmented by RTPs. As an added advantage, instead of fomenting waves of

follow-on contribution litigation, BP’s agreement to satisfy class members’ compensatory

damage claims and to assign its rights against Halliburton and Transocean will help make any

follow-on litigation more self-contained and manageable.

               5.      The Settlement Agreement Has Allowed Claimants To Receive
                       Settlement Payments Prior To The Court’s Grant Of Final Approval.

       In most class settlements, no class member sees a penny of recovery until the objections

have been resolved, the district court has entered a final judgment, and all appeals have run their

course. In contrast, in this settlement “claims may be made and paid under the terms of the

Proposed Settlement without the imprimatur of final settlement approval.” Preliminary Approval

Order at 31. Indeed, as of this filing, even without the protection of a class-wide final judgment,

BP (through the claims facility) has commenced paying claims. As the Court has previously

recognized, “[t]his is an unusual and particularly beneficial feature of the Proposed Settlement

for Class Members.” Id. at 31-32 (emphasis added); accord Monger Decl. (Joint Ex. D) ¶¶ 8-9

(“A common theme throughout my experiences is that claimants desire to be paid as soon as

possible. . . . This feature is beneficial to Class Members in that they have the ability to receive a

payment based on the framework of the Settlement Agreement without having to wait for final

Court approval of the agreement, including the exhaustion of any appeal periods[,] or pursue an

individual claim against BP.”).

               6.      The Settlement Agreement Provides For Payment Of Attorneys’ Fees
                       Separate And Entirely Apart From The Benefits Paid To The Class.

       As the Court has previously recognized, “any Class Counsel fees and costs awarded by

the Court will not be deducted from Class Members’ recoveries or their private attorneys’ fees,

                                                 17
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but will be paid by BP in addition to other class benefits.” Preliminary Approval Order at 32;

see also Apr. 25, 2012 Preliminary Approval Hr’g Tr. at 54:8-12 (“It’s important, I think, for

people to understand: In this proposed settlement, the attorney’s fees are being paid by, will be

paid, whatever the amount is, by BP over and above the amounts that the claimants received.”).

This provision of the parties’ agreement further ensures that each class member will recover one

hundred percent of demonstrable losses.

         Additionally, the issue of attorney’s fees and their amount was not negotiated until all

other components of the settlement were agreed upon. In fact, the total amount and all other

terms in Exhibit 27 in the Settlement Agreement were not negotiated and agreed to until the final

day before the Settlement Agreement was filed, after all other issues had been resolved.13

“‘Because the parties ha[d] not agreed to an amount or even a range of attorneys’ fees, there is

no threat of the issue explicitly tainting the fairness of settlement bargaining.’” In re Heartland

Payment Sys., Inc. Customer Data Sec. Breach Litig., --- F. Supp. 2d ----, MDL No. 09-2046,

2012 WL 948365, at *16 (S.D. Tex. Mar. 20, 2012) (quoting Turner v. Murphy Oil USA, Inc.,

472 F. Supp. 2d 830, 845 (E.D. La. 2007)).14

         B.      The Settlement Agreement’s Procedural Elements Guarantee Fairness To
                 Class Members.

         The parties negotiated the Settlement Agreement to be both procedurally and

substantively fair. BP begins by describing the Settlement Agreement’s procedural elements.




13
   See Apr. 25, 2012 Preliminary Approval Hr’g Tr. at 53:17-22 (“At the conclusion of the negotiations of all
essential terms and agreement, we presented the Court with what we call a Bubble Wrap document so that it was
clear that everything was done. We received permission from the Court to have discussions about attorneys fees and
costs.”).
14
  See also Lucas v. Kmart Corp., 234 F.R.D. 688, 693 (D. Colo. 2006); McAlarnen v. Swift Transp. Co., No. 09-
1737, 2010 WL 365823, at *12 (E.D. Pa. Jan. 29, 2010).


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               1.      Creation Of The Court Supervised Settlement Program

       The Court Supervised Settlement Program opened for business on June 4, 2012. It

already has begun paying claims to class members. BP has agreed to pay all administrative

costs, which are substantial, but the Settlement Program is and will remain independent of BP.

       The Settlement Program is designed to be responsive to claimants. It functions neither as

a depersonalized bureaucracy nor as an adversarial system. Instead, the parties have agreed that

the Settlement Program will offer various forms of assistance to class members in the claims-

submission process:

       The Settlement Program, including the Claims Administrator and Claims
       Administration Vendors, shall work with Economic Class Members (including
       individual Economic Class Members’ counsel and Class Counsel) to facilitate
       Economic Class Members’ assembly and submission of Claims Forms, including
       all supporting documentation necessary to process Claim Forms under the
       applicable Claims Processes. The Settlement Program, including the Claims
       Administrator and Claims Administration Vendors, shall use its best efforts to
       provide Economic Class Members with assistance, information, opportunities and
       notice so that the Economic Class Member has the best opportunity to be
       determined eligible for and receive the Settlement Payment(s) to which the
       Economic Class Member is entitled under the terms of the Agreement.

Agreement ¶ 4.3.7; see also Monger Decl. (Joint Ex. D) ¶ 16 (“It is unusual that claims

administrators play this role. . . . [T]hese unique requirements under the Settlement Agreement

are beneficial to claimants.”).

       Claimants are able to submit claims over the Internet, in person, by mail, or by fax. See

Deepwater      Horizon      Claims    Center,    Frequently     Asked     Questions     ¶    91,

http://www.deepwaterhorizoneconomicsettlement.com/faq.php; see also Monger Decl. (Joint

Ex. D) ¶ 28 (“Claims portals provide for ease of submission to claimants and can speed up the

overall claims process when widely used.”); Richardson Decl. (Ex. 16) ¶ 60 (concluding that the

settlement is “sufficiently simple so that an unreasonable burden is not levied against claimants

in filing their claims”). Once submitted, claims are evaluated and processed by the Court-

                                                19
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appointed claims administration vendors. See Agreement ¶ 4.3.8. In the evaluation of claims,

there is no relevance or effect ascribed to the fact that any claimant has previously had a claim

denied or rejected by the GCCF. See id. ¶ 4.4.9; cf. Monger Decl. (Joint Ex. D) ¶ 20 (“Most

claims matters adopt previous decisions and rarely give consideration to claims that were

previously denied.”).

         The claims administration vendors “shall evaluate and process the information”

submitted by the claimant “to produce the greatest Economic Damages Compensation Amount

that such information and supporting documentation allows under the terms” of the Settlement

Agreement, even if the claimant has not selected the most favorable Benchmark and

Compensation periods. Agreement ¶ 4.3.8; Henley Decl. (Ex. 10) ¶ 16(e) (“Thus, even if the

claimant fails to select the optimal Base Year and Compensation Period, the Claims

Administrator is required to do that for the claimant to maximize his recovery.”);15 Fishkind

Decl. (Ex. 4) ¶ 39(c) (“This sort of ‘best outcome’ provision is unique in my experience.”);

Richardson Decl. (Ex. 16) ¶ 64 (“The process is designed so that the average claimant can file

the Individual Economic Loss claim form and be assured of getting the highest possible

Economic Damage Compensation Amount given that the appropriate information is provided.”);

Sharp Decl. (Ex. 18) ¶ 20 (“Moreover, the Settlement Agreement provides that, if the claimant

fails to select the most favorable Benchmark Period from the standardized options, the

Settlement Program shall identify and select the most favorable Benchmark Period (i.e., the

Benchmark Period that maximizes the claimant’s compensation) in processing the claim.”).16


15
   James L. Henley, Jr., is a certified public accountant and attorney licensed and in good standing in Mississippi.
Henley Decl. (Ex. 10) ¶ 3. He has served as a United States Bankruptcy Trustee, and also as an expert witness in
connection with business disputes. Id. He is also a pastor at Fresh Start Christian Church in Jackson, Mississippi.
Id. ¶ 4.
16
  Holly Sharp is a Certified Public Accountant, Certified Fraud Examiner, shareholder in a Louisiana CPA firm,
and Adjunct Professor of Taxation at the A.B. Freeman School of Business at Tulane University, where she has

                                                        20
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        Finally, many claimants (those seeking compensation for economic loss and seafood

claims) can receive reimbursement for accounting fees reasonably incurred to prepare their

claims. This further ensures that each claimant receives his or her maximum possible recovery.

See Agreement ¶ 4.4.13; see also Henley Decl. (Ex. 10) ¶ 16(d) (“By encouraging claimants to

obtain accounting assistance, this provision increases the likelihood that claimants will submit

properly documented claims . . . .”); Monger Decl. (Joint Ex. D) ¶ 17 (“A requirement to

reimburse fees to claimants is unusual and generally does not happen in most claims matters.”);

Sharp Decl. (Ex. 18) ¶ 13 (“Reimbursement of accounting fees provides an added benefit to the

business claimant under the Settlement Agreement because an ordinary business litigant would

not necessarily receive reimbursement of its accounting fees as part of a settlement.”);

Richardson Decl. (Ex. 16) ¶ 63 (“The availability of reimbursement for accounting fees

reasonably incurred to prepare a claim will facilitate potential claimants seeking professional

assistance.”).

                 2.      Internal Appellate Procedure

        Beyond providing transparent, objective, and fair rules for calculating compensation

awards, the Settlement Agreement provides for multiple levels of robust internal appellate

review. Claimants have the right to appeal denials of claims for insufficient documentation and

to challenge any final determination made in their cases by the Settlement Program.                       See

Agreement ¶¶ 6.1.1, 6.1.2. BP, in contrast, is able to appeal only where an individual claimant is

awarded more than $25,000 in base compensation. See id. ¶ 6.1.2.4. Appeals as to the amount

of compensation will be decided using so-called “baseball arbitration,” where the appellate panel

must select either the amount advanced by the claimant or the amount advanced by BP. See id.

taught since 1999. Sharp. Decl. (Ex. 18) ¶ 3. She has extensive experience in analyzing economic loss claims,
including work on behalf of plaintiffs, defendants, and insurers in the wake of Hurricane Katrina. Id. ¶¶ 4-5.


                                                     21
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¶ 6.2. If the amount at issue is more than $1,000,000 in base compensation, an appeal will be

considered by a three-member panel; if the appeal is taken by a claimant, at least one panel

member must be from the claimant’s home state.17 See id. ¶ 6.1.2.2.5.2. As Monger explains:

“Some claims settlements are silent on appeals and some contain an appeals process, but none

seem to be as robust as the multiple layer appeals process set forth in the Settlement Agreement.”

Monger Decl. (Joint Ex. D) ¶ 22. “Therefore, the requirements under the Settlement Agreement

for a multiple claims review structure are beneficial to Class Members in this matter.” Id.

         The Court appointed 21 appellate panelists on June 26, 2012. See Rec. Doc. 6796.

                 3.       Assignment, Release, And Other Protections

         Under the Settlement Agreement, all class members who accept payment from the new

Settlement Program must individually agree to release, forever discharge, and covenant not to

sue, inter alia, (1) BP, (2) all federal and state oil spill liability funds, and (3) every one of the

other listed “Released Parties” (including all defendants in the Deepwater Horizon litigation

except Halliburton and Transocean18) for any and all defined released claims arising from or

relating in any way to the DWH Spill. See Agreement ¶ 10; cf. Chaplin v. NationsCredit Corp.,

307 F.3d 368, 373 (5th Cir. 2002) (“Public policy favors voluntary settlement of claims and

enforcement of releases.”) (quoting Williams, 23 F.3d at 935). Participating class members,

however, have reserved all punitive damage claims against Transocean and Halliburton. In

17
   Both the $25,000 and $1,000,000 appeal thresholds referred to in this paragraph refer to base compensation, prior
to application of a risk transfer premium (“RTP”).
18
   Under the Settlement Agreement, BP has paid all compensatory damages of the class members, but the
Agreement allows the plaintiffs to continue to seek punitive damage recoveries from Halliburton and Transocean,
which is the sole basis for the exclusion of those defendants from the release. The plaintiffs agreed to settlement
terms that effectuate the parties’ intent to allow the plaintiffs to seek exclusively punitive damages against
Halliburton and Transocean. This settlement included, among other protections running to BP, an agreement by
plaintiffs (1) not to seek compensatory damages against Halliburton or Transocean; and (2) not to execute on any
compensatory damages that might be awarded to plaintiffs against Halliburton and Transocean. See Agreement
¶ 11.


                                                        22
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addition, the Settlement Agreement expressly reserves specific carved-out claims to class

members.19

                 4.      Final Judgment

         Under the Settlement Agreement, the parties agreed to seek a final judgment approving

the Settlement Agreement, certifying the class for settlement purposes, and dismissing all of the

released economic loss and property damage claims of the Economic Loss Class against BP and

the other released parties. BP, moreover, agreed not to contest a request by the PSC for fees,

costs, and expenses up to a maximum of $600 million jointly for both the Economic Loss and

Property Damages and the Medical Benefits Class Settlements, should such an award be

approved by the Court.         BP requests here a final judgment approving the settlement and

dismissing all released claims; in a separate motion, the PSC is simultaneously seeking both

identical relief and final certification of the class for settlement purposes. See Rec. Doc. 7101.

         C.      The Settlement Agreement’s Payment Categories Guarantee Fairness To
                 Class Members.

         The Settlement Agreement permits class members to submit multiple claims and receive

compensation for multiple categories of damages even if they do not file all their claims

simultaneously. Claimants may file additional claims (other than Seafood Compensation

Program Claims) up to six months from the date of initial payment by the Settlement Program of

the Claimant’s first paid claim.20 See Settlement Agreement ¶ 4.4.8; Monger Decl. (Joint Ex. D)

¶ 19 (“This aspect of the Settlement Agreement provides Claimants with the ability to file claims

immediately and receive payments on those claims without having to determine and assert all


19
  For example, class members can participate in the settlement while reserving any claims for moratorium-related
loss against BP or the Released Parties. See Agreement ¶ 3.3.
20
  The sole exception is the Seafood Compensation Program, in which Claimants must submit claims within thirty
days of the Court’s final approval order. See Agreement ¶ 5.11.9.


                                                      23
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claims at the same time.”). Moreover, for claims other than Seafood Compensation Program

Claims, the deadline for filing all claims is the later of April 22, 2014 or six months after the

Effective Date. (Settlement Agreement ¶ 5.11.8).

       In total, the settlement provides for recovery in the following categories of economic and

property damage or loss:

     1. Economic Damage Compensation
                                                       3. VoO Charter Payment
         Individual Economic Loss
         Business Economic Loss                        4. Vessel Physical Damage
         Multi-Facility Business
         Failed Business                               5. Subsistence Damage
         Failed Start-Up Business
         Start-Up Business                             6. Seafood Compensation Program

     2. Property Damage                                    Shrimp
                                                           Oyster
         Coastal Real Property Damage                      Finfish
         Wetlands Real Property Damage                     Blue Crab/Other Seafood
         Real Property Sales Damage                        Seafood Crew

       The formulas were negotiated at length by “the Parties’ counsel, assisted and informed by

experts and colleagues with specialized knowledge of various aspects of the litigation and the

array of claims categories.” Preliminary Approval Order at 30. These experts, who included

economists, accountants, and real estate experts, among others, analyzed and responded to

questions posed by both BP and the PSC throughout the negotiation process. See, e.g., Herman

Decl. (Rec. Doc. 7101-7) ¶ 6; cf. Miller Decl. (Ex. 15) ¶ 25 (“To assist in the settlement process

and to provide counsel on broad questions of settlement strategy and design, both sides enlisted

the aid of academic consultants: myself, for the defendant; Professor Samuel Issacharoff for the

plaintiffs; and Professor John C. Coffee.”).

       Separate and apart from these claims frameworks, BP has also agreed to fund both

settlement and claims administration and the notice program; to provide a separate fund of $57

                                               24
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million to promote the Gulf Coast and its waters;21 to fund a supplemental publicity campaign up

to $5 million to be designed and administered by the PSC; and to reimburse all categories of

claimants for accounting services required for filing their claims.

                 1.       Economic Loss

                          a.       Individuals

         As the Court has previously explained, “individual economic loss claims are calculated as

the estimated difference between a claimant’s expected earnings from a job within the class

geography during May to December 2010 (or April 2011 in the case of certain seafood industry

claimants), and the claimant’s actual earnings during that claim period.” Preliminary Approval

Order at 7. This method of compensation is designed to assess the loss that individuals suffered

as a result of the spill. See, e.g., Henley Decl. (Ex. 10) ¶ 14 (“The IEL Framework applies a

well-established approach for analyzing lost earnings that is similar to the approach I and others

use in determining lost earnings in litigation.”); Sharp Decl. (Ex. 18) ¶ 46 (“The individual

economic loss framework in the Settlement Agreement applies generally accepted and

established methods for individual claimants to receive compensation for lost earnings.”);

Landry Decl. (Ex. 13) ¶ 41 (“The framework for individuals provides a reasonable, adequate, and

fair process for compensating employees in the hotel and hospitality industry. The process

requires documentation of earnings and includes employer’s sworn statements for individuals

lacking tax or employer documentation.”);22 Richardson Decl. (Ex. 16) ¶ 62 (“The Individual

21
   As Dr. Fishkind explains, the fund will “provide a substantial economic benefit to the class because it directly
stimulates economic activity in the near-term and enhances brand value of the destinations in the long-term.”
Fishkind Decl. (Ex. 4) ¶ 116.
22
  Donald J. Landry is the owner of Top Ten Hospitality Advisors, an independent consulting company that provides
networking, marketing, and development services to industry owners, operators, developers and suppliers. Landry
Decl. (Ex. 13) ¶ 2. He is a 43-year veteran of the lodging industry who began his career at Sonesta Hotels in New
Orleans while completing his business management degree at the University of New Orleans, and he has served as
president of some of the largest hotel management, real estate, and franchise companies in the world. Id. ¶¶ 4-5.


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Economic Loss Claims Framework . . . is consistent with the standard calculation of wage

losses.”).

         Causation presumptions that do not exist in OPA are created for those individuals most

likely to have been affected by the spill, including those on the coast and those employed in the

Tourism Industry, Charter Fishing business, and certain seafood-related businesses. See Henley

Decl. (Ex. 10) ¶ 16(a) (“For many categories of claimants the IEL Framework presumes

causation.”); Richardson Decl. (Ex. 16) ¶ 68 (similar).      These causation presumptions are

rationally tied to the economic impact of the spill. See Fishkind Decl. (Ex. 4) ¶ 30-30(a) (“The

causation requirements of the Economic Damage Claim Frameworks are transparent and

consistent with economic logic and data regarding the impact of the DWH Spill. The use of

geographic and industry criteria to establish presumptions of causation for purposes of settlement

is economically appropriate and promotes efficiency for both Claimants and claims

administration.”); Sharp Decl. (Ex. 18) ¶ 51 (describing the causation presumptions as “rational

but generous”).

        Other individual claimants are required to demonstrate a loss of earnings attributable to

the spill during April 21, 2010 through December 31, 2010 (or other applicable period in the case

of certain Seafood Industry claimants) based on financial information or other supporting

documents.     The causation standards “provide clear, well-defined standards which offer

claimants several options for establishing causation that accommodate various individual

circumstances.” Id.

        Four documentation categories are established:

        Category I: Claimants with Tax Information Documents for 2010 and prior Benchmark
        Period years, including both full-year and seasonal workers, must submit them, along
        with Pay Period Earnings Documentation, if they possess it.



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         Category II: Claimants without such Tax Information Documents, but who have Pay
         Period or other Earnings Documentation for 2010 and prior Benchmark Period years,
         must submit such documentation.

         Category III: Claimants with Tax Information Documents or Pay Period Earnings
         Documentation for 2010 but who lack comparable pre-2010 documents because they
         were New Entrants To Employment, Career Changers, or had less than 12 months of
         earning history in the Claiming Job as of April 20, 2010, must provide documents for
         2010 and prior and subsequent years so that an appropriate basis for comparison of
         projected and actual 2010 earnings can be established.

         Category IV: Claimants without any earnings documentation who were employed in
         Zones A, B, or C must submit their own sworn written statements, as well as supporting
         sworn written statements by their employer(s) and are subject to additional requirements
         for establishing causation.23

See Agreement Ex. 8A at 2.

         Individual compensation includes several components and depends in part on the amount

of documentation provided.           As Sharp explains, the “required documents are relevant to

causation and damages analysis and are the types of documents that should be kept by or are

readily available to individuals.” Sharp Decl. (Ex. 18) ¶ 47; see also Henley Decl. (Ex. 10) ¶ 7

(“The documentation requirements are logically related to the information required to evaluate

claims, require submission of documentation and information that should be readily available to

claimants, and, in addition, are flexible in permitting documentation alternatives.”); Landry Decl.

(Ex. 13) ¶¶ 41-42 (same, specifically for tourism employees). Specifically, the documentation

requirements balance the need for demonstrating causation and lost earnings with recognition of




23
  Self-employed individual vendors are compensated subject to a special compensation framework tailored to their
business. Individual Periodic Vendors, who periodically made retail sales of goods or services to Non-Local
Consumers in certain zones during 2009 and 2010, did not maintain a fixed business location in a building from
which they made the sales, and do not have Tax Information Documents sufficient to make a claim for Business
Economic Loss must provide other information regarding those sales and a supporting Sworn Statement from an
adjacent business. Similarly situated Festival Vendors, who engage in comparable activities at defined Festivals or
major sporting events, need to provide similar documentation, including a sworn statement from the Festival
Coordinator or other individual with knowledge of the Festival Vendor’s activities.


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individuals’ varying employment circumstances and ordinary record-keeping practices—factors

not accounted for in OPA.

       Moreover, the “Settlement Agreement is unusual in allowing individual claimants who

cannot provide tax documentation or pay period documentation to rely instead on sworn written

statements to establish employment, causation and lost income related to that employment.”

Sharp Decl. (Ex. 18) ¶ 48. “This relaxation of the generally accepted standards for proving

economic loss is not typical and therefore benefits class members because it permits claimants

who might not otherwise be able to recover to pursue a claim.” Id.

       Expected earnings are estimated based on consideration of (1) the claimant’s historical

earnings or documented anticipated earnings or, for claimants without sufficiently documented

pre-spill earnings, the claimant’s 2011 earnings; and (2) for certain claimants with

contemporaneous documentation of pre-spill and post-spill earnings, application of defined

growth factors so as to take more precise account of year-to-year wage increases. See id. ¶ 54

(“[G]rowth factors are applied to individual Benchmark Period earnings in calculating Expected

Earnings.”). The growth factor is favorable in numerous respects, given the high unemployment

rates both nationally and specifically in the Gulf Coast region throughout 2010 and the operation

of the growth factor to preclude negative growth even for claimants whose earnings

demonstrated negative growth. See Henley Decl. (Ex. 10) ¶ 16(b); Fishkind Decl. (Ex. 4) ¶ 36(d)

(“In determining compensation, the Business Economic Loss and Individual Economic Loss

methodologies incorporate growth factors that result in the assumption of growth, even where the

Claimant lacks data demonstrating such growth . . . .”).

       Also highly favorable to claimants is their ability to select the Benchmark Period and

Compensation Period applicable to them, and indeed the assurance that program personnel will



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ensure the most advantageous period choices are made. While in litigation these issues would be

hotly disputed, here the claimant is given the benefit of the most advantageous choice fitting the

claimant’s circumstances. See, e.g., Richardson Decl. (Ex. 16) ¶ 40 (“Because of the economic

conditions of 2009, it benefits claimants to have the option of including 2007 and 2008 or 2008

in the benchmark years if it is to their advantage.”).

       Depending on the location and/or industry in which the claimant was employed, and the

amount of documentation provided, the claimant may be eligible for an RTP multiple of lost

earnings.    The RTPs “further assure[] that claimants with valid claims will be fully

compensated.” Henley Decl. (Ex. 10) ¶ 16(f). Eligible claimants may also receive additional

compensation for lost health insurance, pension benefits, qualified training costs, and qualified

job search costs. Id. ¶ 16(h); accord Sharp Decl. (Ex. 18) ¶ 45.

       Finally, the individual framework is “broad and flexible in addressing a wide variety of

individual circumstances, including individuals without prior employment experience, those who

changed jobs, people with multiple jobs, seasonal workers, and individual periodic vendors and

festival vendors.” Sharp Decl. (Ex. 18) ¶ 45; see also Landry Decl. (Ex. 13) ¶ 42 (“The

framework for individual economic loss accounts for individuals whose work is seasonal,

periodic or festival related, which may include employees in the lodging and tourism industry.”);

Richardson Decl. (Ex. 16) ¶ 65 (same). Compensation calculated using the above-listed factors

will be paid net of previous spill-related payments made by BP.

                       b.      Businesses

       Business economic damage claimants will also be compensated under the settlement for

post-spill losses of earnings and profits. As with the individual framework, the goal of the

business framework is to fairly compensate businesses for their losses suffered as a result of the

spill; it “uses the well-recognized approach of measuring lost earnings or profits by comparison
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of the post-DWH Spill Compensation Period to a Benchmark Period.” Henley Decl. (Ex. 10)

¶ 26; see also Fishkind Decl. (Ex. 4) ¶ 68 (“Consistent with well-established models for

establishing economic loss damages, the Framework methodologies generally use pre-Spill

benchmark period earnings or revenue data to project expected earnings or revenue in the post-

Spill May-December 2010 period, taking into account any reasonably anticipated growth in

revenue.”); Richardson Decl. (Ex. 16) ¶ 45 (“The Business Economic Loss Frameworks are

consistent with standard business practices in assessing any financial losses related to an

incident.”). The framework further factors in anticipated growth and, in most cases, enhances

the amount with an RTP.24

         “The compensation calculation in the Settlement Agreement for business economic loss

claims is divided into two steps: Step 1 provides compensation for the reduction in variable

profit between the Compensation Period and the Benchmark Period. Step 2 provides

compensation for increased profits expected to be generated in 2010 ‘but for’ the spill.” Sharp

Decl. (Ex. 17) ¶ 9. “The two-step calculation in the Settlement Agreement applies the generally

accepted ‘before and after’ method to compensate business claimants for post-spill lost profit.”

Id.; see also Fishkind Decl. (Ex. 4) ¶ 92 (“This Settlement Agreement correctly characterizes this

standard calculation as a two step process.”).

         As with the individual framework, businesses may select both the Benchmark Period and

the Compensation Period. See Henley Decl. (Ex. 10) ¶ 30(a)-(b); Richardson Decl. (Ex. 16)

¶ 53. This flexibility “is favorable to claimants and potentially increases the compensation they

can receive.” Henley Decl. (Ex. 10) ¶ 30(c); accord Sharp Decl. (Ex. 18) ¶ 20 (“The Settlement


24
  The following discussion describes the claims process for pre-existing ongoing businesses that lost earnings or
profits. The Settlement Agreement and accompanying exhibits detail a similar process for failed businesses, start-up
businesses, and failed start-up businesses. Each of these processes is also fair, reasonable, and adequate. See
Henley Decl. (Ex. 10) ¶¶ 34-35.

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Agreement provides options to the business claimant in the selection of its Benchmark Period

that are more flexible and generous than what would usually be available in litigation.”). “The

three month minimum [compensation] period is a reasonable requirement because it eliminates

the risk that normal month-to-month variations in business performance are not mistaken for a

trend of declining performance due to the DWH Spill.” Henley Decl. (Ex. 10) ¶ 30(b).

       Businesses must submit documentation to support their claims that reflect their business

structure, as well as provide their federal tax returns and profit and loss statements (or other

documents) evidencing monthly revenues and expenses. Depending on claimant-specific factors,

businesses may be required to submit additional documentation, such as documents evidencing

client cancellations that may have depressed earnings during the benchmark period. Businesses

in certain geographic zones and industries, such as seafood processing, will not be required to

provide documentation demonstrating causation, while businesses in other zones will be required

to submit varying degrees of evidence of causation. As with the individual framework, the

“documentation requirements for [Business Economic Loss] claims . . . are reasonable and

provide flexibility that is favorable to claimants” and “will not unreasonably burden valid

claimants.”   Henley Decl. (Ex. 10) ¶ 23; see also Fishkind Decl. (Ex. 4) ¶ 80 (“The

documentation requirements needed to support a Claim are tailored to the methodology in the

relevant Framework and generally consist of the types of documents businesses keep in the

normal course of their business.”); Sharp Decl. (Ex. 18) ¶ 12 (“The required business documents

are relevant to causation and damages analysis and are the types of documents that businesses

must keep in the ordinary course of business, or are readily prepared and produced from a

business’ books and records.”); Richardson Decl. (Ex. 16) ¶ 47 (“Given that companies routinely

have this information available, it is reasonable to request it as a part of the Frameworks and



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should in no way exert an undue burden upon a business.”).

       Many businesses will benefit from causation presumptions. See Sharp Decl. (Ex. 18)

¶ 14 (“Having causation presumed for many business claimants[] benefits those claimants

because they are not required to provide any evidence of causation.”). As Dr. Fishkind explains,

the zones and industry definitions governing causation presumptions are economically

reasonable, as they benefit the claimants most likely to have been affected by the spill. See

Fishkind Decl. (Ex. 4) ¶ 30(a) (“In particular, economic logic and available data support the

Settlement’s use of presumptions of causation for individuals and businesses located close to the

tourist beaches, or that are located slightly further from the beach but involved in Tourism,

Charter Fishing, and Seafood Distribution, because these industries are most likely to have been

affected by the DWH Spill.”); see also Landry Decl. (Ex. 13) ¶ 26 (“In general, the Zones are

structured to reflect the fact that as distance increases from the coast, the likelihood of damage to

tourism businesses is reduced.”); id. ¶ 36 (“It is appropriate to consider industry type because

certain industries are less likely to have been potentially affected by the Oil Spill.”); Richardson

Decl. (Ex. 16) ¶ 37 (“The zones included in the Economic Loss Zone map logically and

reasonably reflect the likelihood of a potential economic effect of the Oil Spill.”) (citation

omitted). Conversely, requiring proof of causation in other industries and geographic zones is

reasonable because there is a less direct connection between these areas and the spill. See

Fishkind Decl. (Ex. 4) ¶ 30(b) (“[I]t is economically reasonable to require Claimants located

further from the Gulf and in industries economically less connected to the Gulf to establish that

any losses they suffered were caused by the DWH Spill and not by other factors affecting the

economy generally . . . .”); Richardson Decl. (Ex. 16) ¶ 37 (“[A]s distance increases from the

coast, the likelihood of damage is reduced.”).



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        For those claimants required to prove causation, however, the tests are reasonable. See

Landry Decl. (Ex. 13) ¶ 38 (describing the causation tests as “consistent with . . . economic

reality”). Indeed, in many ways the causation principles are remarkably favorable to claimants.

See, e.g., Sharp Decl. (Ex. 18) ¶ 17 (“[O]nce a business meets the causation requirements, for

purposes of quantifying compensation, all revenue and variable profit declines during the

claimant-selected compensation period are presumed to be caused by the spill, with no analysis

required to determine whether the declines might have been due, at least in part, to other

causes.”). In contrast, in litigation, “a detailed analysis of the reasons for the revenue and/or

variable profit declines is undertaken because it is part of the plaintiff’s burden of proof.” Id.

        The rules governing the calculation of growth factors are also highly favorable to

claimants. Specifically, (1) there may be no negative growth, even though some businesses

surely have experienced such negative growth in the current economy; and (2) the growth period

is a minimum of six months, even if the Compensation Period is shorter, and so permits the

claimant to be compensated for lost growth even for periods with no damage. See Henley

Decl. (Ex. 10) ¶ 30(d)(ii)-(iii).

        In addition to the lost profits calculated by the two-step process described above,

claimants may receive an RTP multiple of that amount based on a schedule negotiated by the

parties. See id. ¶ 31 (“[C]laimants also receive an RTP multiplier that compensates them for,

among other things, any potential risk of future losses (which may or may not occur).”). The

RTPs provided for by the Settlement Agreement are both reasonable and favorable to claimants.

See Fishkind Decl. (Ex. 4) ¶ 33 (“The RTPs, . . . which vary based on the Claimant’s geography

and industry, are economically reasonable.”).




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         Total claimant compensation equals lost profits plus the applicable RTP, less any OPA

payments already received by the claimant from BP or the GCCF.                        RTP payments vary

according to the Claimant’s proximity to the Gulf and the precise type of business involved.

This compensation methodology will make claimants entirely whole for their losses, and may

make claimants “more than whole.” See Sharp Decl. (Ex. 18) ¶ 30. “[T]his approach is

unusually generous.” Id.

                 2.      Property Damage

                         a.       Real Property Damage

         The Settlement Agreement provides compensation for damages to real property

encompassing two sub-categories: (1) Coastal Real Property Claims and (2) Wetlands Real

Property Claims.

         Under the Coastal Real Property Claims Process, see Agreement Exs. 11A-11C,

claimants with residential and commercial parcels, as well as deeded boat slips, located along the

coastal shoreline from Wakulla County, Florida, west through Alabama and Mississippi and on

Grand Isle (referred to as the “Coastal Real Property Zone”) will recover a percentage of their

2010 Applicable Property Tax for the parcel, varying from 30% to 45%, depending on the

applicable compensation category. See Dent Decl. (Ex. 3) ¶ 22.25 The geography included in the

Coastal Real Property Claim Zone encompasses parcels on which the presence of oil was

reported, as well as those monitored for the presence of oil. Id. An RTP of 2.5 will be applied to

the Coastal Real Property Compensation Amount. This amount is meant to compensate coastal

real property owners for loss of use and enjoyment. Additionally, if Coastal Real Property


25
  Jerry Dent is a Managing Director with Alvarez & Marsal in Birmingham, Alabama, and co-head of the
Environmental Advisory Services practice. Dent Decl. (Ex. 3) ¶ 1. His practice specializes in matters involving
evaluation of properties affected by contamination or hazard. Id.


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Claimants can establish that they incurred physical damage from response operations, they can

recover additional compensation (without augmentation by an RTP). Having reviewed the

compensation framework, Dr. Elliott Taylor26 reports that “identifying parcels eligible for

compensation under the Compensation Framework for Coastal Real Property Claims in this

manner is fair and reasonable.” Taylor Decl. (Ex. 19) ¶ 49; see also Dent Decl. (Ex. 3) ¶ 25

(“The total Coastal Real Property Compensation Amount is fair and adequate compensation for

any temporary inconvenience or partial interruption in their ability to fully enjoy the beach that

eligible claimants may have experienced.”).

         Under the Wetlands Real Property Claims Process, see Agreement Exs. 12A-12D,

claimants must own wetlands parcels located in the Wetlands Real Property Claim Zone, an area

comprised of parcels in the Louisiana wetlands on which the presence of oil was reported, as

well as those that were monitored for the presence of oil. See Dent Decl. (Ex. 3) ¶ 36. Two

categories are established: (1) Category A, consisting of parcels documented to contain oil on all

or part of the relevant acreage; and (2) Category B, consisting of parcels documented as “no oil

observed.” Within Category A, claimants receive a base compensation of (1) $25,000 for every

acre of Oiled Primary Area; (2) $10,000 for every acre of Buffer Area; and (3) $11,000 for every

acre of Non-oiled Primary Area, as well as an RTP of 2.5 This results in a “guaranteed . . .

minimum payment of $122,500, including RTP,” even if the parcel is less than one acre or if oil

was reported in the most minimal quality.                 See id. ¶ 41.        Claimants in Category B are

compensated $4,500 for every acre of Non-oiled Primary are plus an RTP of 2.5, and are



26
   Dr. Taylor is a principal at Polaris Applied Sciences, Inc., an environmental consulting firm specializing in
technical and scientific support for oil spill response. Taylor Decl. (Ex. 19) ¶ 5. (BP hired Polaris to serve as its
representative in the shoreline cleanup assessment team (“SCAT”) process for the spill). Dr. Taylor has “more than
20 years of experience in preparing for and responding to major oil spills, with an emphasis on shoreline response.”
Id. ¶ 1.


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“guaranteed a minimum payment of at least $15,750, inclusive of RTP.” Id. ¶ 45. Having

reviewed the compensation framework, Dr. Taylor reports that “identifying parcels eligible for

compensation under the Compensation Framework for Wetlands Real Property Claims in this

manner is fair and reasonable.” Taylor Decl. (Ex. 19) ¶ 53; see also Dent Decl. (Ex. 3) ¶ 46

(“The compensation amounts paid to eligible claimants with Category A and Category B parcels,

including the RTP of 2.5, are generous.”).

         Dr. Harold G. Leggett27 explains that based on personal visits to the several Louisiana

wetlands sites, “[e]ven the heavily oiled areas [he] observed appeared to be healthy and

recovering well.” Leggett Decl. (Ex. 14) ¶ 15; see also id. (“I believe that the marsh has made

remarkable progress in recovery from this event, and that little to no observable impact will be

visible in the next year.”). Based on these observations and review of the framework for

Wetlands Real Property Claims, Dr. Leggett states: “I believe the Compensation Framework for

Wetlands Real Property Claims fairly compensates owners of eligible parcels. Owners of parcels

with minimal to moderate oiling have a very generous payment under the settlement. I also

believe that property owners of heavily oiled sites are fairly compensated.” Id. ¶ 18. Dr. Leggett

also explains that OPA creates obligations to clean or otherwise remediate oiled sites that are

independent of providing compensation to individuals and thus no public rights to cleanups will

be surrendered by class members settling their claims. See id. ¶ 17. He also notes that the

Wetlands framework includes RTPs, which increase class members’ compensation. See id.




27
  Dr. Leggett is currently a consultant at PPM Consultants in Baton Rouge, Louisiana. Leggett Decl. (Ex. 14) ¶ 1.
Before that, he was the Secretary of the Louisiana Department of Environmental Quality from 2008 to 2010. Id. He
was also “a member of the Unified Command for a number of major incident responses, including hurricanes
Katrina, Rita, Gustav, and Ike.” Id. ¶ 3. He has extensive experience in both the public and private sector in
assessing wetlands impacts, including those caused by the oil and gas industry in Louisiana. Id. ¶¶ 3-6.


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         Similarly, based on the low risk that he concludes exists of oil returning, Edward Briggs

Wharton III28 concludes that “the Compensation Framework for Wetlands Real Property Claims

is fair.” Wharton Decl. (Ex. 21) ¶ 26. Finally, Dr. Taylor opines that “the risk transfer premium

concept in the Compensation Framework for Wetlands Real Property Claims and the

Compensation Framework for Coastal Real Property Claims is fair and reasonable because it

provides compensation based on the maximum extent and degree of oil that has been observed

on the shoreline to date,” Taylor Decl. (Ex. 19) ¶ 59, and because “[d]uring two years of repeated

systematic surveys, which included observations after tropical storms, SCAT [shoreline cleanup

assessment team] has not detected any sources of potentially substantial MC252 re-oiling” other

than certain subsurface materials “which are or have been addressed by Unified Command.” Id.

¶ 42; see also infra Argument Part II.F (discussing the very low risk of oil returning).

                           b.       Real Property Sales Damage

         The Settlement Agreement also provides compensation for persons who realized sales

losses as a result of the spill. See Agreement ¶ 5.9. Under the Agreement, individuals and

entities who sold residential parcels in the Real Property Sales Compensation Zone between

April 21, 2010 and December 31, 2010 will receive compensation for sales contracts executed on

or after April 21, 2010 or for other sales contracts that were subject to a price reduction due to

the DWH Spill (foreclosures or like processes are excluded).                          The Real Property Sales

Compensation Zone includes the shoreline from Wakulla County, Florida, west through

Alabama and Mississippi and on Grand Isle, Louisiana, which is the coastal area monitored for

the presence of oil and/or where the presence of oil was reported. See Dent Decl. (Ex. 3) ¶ 13.
28
   Wharton is currently the leader of C-K Associates’ Ecological Team, as well as a senior project manager for
biological and NEPA investigations. Wharton Decl. (Ex. 21) ¶ 6. In that capacity, he has been involved in well
over one hundred wetlands projects, id. ¶ 7, and he has experience in responding to oil spills that includes field data
collection, assessment of impacts, and developments of strategies to address impacts, id. ¶ 9. He also serves on C-K
Associates’ SCAT team following unplanned releases of crude oil or petroleum products. Id. ¶ 10.


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“The compensation amount is 12.5% of the sale price,” Preliminary Approval Order at 9, and the

amount is not eligible for an RTP. Having reviewed the framework, it is Dr. Taylor’s “opinion

that identifying residential parcels eligible for compensation under the Compensation Framework

for Real Property Sales in this manner is fair and reasonable.” Taylor Decl. (Ex. 19) ¶ 57. Dent

agrees that “the Sales Framework provides a standardized method that generously compensates

eligible claimants” and “was established using thorough and comprehensive data.” Dent Decl.

(Ex. 3) ¶¶ 12-13.

                 3.     Vessels Of Opportunity (“VoO”) Charter Payment

           The Settlement Agreement also provides funds for those who participated in the VoO

program.      First, all working VoO participants are entitled to receive at least $41,600 in

compensation, with the amount increasing depending on the size of the boat. See Agreement

¶ 5.5.2.     To prevent double recovery, see infra Argument Part III.E, those working VoO

participants who also will receive economic loss compensation that directly involves the use of

their VoO vessel (except in the case of payments under the Seafood Compensation Program) will

have their economic loss compensation partially reduced. See Agreement ¶ 5.5.2.1. Second,

those VoO participants who were never placed on hire to perform actual services on the water

will be entitled to receive up to $10,200, with no offset, even if such a “non-working VoO

participant” will also be receiving an award under the Seafood Program. See Agreement ¶ 5.5.3.

VoO claims, because they are contractual in nature and do not involve a transfer of future tort

injury risk, are not eligible for an RTP.

                 4.     Vessel Physical Damage

           The Agreement also compensates vessel owners for damage to their vessels.        See

Agreement Ex. 14. Under the Agreement, “[v]essel owners whose vessels were physically

damaged as a result of the oil spill or cleanup operations may recover the lesser of the costs

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necessary to conduct a reasonable repair or replace the vessel.” Preliminary Approval Order at

9. No RTP is applied to this category of claims, and vessels are eligible regardless of whether

they were enrolled in the VoO program. The only vessels that may not recover are those that

were working for an Oil Spill Response Organization at the time of the physical injury.

                 5.       Subsistence Damage

         The Agreement compensates claimants who traditionally and customarily relied on

seafood and game for subsistence purposes for the “total value of the subsistence natural

resources that they lost due to the oil spill, plus an RTP enhancement.” Preliminary Approval

Order at 10. Subsistence claimants are defined as individuals who fish, hunt, or harvest Gulf of

Mexico natural resources, including seafood and game, in a traditional or customary manner and

to sustain the basic dietary, economic, shelter, tool, or clothing needs of themselves and their

families. See Agreement ¶ 1.3.1.3. Given the economic challenges facing subsistence claimants,

the Claims Administrator will form a dedicated administrative team to assist subsistence

claimants with filing claims and to interview claimants in their geographical area.                          See

Agreement Ex. 9 at 3-4. Subsistence claims will be augmented by an RTP of 2.25. See id. at 4.

         Dr. Laura D. Kelley29 has explained that the Settlement Agreement “accounts for the way

of life—and possible spill-related interruptions to the way of life—in Southeastern Louisiana and

in other communities along the Gulf Coast that are dependent on natural resources for basic

personal and family needs.”           Kelley Decl. (Ex. 12) ¶ 16.            According to Dr. Kelley, the

subsistence framework fairly and reasonably compensates subsistence claimants because (1) the

settlement permits subsistence claims through 2011, long past when almost all fisheries were

29
  Dr. Kelley is an historian at Tulane University who conducts research and teaches courses on Louisiana history
and Gulf Coast Native Americans. Kelley Decl. (Ex. 12) ¶ 1. She has worked with Native American populations in
Southeastern Louisiana for the past seven years, including studying patterns of food acquisition, consumption, and
the relationship of food to the domestic economy. Id. ¶ 3.


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reopened; (2) claimants are only required to allege closures or impairments of hunting and

fishing through sworn written statements, rather than more burdensome documentation; (3) the

settlement compensates for lost natural resources used to barter, regardless of whether claimants

are permitted to trade seafood legally under their fishing and hunting licenses or license

exemptions; (4) the settlement compensates class members for seafood and game that would

have been shared with extended family members; (5) class members are not required to provide

documentation of the actual cost of replacing subsistence resources; (6) the RTP accounts for the

low likelihood of future spill-related impairments; and (7) many subsistence claimants are likely

fishermen who will also be eligible for additional payments under the Seafood Compensation

Program. See id. ¶¶ 17-23.

                6.       Seafood Compensation Program

         “The Seafood Compensation Program is a $2.3 billion fund to compensate economic

losses of commercial fishermen, seafood boat captains, all other seafood crew, oyster

leaseholders, and seafood vessel owners.” Preliminary Approval Order at 10. According to the

PSC’s calculations, the amount that BP has agreed to pay to fund the Seafood Compensation

Program exceeds the annual revenue of these industries (measured from Galveston, Texas to

Key West, Florida)30 by nearly a factor of five.              See PSC Slides Supporting Preliminary

Approval at 28 (April 25, 2012) (noting that between 2007 and 2009, the Gulf seafood industry

had average revenues of $476.12 million). Having reviewed the program, Dr. Martin Smith31

believes that the $2.3 billion allocated to the Seafood Compensation Program is “clearly


30
  See Apr. 25 Preliminary Approval Hr’g Tr. at 38:10-12 (quoting Mr. Rice: “If you take from Galveston all the
way around to Key West, this is for 2007 through 2009, these are the numbers”).
31
  Dr. Smith is the Dan and Bunny Gabel Associate Professor of Environmental Economics with tenure at Duke
University. Smith Decl. (Ex. 17) ¶ 2. His primary areas of expertise are fisheries economics, seafood markets,
coastal resource management, applied econometrics, and modeling of dynamical systems. Id. ¶ 3.


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sufficient compensation to meet a standard of fair, reasonable and adequate.” Smith Decl. (Ex.

17) ¶ 18. As Dr. Smith has explained, $2.3 billion represents between 22% and 72% of the

present value of the entire industry’s total revenue in perpetuity. Id. ¶ 13; see also Balhoff Decl.

(Joint Ex. B) at 4 (noting that the estimated $1.9 billion initial payout is a conservative estimate

and thus that a second distribution will likely exceed $400 million). Similarly, Dr. Richardson

observes that in contrast to the $2.3 billion available under the Seafood Compensation Program,

the reduction in revenue from commercial fishing in 2010 compared to prior years from the class

counties was approximately $25.5 million. See Richardson Decl. (Ex. 16) ¶ 73. He therefore

concludes that the amount is “more than adequate to compensate the commercial fishing

industry.” Id. ¶ 77.

       Under the Seafood Compensation Program, Commercial Fishermen, Seafood Boat

Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood Vessel Owners will be

compensated for economic loss claims relating to seafood, including shrimp, oysters, finfish,

blue crab, and other species. As developed and approved by the Court-appointed neutral, John

W. Perry, Jr., the Seafood Compensation Program fairly and reasonably allocates the funds on

multiple criteria—both between various industries and among different industry participants,

such as vessel owners, boat captains, oyster leaseholders, and seafood crew. See Perry Decl.

(Joint Ex. E) at 4 (“I endorse the Seafood Compensation Program that was submitted to the

Court and believe . . . it will provide fair, reasonable and adequate compensation to the

Claimants under the circumstances.”); Fishkind Decl. (Ex. 4) ¶ 37 (“The Seafood Compensation

Program will fairly compensate vessel owners, boat captains, crew members, oyster leaseholders

and finfish quota holders for losses resulting from the DWH spill.”); Smith Decl. (Ex. 17) ¶ 72

(“I believe that the SCP fairly, reasonably, and adequately compensates the participants in the



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program.”); Leggett Decl. (Ex. 14) ¶ 19 (opining that the Seafood Compensation Program is fair

to the Gulf seafood industry in light of Dr. Smith’s conclusions); Henley Decl. (Ex. 10) ¶ 22

(“All in all, the Seafood Crew Compensation Plan is a reasonable, and indeed claimant-friendly

process for a claimant to establish lost seafood crew wages due to the DWH Spill and to recover

for that loss.”).

        The Seafood Compensation Program contains five separate plans to provide

compensation to claimants.      Each plan contains its own eligibility and documentation

requirements and each describes the specific compensation methods available to claimants. The

independent methods of calculation for claims in each plan ensure that claimants will be

compensated fairly and adequately for economic losses related to seafood.

        Vessel owners and boat captains in the shrimp, oyster, finfish, blue crab, and other

seafood plans will be compensated in relation to their seafood harvesting revenues from previous

years in Specified Gulf Waters. Additional payments, such as per-acre compensation to oyster

leaseholders and per-share compensation for Individual Fishing Quotas shareholders in the

finfish industry are available to eligible claimants. Seafood crew—the mates, boatswains, and

deckhands other than the boat captain—are all eligible for compensation, tied either to their

former or expected wages and hours. Those seafood crew members who cannot provide tax

forms, financial information, or a sworn statement from an employer to establish employment

and compensation may be eligible for a lump sum payment if they provide sufficient sworn

statements from sponsors or attorneys.

        The Seafood Compensation Program allows claimants to file claims for multiple types of

economic losses. For example, a shrimping boat captain who also captains a blue crab vessel

may be eligible for compensation under both compensation plans. Additionally, a vessel owner



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who is also the boat captain may be eligible for vessel owner and boat captain compensation.

The RTPs provided are generous, ranging from 2.25 to 8.75. See Preliminary Approval Order at

10.

         Seafood Compensation Program claimants need not prove causation. See Fishkind Decl.

(Ex. 4) ¶ 122 (“Eligible Claimants do not have to prove that their economic losses were due to

the DWH Spill; rather, losses are presumed to have been due to the DWH spill.”). Finally, Dr.

Smith submits that the approach for computing base compensation for vessel owners and

captains is fair and reasonable, Smith Decl. (Ex. 17) ¶ 20, that RTPs build in “significant cushion

to cover uncertain future harms,” id. ¶ 24; see also id. ¶¶ 68-71, and that the documentation

requirements are reasonable, id. ¶¶ 26-27. After considering each of the specific compensation

categories under the Seafood Compensation Program—shrimp, oysters, blue crab, finfish, other

seafood, and crew—Dr. Smith concludes that all are fair and reasonable. Id. ¶¶ 29-67.

                                         ARGUMENT

I.       THE SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE.

         The Court has already correctly concluded on a preliminary basis that the Settlement

Agreement “appears fair, has no obvious deficiencies, does not improperly grant preferential

treatment to the Class Representatives or to segments of the Class, and does not grant excessive

compensation to attorneys.” Preliminary Approval Order at 32. Since the Court issued its order,

nothing has occurred that would call these preliminary conclusions into doubt. Both because the

Settlement Agreement (like any voluntarily negotiated settlement) is entitled to a presumption of

reasonableness, and because it would satisfy the standard for final approval even if no

presumption applied, the Court should grant final approval to the Settlement Agreement and

bring this litigation to an end—many years before it would otherwise conclude.



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         A.      The Court Should Presume That The Settlement Is Fair, Reasonable, And
                 Adequate Because The Public Interest Favors The Voluntary Settlement Of
                 Class Actions.

         The public interest strongly favors settlement in general, and the settlement of class

actions in particular.       See Preliminary Approval Order at 16 (“‘[T]here is an interest in

encouraging settlements, particularly in class actions, which are often complex, drawn out

proceedings demanding a finite share of judicial resources.’”) (quoting 4 Newberg on Class

Actions § 11:55 (4th ed.)).32

         Because “settlement is the preferred means of resolving litigation,” there is a “strong

presumption in favor of finding a settlement fair.” Collins v. Sanderson Farms, Inc., 568 F.

Supp. 2d 714, 720 (E.D. La. 2008) (quotation omitted); accord, e.g., In re Educ. Testing Serv.

Praxis Principles of Learning & Teaching: Grades 7-12 Litig., 447 F. Supp. 2d 612, 619 (E.D.

La. 2006); Neff v. VIA Metro. Transit Auth., 179 F.R.D. 185, 208 (W.D. Tex. 1998). The

preference for settlement over the expenditure of scarce judicial resources gains added force

under the OPA statute, which is designed to catalyze settlements. See, e.g., 33 U.S.C. § 2713;

see also infra Part III.B.1.a. Because this precedent fully applies here, objectors to the settlement

bear the burden of demonstrating that the settlement is not fair, reasonable, and adequate. As

discussed below, they cannot meet this burden.33


32
   See also, e.g., Kincade v. Gen. Tire & Rubber Co., 635 F.2d 501, 507 (5th Cir. 1981) (“‘Particularly in class
action suits, there is an overriding public interest in favor of settlement.’”) (quoting Cotton v. Hinton, 559 F.2d
1326, 1331 (5th Cir. 1977)); Smith v. Crystian, 91 F. App’x 952, 955 (5th Cir. 2004) (per curiam); Turner, 472 F.
Supp. 2d at 843; In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir. 2004); In re Exxon Valdez, 229
F.3d 790, 795 (9th Cir. 2000); Lazar v. Pierce, 757 F.2d 435, 440 (1st Cir. 1985).
33
   Some courts have held that an additional presumption of fairness applies where the Court has already
preliminarily approved a settlement. See, e.g., DeHoyos v. Allstate Corp., 240 F.R.D. 269, 293 (W.D. Tex. 2007)
(“‘Once the court has given preliminary approval, an agreement is presumptively reasonable, and an individual who
objects has a heavy burden of demonstrating that the settlement is unreasonable.’”) (quoting Whitford v. First
Nationwide Bank, 147 F.R.D. 135, 138-39 (W.D. Ky. 1992)); Robinson v. Ford Motor Co., No. 04-844, 2005 WL
5253339, at *3 (S.D. Ohio June 15, 2005); In re Terazosin Hydrochloride Antitrust Litig., No. MDL 99-1317, 2005
WL 2451960, at *5 (S.D. Fla. July 8, 2005); United States v. New Jersey, No. 88-5087, 1995 WL 1943013, at *11
(D.N.J. Mar. 14, 1995); Moore v. United States, 63 Fed. Cl. 781, 784 (Fed. Cl. 2005). Without regard to whether

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        B.        Even Absent A Presumption, Analysis Of The Reed Factors Further
                  Demonstrates And Confirms The Fairness Of The Settlement To Class
                  Members.

        As explained above, the Court may presume that the settlement is fair both because it has

already preliminarily approved this particular settlement and because any voluntarily negotiated

settlement agreement is entitled to a presumption of reasonableness.                        Even absent these

presumptions, however, the Court should conclude that this settlement satisfies the standard of

fairness, reasonableness, and adequacy required by Rule 23(e).

        In the Fifth Circuit, six factors guide a court’s review of whether to approve a class action

settlement:

        (1) the existence of fraud or collusion behind the settlement; (2) the complexity,
        expense and likely duration of the litigation; (3) the stage of the proceedings and
        the amount of discovery completed; (4) the probability of plaintiffs’ success on
        the merits; (5) the range of possible recovery; and (6) the opinions of the class
        counsel, class representatives, and absent class members.

Ayers v. Thompson, 358 F.3d 356, 369 (5th Cir. 2004) (quoting Reed, 703 F.2d at 172); accord,

e.g., Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 637 n.1 (5th Cir. 2012);

Newby v. Enron Corp., 394 F.3d 296, 308 (5th Cir. 2004); In re Lease Oil Antitrust Litig. (No.

II), 186 F.R.D. 403, 431 (S.D. Tex. 1999). Each of these “Reed” factors counsels in favor of

final approval.

                  1.      The Settlement Was Negotiated Free Of Fraud Or Collusion.

        As the Court has already concluded, there was no fraud or collusion in the negotiation of

the settlement.        Rather, the parties only reached a settlement following “a multi-month,

extensive, arms-length settlement process, free of collusion, and overseen by Judge Shushan.”



that additional presumption is applied here, (1) the authority is uniform that a voluntarily negotiated class action
settlement is entitled to a presumption of reasonableness, and (2) even reviewed de novo, this settlement clearly
meets the standard for final approval. See infra Part I.B.


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Preliminary Approval Order at 30. As the Court explained,

         Over the course of these many months, the Parties’ counsel, assisted and informed
         by experts and colleagues with specialized knowledge of various aspects of the
         litigation and the array of claims categories, engaged in numerous and ongoing
         settlement discussions and negotiation sessions, both in person and via telephone
         conference. These activities were conducted by the authorized representatives
         (including, for the Plaintiffs, Plaintiffs’ Co-Liaison/Interim Class Counsel and
         many members of the Court-appointed PSC) and proceeded without disrupting,
         delaying, or detracting from the Parties’ thorough trial preparations, under the
         brisk and systematic trial preparation schedule set and maintained by this Court.
         During these lengthy settlement negotiations, which commenced in February
         2011 and continued for more than one year, the Parties negotiated the detailed,
         complex, and carefully thought-out claims categories and benefits of this
         settlement. Likewise, the Parties negotiated the precise language and terms of the
         Proposed Settlement and Exhibits; the proposed administrative and transition
         orders; the claims forms and procedures to enable Class members to make claims
         under the settlement without delay; and the comprehensive Notice Plan to provide
         notice of the settlement, the approval process, and the dates, deadlines, and
         options that are important to the Class.

Id. at 30; see also id. at 31 (“The comprehensive system of claims frameworks featured in the

Settlement Agreement is the product of many months of intensive negotiation . . . .”).

         As the Court is aware, Judge Shushan played an important, indeed critical, supervisory

role in facilitating and mediating the settlement. Her evenhanded and daily efforts, particularly

throughout the last three months of negotiations, strongly counsel in favor of approving the

settlement. See, e.g., Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072, 1079 (2d Cir.

1995) (“[T]he supervision of settlement negotiations by a magistrate judge, as occurred here,

makes it less likely that . . . [class counsel have promoted] their own interests over those of the

class.”).34


34
  See also Collins, 568 F. Supp. 2d at 725 (citing 4 Newberg on Class Actions § 11:51 (4th ed.) (same principle)); In
re Currency Conversion Fee Antitrust Litig., 263 F.R.D. 110, 122 (S.D.N.Y. 2009) (same principle), aff’d sub nom.
Priceline.com, Inc. v. Silberman, 405 F. App’x 532 (2d Cir. 2010); Smith v. Tower Loan of Miss., Inc., 216 F.R.D.
338, 353 (S.D. Miss. 2003) (same principle), aff’d sub nom. Smith v. Crystian, 91 F. App’x 952 (5th Cir. 2004) (per
curiam); In re Catfish Antitrust Litig., 939 F. Supp. 493, 497 (N.D. Miss. 1996) (same principle). The absence of
collusion also should be presumed based on the overall fairness and generosity of the proposed settlement terms
under the commonsense “proof is in the eating test.” Bowling v. Pfizer, Inc., 143 F.R.D. 141, 152 (S.D. Ohio 1992).
Under this test, if the terms of the proposed settlement are fair, then the reviewing court can deem the formative

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         Because the settlement was reached at arms’ length, “the trial court ‘should be hesitant to

substitute its own judgment for that of counsel.’” Ruiz v. McKaskle, 724 F.2d 1149, 1152 (5th

Cir. 1984) (per curiam) (citation omitted); see also Granada Invs., Inc. v. DWG Corp., 962 F.2d

1203, 1205 (6th Cir. 1992) (“Absent evidence of fraud or collusion, such settlements are not to

be trifled with.”). Rather, the fact “that this settlement is the negotiated result of an adversarial

proceeding is an indication of its fairness.” Domingue v. Sun Elec. & Instrumentation, Inc., No.

09-682, 2010 WL 1688793, at *1 (M.D. La. Apr. 26, 2010); see also In re Train Derailment

Near Amite La., MDL No. 1531, 2006 WL 1561470, at *19 (E.D. La. May 24, 2006) (“The fact

that a class action settlement is reached after arms’ length negotiations by experienced counsel

generally gives rise to a presumption that the settlement is fair, reasonable, and adequate. . . .”);

In re Mills Corp. Sec. Litig., 265 F.R.D. 246, 255 (E.D. Va. 2009) (“Negotiations were

sufficiently thorough, contentious, and at arm’s length to ensure the propriety of Class Counsel’s

decision to enter into the settlement and the proceedings leading thereto.”).

                  2.       Absent Settlement, This Litigation Would Continue To Be
                           Extraordinarily Complex And Expensive, And Would Take Many
                           Years To Resolve.

         The Court has recognized that “th[is] litigation is unusually complex and expensive.”

Preliminary Approval Order at 29. Indeed, there can be “no dispute that this case is one of the

most procedurally complex, expensive, and potentially lengthy cases” in the history of the

United States. Cf. In re Shell Oil Refinery, 155 F.R.D. 552, 559 (E.D. La. 1993). Given the

unprecedented complexity of this litigation, it is appropriate to “consider the vagaries of

litigation and compare the significance of immediate recovery by way of the compromise to the

negotiations to have been proper. See Corrugated Container, 643 F.2d at 211 (“In general, we think a settlement
should stand or fall on the adequacy of its terms. . . . If the terms are fair, the court may reasonably conclude that
counsel did perform adequately.”); Turner, 472 F. Supp. 2d at 846 (“Finally, a presumption exists that settlement
negotiations were conducted properly in the absence of collusion if the terms of the proposed settlement are
demonstrably fair.”).


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mere possibility of relief in the future, after protracted and expensive litigation.” Id. at 560

(quotation omitted).35

         Although the parties engaged in extraordinary amounts of discovery and other

preparation for trial, see infra Part I.C.3, the remaining trial and appellate proceedings, if

litigated through final judgment and subjected to appeal, could last for a decade or more.36 Each

of the phases of the Limitation and Liability trial established under Pretrial Order 41 (Rec. Doc.

6592) raises complex issues of law, engineering, science, and operative fact. And individual

plaintiffs would then need to establish their own separate entitlement to damages, along with the

quantum of damages, during discovery and trial phases that have not even been scheduled.

         As a result, obtaining final judgments in this Court could take many years. See, e.g.,

Sullivan, 667 F.3d at 320 (approving settlement where continued litigation “would have been

difficult, as multiple parties, multiple claims, extensive jurisdictional problems, and complicated

discovery would be involved”) (quotation omitted); Collins, 568 F. Supp. 2d at 726 (finding a


35
   See also Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 966 (9th Cir. 2009) (affirming approval of settlement where
“a number of serious hurdles remained” for the plaintiffs); In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir.
1992) (“Complex litigation . . . can occupy a court’s docket for years on end, depleting the resources of the parties
and the taxpayers while rendering meaningful relief increasingly elusive. Accordingly, the Federal Rules of Civil
Procedure authorize district courts to facilitate settlements in all types of litigation, not just class actions.”); Billitteri
v. Secs. Am., Inc., No. 09-1568, 2011 WL 3586217, at *10 (N.D. Tex. Aug. 4, 2011) (noting there was little doubt
that the amount of time it would take to recover on behalf of class members “would measure in years rather than the
months contemplated by the parties at this stage”); Klein v. O’Neal, Inc., 705 F. Supp. 2d 632, 651 (N.D. Tex. 2010)
(“When the prospect of ongoing litigation threatens to impose high costs of time and money on the parties, the
reasonableness of approving a mutually-agreeable settlement is strengthened.”).
36
   Complex cases such as this can take decades to resolve. For instance, the Exxon Valdez spill occurred in March
1989, but litigation remains ongoing in 2012, over twenty-three years after the spill, and eighteen years after the
1994 trial. See, e.g., Isaac Arnsdorf, Exxon Valdez to Be Junked Years After Worst U.S. Ship Spill,
http://www.bloomberg.com/news/2012-03-20/exxon-valdez-sold-for-scrap-years-after-worst-u-s-tanker-spill.html
(Mar. 20, 2012) (“Last month, a judge ruled that U.S. and Alaskan governments could pursue further damage
claims.”). Likewise, while the Amoco Cadiz spill occurred in March 1978, the Seventh Circuit was still resolving
the liability and damages claims arising out of the spill as of September 1993. See In re Oil Spill by “Amoco Cadiz”
off the Coast of France on March 16, 1978, 4 F.3d 997 (7th Cir. 1993). Absent a settlement, litigation of this case
promises to take as much time as those cases, if not more. As of the day the parties filed their joint motion seeking
preliminary approval of the Settlement Agreement, the docket reflected approximately 1,200 motions and more than
6,200 entries.


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potential trial lasting “several weeks” to weigh in favor of approving a settlement); Faircloth v.

Certified Fin. Inc., No. 99-3097, 2001 WL 527489, at *4 (E.D. La. May 16, 2001) (approving

settlement where trial “was estimated to last at least two weeks”); In re Combustion, Inc., 968 F.

Supp. 1116, 1127 (W.D. La. 1997) (finding “the prospect of a trial lasting months” weighs

heavily in favor of approving a settlement); Shell Oil, 155 F.R.D. at 560 (“[E]ven a six month

trial is considered extremely lengthy and the expense for the parties, the claimants, and the

judicial system would be enormous.”). Moreover, if this case did proceed to trial, it almost

certainly would become more complicated, since there is no reason to suppose that the case

would simplify itself or cease to be contentious as trial began. See Faircloth, 2001 WL 527489,

at *4 (concluding from the “contentious motion practice on behalf of virtually all parties

involved” that the case “would undoubtedly continue on a protracted litigation path absent

approval of the proposed settlement agreement”). Nor would the road end with the entry of

judgments in this Court. This litigation has raised numerous difficult legal questions under

federal statutory and general maritime law, many of first impression. See id. (approving a

settlement where the statutes were “extremely intricate and technical”). If this Court ever

entered a final judgment in plaintiffs’ favor, it would surely be subject to years of appeals.

       Such years of protracted litigation create “an enormous financial and psychological

burden on all parties involved” and counsel in favor of settlement. Combustion, 968 F. Supp. at

1127; see also Rodriguez, 563 F.3d at 966 (noting that the “[i]nevitable appeals would likely

prolong the litigation, and any recovery by class members, for years”); Ass’n For Disabled Ams.,

Inc. v. Amoco Oil Co., 211 F.R.D. 457, 469 (S.D. Fla. 2002) (“[A]bsent settlement, this matter

clearly will require a protracted and expensive trial and appeal, under circumstances where the

ultimate results are highly uncertain.”); Smith v. Ajax Magnethermic Corp., No. 02-0980, 2007



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WL 3355080, at *6 (N.D. Ohio Nov. 7. 2007) (“Absent a settlement, there is the potential for

further protracted litigation and the additional expenditure of significant money, time, and

resources. Moreover, Plaintiffs are not assured of recovery upon the completion of the litigation.

A fair settlement, therefore, has significant merit as a resolution to this matter.”).

       Because “the most controversial and hard-fought of all the issues in this case” remain to

be litigated, Salinas v. Roadway Express, Inc., 802 F.2d 787, 790 (5th Cir. 1986) (per curiam),

this settlement “eliminates the transaction costs that further proceedings would impose” and

“provides relief for the class sooner than continued litigation would,” Ayers, 358 F.3d at 369.

For the class, it is therefore entirely “proper to take the bird in the hand instead of a prospective

flock in the bush.” Shell Oil, 155 F.R.D. at 560 (quotations omitted). This is particularly true

given that the “bird in the hand” includes RTPs, which means that the total compensation being

paid is several multiples greater than what plaintiffs could hope to prove or even claim as their

presently demonstrable injury. The second factor counsels strongly in favor of approval.

               3.      The Parties Engaged In An Extraordinary Amount Of Discovery In A
                       Compressed Timeframe, Ensuring That They Had Sufficient
                       Information To Negotiate A Fair Settlement.

       The third factor “asks whether the parties have obtained sufficient information to evaluate

the merits of the competing positions.” In re Educ. Testing Serv. Praxis Principles of Learning

& Teaching: Grades 7-12 Litig., 447 F. Supp. 2d 612, 620 (E.D. La. 2006) (quotation omitted).

“Thus, the question is not whether the parties have completed a particular amount of discovery,

but whether the parties have obtained sufficient information about the strengths and weaknesses

of their respective cases to make a reasoned judgment about the desirability of settling the case

on the terms proposed . . . .” Id. at 620-21.

       Here, the Court has already concluded that the parties engaged in more than sufficient

discovery to prepare them to negotiate a settlement of this case:
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       In the 20 months that have passed since the JPML’s centralization order, the
       parties have engaged in extensive discovery and motion practice, including taking
       311 depositions, producing approximately 90 million pages of documents, and
       exchanging more than 80 expert reports on an intense and demanding schedule.
       Depositions were conducted on multiple tracks and on two continents. Discovery
       was kept on course by weekly discovery conferences before Magistrate Judge
       Shushan.

Preliminary Approval Order at 3; see also id. at 29-30 (“Pretrial discovery and trial preparation

included approximately 311 depositions, the production, review, and analysis of millions of

documents; the retention and discovery of numerous scientific, technical, and industry experts;

and the extensive associated investigation and analyses of the facts and legal issues surrounding

relevant claims and defenses.”); Miller Decl. (Ex. 15) ¶ 26 (“The settlement negotiations have

been informed by massive volumes of civil discovery . . . .”).

       Significantly, the Fifth Circuit has said that formal discovery is not even a prerequisite to

the approval of a settlement. See Newby, 394 F.3d at 306. Indeed, “[g]enerally speaking, a

settlement should stand or fall on the adequacy of its terms.”          Id.; see also Corrugated

Container, 643 F.2d at 211 (rejecting the argument that “representation in the settlement process

is necessarily inadequate unless informed by the process of discovery”). Here, in light of the

staggering amount of discovery that was completed in a compressed timeframe, the Court should

readily conclude that the settlement represents an informed, educated, and fair resolution of this

dispute. See, e.g., Turner, 472 F. Supp. 2d at 847; Feinberg v. Hibernia Corp., 966 F. Supp. 442,

445 (E.D. La. 1997).

       In addition, because of the national significance of the Deepwater Horizon incident, the

U.S. Government has conducted its own investigations, see supra n.12. While much from those

investigations and their reports properly has been ruled inadmissible in any trial, see id., they

provide a background and context for the negotiations that certainly has informed the parties—

particularly the class—of the potential legal issues and wide range of assertions made by factual
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witnesses and experts. For example, in the Marine Board of Investigation (“MBI”), hundreds of

thousands of pages of documents were produced; live witness testimony was taken from over 80

witnesses; and two separate reports publicly detailing the MBI’s findings and conclusions were

issued. Similarly, the Presidential Commission conducted its own investigation, as did the

National Academy of Engineering, and each issued detailed reports setting forth their views

concerning the causes of the spill. See id.

       Each of the various official federal reports and investigations, as well as other data

sources, form the backdrop to this case, and when combined with the massive discovery

conducted in this Court, has helped the parties to negotiate a settlement with a comprehensive

grounding in the operative facts and attendant litigation risks. Although conducted outside of

this multidistrict litigation, these investigations can be considered in evaluating whether the

parties are sufficiently informed to reach a settlement. See DeHoyos, 240 F.R.D. at 292 (“In

order to determine whether the parties have sufficient information to evaluate the terms of the

settlement, the Court should look to more than simply the amount of formal discovery which has

been completed. The Court should consider all information which has been available to the

parties.”) (citation omitted); Garza v. Sporting Goods Props., Inc., No. 93-108, 1996 WL 56247,

at *13 (W.D. Tex. Feb. 6, 1996) (“Sufficiency of information does not depend on the amount of

formal discovery that has been taken because other sources of information may be available to

show that the settlement may be approved even when little or no formal discovery has been

completed”). The third factor thus also counsels strongly in favor of approval.

               4.      The Probability Of Plaintiffs’ Success On The Merits And The Range
                       Of Possible Recovery Counsel In Favor Of Approving The Settlement.

       Two related Reed factors direct the Court to consider the strength of the plaintiffs’ case:

the “probability of plaintiffs’ success on the merits” and the “range of possible recovery.” Reed,


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703 F.2d at 172. These factors require the Court to compare the settlement terms “with the likely

rewards the class would have received following a successful trial of the case.” Id. Thus, “the

court must compare the terms of the compromise with the likely rewards of litigation.” In re

Initial Pub. Offering Sec. Litig., 243 F.R.D. 79, 83 (S.D.N.Y. 2007) (quotation omitted). The

Court, however, “must not try the case in the settlement hearings because the very purpose of the

compromise is to avoid the delay and expense of such a trial.” Reed, 703 F.2d at 172 (quotation

and alteration omitted).

        BP addresses these two factors together in Part II, infra, where BP demonstrates that the

Settlement Agreement provides the plaintiff class with significant recovery notwithstanding

serious risks to their case.

                5.      Class Counsel, Class Representatives, And Absent Class Members
                        Strongly Support Final Approval Of The Settlement Agreement.

        Counsel for both BP and the class, as well as its representatives, strongly believe that the

settlement represents a fair and reasonable resolution of this sharply contested litigation.

        In its joint memorandum filed with BP, the PSC advised the Court that the Settlement

Agreement “stands on its own as a comprehensive, fair, and reasonable” settlement that “makes

whole the myriad of plaintiffs asserting that they have suffered economic loss or property

damage as a result of the Deepwater Horizon incident.” Joint Memorandum In Support of

Preliminary Approval (Rec. Doc. 6266-1) at 7 (emphasis added); see also, e.g., PSC

Memorandum In Support Of Preliminary And Conditional Class Certification (Rec. Doc. 6269-

1), at 28 (describing “the fairness, adequacy, and reasonableness of the Court-Supervised Claims

Program, with its structural assurances of fair treatment, its claimant-protective systems, and its

enhanced benefits”); Plaintiffs’ Steering Committee, Summary of Agreement-in-Principle

Between Plaintiffs and BP, at 1 (Mar. 9, 2012), available at http://www.lundylawllp.com/


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Resources/PSC-Summary-3-9-2012.pdf (“This Settlement is an enormous victory for Gulf Coast

workers, businesses and families. . . . Hundreds of thousands of victims of the BP Gulf Oil Spill

will be made whole as a result of this settlement—regardless of whether or not they previously

joined the MDL lawsuit or filed a claim with the GCCF.”).37

         Where “counsel for both parties have significant experience in litigating and negotiating

settlement of class actions,” this fact is strong evidence that the settlement is fair and reasonable.

DeHoyos, 240 F.R.D. at 287 (quotation omitted); accord Cotton, 559 F.2d at 1330 (“In

performing this balancing task, the trial court is entitled to rely upon the judgment of experienced

counsel for the parties.”); Turner, 472 F. Supp. 2d at 852 (same principle).38

         Counsel for both the PSC and BP have decades of experience in prosecuting and

defending class action lawsuits. See Miller Decl. (Ex. 15) ¶ 23. Collectively, they have been

involved in some of the most complex class and mass tort settlements in the nation’s history—


37
   The individual members of the PSC share the view that the settlement is fair, reasonable, and adequate. See, e.g.,
Press Release, Plaintiffs’ Steering Committee, Plaintiffs’ Steering Committee and BP Finalize Settlement: Joint
Motions Seek Preliminary Court Approval (Apr. 18, 2012), available at http://www.prnewswire.com/news-
releases/plaintiffs-steering-committee-and-bp-finalize-settlement-147920225.html (“‘The people and businesses of
the Gulf Coast stand to reap great benefits from these settlements’ said Plaintiffs’ Co-Liaison Counsel, James P. Roy
and Stephen J. Herman. ‘We have held BP fully accountable for the Deepwater Horizon tragedy less than two years
after the spill. Through extensive arms-length, good faith negotiations, hundreds of thousands of Gulf Coast
residents and businesses will be made whole.’”); Press Release, Motley Rice, BP SETTLEMENT FINALIZED:
Details of Agreement Submitted to the Court for Approval (Apr. 18, 2012), available at
http://www.motleyrice.com/news/view/bp-settles (“‘These settlements . . . will provide long-deserved compensation
to thousands, including business owners, cleanup workers, the seafood industry and other citizens. It has been a real
privilege serving as a lead negotiator,’ said Joe Rice, Motley Rice LLC member and BP Litigation Plaintiff Steering
Committee Member.”). Needless to say, BP shares the PSC’s assessment of the Settlement Agreement as a fair,
reasonable, and adequate resolution of the litigation that makes claimants who choose to remain in the class more
than whole.
38
  See also Combustion, 968 F. Supp. at 1128 (noting it was “not lost on the Court that counsel for the compromising
parties, some of the most able attorneys in the country, when armed with extensive knowledge of the facts, decided
that settlement rather than a . . . trial was in the best interest of their clients”); In re OCA, Inc. Sec. & Deriv. Litig.,
No. 05-2165, 2008 WL 4681369, at *11 (E.D. La. Oct. 17, 2008) (“The settlement was reached after over three
years of litigation and extensive discovery, and thus counsel for all parties were experienced and familiar with the
factual and legal issues in the case.”); San Antonio Hispanic Police Officers Org., Inc. v. City of San Antonio, 188
F.R.D. 433, 461 (W.D. Tex. 1999) (“In reviewing the opinions of counsel, the Court is to bear in mind that counsel
for each side possess the unique ability to assess the potential risks and rewards of litigation . . . .”) (quotation
omitted).


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e.g., asbestos, tobacco, retiree healthcare benefits, insurance, discrimination, pharmaceutical

products, etc. In fact, counsel for the PSC and BP have previously been lead counsel with

respect to two of the largest settlements ever negotiated in this country—i.e., the tobacco

settlement with the States (the PSC’s Mr. Rice), and union retiree health care benefits for

General Motors (BP’s counsel Mr. Godfrey, acting as GM’s counsel in the retiree health care

class settlements).39 These and other extraordinarily experienced negotiating counsel were also

armed with the facts developed through the extensive and fully completed Phase I discovery and

Phase I trial preparations. All of that spadework deeply informed the reasonable assessments

each side reached as to the range of outcomes in this case.

         Finally, while the objections deadline has not yet arrived, the absent class members’

reactions to the settlement have been positive thus far. As noted above, as of August 10, 48,954

claims had been submitted to or were in the process of being submitted to the Court Supervised

Settlement Program; in contrast, fewer than 75 persons have submitted objections, and many of

those are not class members. While a class settlement may be approved over the objections of a

significant percentage of class members, “courts have taken the position that one indication of

the fairness of a settlement is the lack of or small number of objections.’” Hammon v. Barry,

752 F. Supp. 1087, 1092-93 (D.D.C. 1990) (quotation and alteration omitted); cf. Cobell v.

Salazar, 679 F.3d 909, 920 (D.C. Cir. 2012) (“Indeed, the existence of the opt-out alternative

effectively negates any inference that those who did not exercise that option considered the

settlement unfair.”). Further confirming the fundamental fairness of the Settlement Agreement, a

significant number of the objections received to date are from persons who do not fall within the

settlement class but wish that the class were defined so that they did. See Miller Decl. (Ex. 15)

39
   See UAW v. Gen. Motors Corp., No. 05-73991, 2006 WL 891151 (E.D. Mich. Mar. 31, 2006); Int’l Union,
United Auto., Aerospace, & Agric. Implement Workers of Am. v. Gen. Motors Corp., 497 F.3d 615 (6th Cir. 2007).


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¶ 44 (“What the objections do illustrate—in vivid form—is the fact that this settlement is viewed

as so desirable that people are clamoring to get in.”). While the Court need not consider these

objections because the objectors lack standing, see id., the judgment of these non-class members

further confirms the fairness of the Settlement Agreement. The sixth factor therefore also

supports preliminary approval.

II.     THE SETTLEMENT AGREEMENT PROVIDES GENEROUS COMPENSATION
        NOTWITHSTANDING SIGNIFICANT WEAKNESSES IN THE PLAINTIFFS’
        CASE.

        As explained above, and as the Court has concluded, the Settlement Agreement provides

the class with extremely generous compensation that is more than sufficient to remedy all

established losses, in many cases multiple times over. Because BP is committed to paying every

legitimate claim, the settlement does so notwithstanding serious legal and factual risks to the

plaintiffs’ theories of the case.

        As a fiduciary to the class, the Court must weigh the risk to the class if the settlement

were not approved against any arguments made by objectors. See, e.g., DeHoyos, 240 F.R.D. at

286 (“[T]he court acts ‘as a fiduciary who must serve as a guardian of the rights of absent class

members.’”) (quoting Garza, 1996 WL 56247, at *11); see also Strong v. BellSouth Telecomms.,

Inc., 137 F.3d 844, 850 (5th Cir. 1998) (the court’s role is as “guardian of the interests of class

members”); 6 Newberg on Class Actions § 18:57 (4th ed.) (“The court has a fiduciary

responsibility as guardians of the rights of the absentee class members when deciding whether to

approve a settlement agreement.”); Manual for Complex Litigation (Fourth) § 21.62 (“Adequacy

of the settlement involves a comparison of the relief granted relative to what class members

might have obtained without using the class action process.”).

        Below, BP summarizes just a few of the many obstacles that would stand between the

class, if certified in contested proceedings, and the recovery it seeks if this settlement were not
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approved. As a fiduciary to the class, the Court must weigh any objectors’ arguments against

these risks, as well as the generous compensation—including RTPs—that the Settlement

Agreement provides. Cf., e.g., Walsh v. Popular, Inc., 839 F. Supp. 2d 476, 481 (D.P.R. 2012)

(“[W]hile plaintiffs in the instant case are confident that their claims are meritorious, they face a

substantial risk of zero recovery if the instant settlement is not approved due to the weight of the

burden which they bear.”).

       A.      At Any Trial, BP Would Establish That The Errors And Omissions Of Its
               Co-Defendants Were Superseding Or Otherwise Significant Causes Of The
               Incident, And That BP’s Conduct Did Not Constitute Gross Negligence Or
               Willful Misconduct.

       At any Limitation and Liability Trial, the record evidence—based upon the extensive pre-

trial discovery and expert reports—would establish the following, among other things:

               1.      BP’s Co-Defendants Bear Significant Responsibility For The Incident.

       Deepwater drilling involves multinational companies bringing substantial resources and

specialized skills to bear in harsh environments. Macondo was no exception, and any assessment

of how the defendants acted in drilling the well has to be considered in that light. The Macondo

well represented work performed by the vanguard of the industry: BP, one of the largest

operators in the Gulf of Mexico; Transocean, the largest offshore drilling contractor in the world;

Halliburton, the largest cementing contractor in the world; and numerous other leading oil field

contractors. Nevertheless, the record compiled in the case reveals the significant mistakes made

by Transocean and Halliburton and thus their role in causing the Deepwater Horizon incident.

The record further reveals that Transocean and Halliburton voluntarily took on duties to act

safely—duties that they breached.




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                       a.      The Drilling Of The Macondo Well Involved The Coordinated
                               Efforts Of Multiple Companies.

                               i.     Transocean

       In 2010, Transocean claimed to be the “most experienced multinational company” in the

drilling industry. See Transocean 2009 Annual Report, available at http://www.deepwater.com/

fw/main/Financial-Reports-54.html.      BP relied upon both Transocean’s drilling expertise at

Macondo and Transocean’s contractual promises to BP. Transocean also had the obligation to

provide a seaworthy vessel. In addition, Transocean accepted and had “primary responsibility

for the safety of all its operations,” including to “take all measures necessary or proper to protect

the personnel and facilities.” See Drilling Contract Between Vastar Resources Inc. and R&B

Falcon Drilling Co. dated December 9, 1998 § 17.1, available at http://www.sec.gov/

Archives/edgar/data/1451505/000145150510000069/exhibit10_1.pdf. By industry practice, and

according to international maritime law, the drilling contractor’s safety management system

applied on its rigs. The Macondo drilling program confirmed that the goal of zero incidents, no

harm to people, environment, or equipment would be accomplished by implementing

Transocean’s Health & Safety Management System. As the owner of the rig, Transocean

prepared a Major Accident Hazard Risk Assessment (“MAHRA”) for the Deepwater Horizon.

Transocean’s MAHRA identified the risk of a reservoir blowout as a hazard and recognized that

preventing it required a well-trained crew, a properly maintained and tested BOP and other well-

control equipment, a functioning gas detection system, and redundant BOP controls.

       With respect to “PREVENTION OF FIRE AND BLOWOUTS,” Transocean’s contract

with BP was unequivocal: Transocean was to “maintain well control equipment in accordance

with good oilfield practices at all times” and to “use all reasonable means to control and prevent

fire and blowouts.” Id. § 15.2.


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                               ii.     Halliburton

       Halliburton is “the world’s largest cementing company, and the world’s premium

supplier of foam cement.” See Halliburton, Cementing: Foam Cement Delivers Long-Term

Zonal Isolation and Decreases Remedial Costs, http://www.halliburton.com/public/cem/contents/

Data_Sheets/web/H/H02656.pdf.          According to Halliburton’s own expert, its “primary

responsibility is . . . for . . . the specific [cement] slurry and design and testing of the slurry and

then pumping the slurry into the well.” Frederick Eugene Beck Dep. Tr. (Ex. 2) at 350-51. Its

Sperry Sun division was responsible for monitoring drilling operations and serving as “a second

set of eyes on the rig” for monitoring the well. Id.

                               iii.    Cameron

       Cameron manufactured the blowout preventer (“BOP”) used at Macondo, but it was

owned and maintained by Transocean. While their use is routine in drilling operations, BOPs

also represent critical safety equipment.      “[W]hen the BOP is called on to function in an

emergency situation, it is the main barrier protecting human life, capital equipment, and the

environment. Therefore, it must function without fail.” Melvyn Whitby Dep. Tr. (Ex. 22) at

398-99. The BOP had several emergency functions, including a “deadman” for the situation

where the BOP loses contact with the rig above.             But, as Cameron told customers like

Transocean, the BOP had to be regularly inspected and maintained to work properly.

                       b.      The Blowout Of The Macondo Well Resulted From Several
                               Interrelated Causes.

       By April 20, the Macondo well had been drilled to its total depth, cased, and cemented,

and it was in the final stages of abandonment. Even then, as with all wells, there was a series of

redundant barriers to prevent a blowout. Had any one of those barriers worked, the disaster

could have been averted. But every single one failed in succession on April 20.


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       First, hydrocarbons were allowed to enter the wellbore because the cement that

Halliburton had designed failed. Although Halliburton’s pre-job testing showed repeated slurry

failures, those failures were hidden from BP. Since the April 20, 2010 incident, no laboratory

has been able to generate a stable foam cement with the recipe Halliburton designed,

recommended, and used at Macondo.

       Integrity tests, including a negative pressure test, were performed on the well to simulate

conditions once the rig left the well, but they were misinterpreted by all involved. Plaintiffs’

expert, William Gale, testified that BP’s inclusion of a negative pressure test at Macondo was a

positive safety step. See William Gale Dep. Tr. (Ex. 5) at 243. Multiple tests were run and

discussed on April 20, and the evidence shows everyone on the rig involved in interpreting the

negative tests believed it passed and the well had integrity. In hindsight, Transocean and BP

personnel jointly misinterpreted the negative tests. But as the United States’ drilling expert

Richard Heenan testified: “I don’t think it was done intentionally” and there was “no evidence

that they were unconcerned” about the welfare of those on the rig. See Richard Heenan Dep. Tr.

(Ex. 9) at 175-77.

       Shortly before 9 p.m., an hour after the last integrity test, the well started to flow, and it

continued to flow for more than 45 minutes despite multiple people on the rig from Transocean

and Halliburton/Sperry Sun charged with continuously monitoring the well. The Transocean

drillers had primary responsibility to monitor the well; the Halliburton/Sperry Sun mudloggers

were the “second set of eyes.” None of them caught it. This extraordinary well monitoring and

well control failure was the immediate cause of this tragedy.

       When an anomaly was recognized at 9:30 p.m., Transocean rig personnel stopped the rig

pumps but did not shut in the well. After the crew stopped the pumps at 9:31 p.m., the



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Transocean drilling crew should have checked for flow and immediately shut in the well, thereby

keeping the hydrocarbon kick safely below the BOP. Calvin Barnhill Dep. Tr. (Ex. 1) at 205-06,

393-94. According to Transocean’s own expert, such actions represent “basic well control,” but

did not occur. Id. at 393.

       Once drilling mud unloaded onto the rig, Transocean’s crew failed to use equipment

designed to divert hydrocarbons away from the rig. The Deepwater Horizon was built with large

pipes with the sole purpose of diverting hydrocarbons overboard, away from the rig floor and

personnel. The Transocean crew controlled those diverters but did not use them on April 20.

Instead, the flowing well was sent to a mud-gas separator that was overwhelmed. Shortly

thereafter, an explosion occurred.

       Finally, the BOP failed to seal the well. With the rig’s confusing command structure,

there was a delay in the Transocean crew’s attempt to activate the Emergency Disconnect

System. In addition, post-accident evidence shows that each BOP control pod necessary for the

“deadman” function failed due to poor maintenance: one had a mis-wired solenoid; the other

had batteries too old and weak to fire. As noted above, Transocean was responsible for the

maintenance of the BOP.

       As the record facts developed during discovery and summarized briefly above reflect,

significant responsibility for the well blowout and ensuing oil spill belongs to BP’s co-

defendants. While BP has generously agreed to make the plaintiffs entirely whole for losses that

it did not entirely cause, if this case proceeded to trial, BP would have a strong basis for

establishing, in light of the real-world facts, that BP is not solely responsible for the incident.

Instead, the incident was multi-party and multi-causal.




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               2.     At Any Trial, BP Would Establish That Superseding Causes Broke
                      The Chain Of Causation Between Its Acts And The Class’s Injuries.

       To recover against BP in litigation, the plaintiff class would need to establish that the

negligence of BP’s co-defendants, including Transocean and Halliburton, did not constitute

superseding causes relieving BP of liability. See BP Answer to Am. B1 Complaint (Rec. Doc.

4130) (Sixth Aff. Defense) (invoking a superseding cause defense); see also Exxon Co., U.S.A. v.

Sofec, Inc., 517 U.S. 830, 837 (1996) (holding that superseding cause applies “where the

defendant’s negligence in fact substantially contributed to the plaintiff’s injury, but the injury

was actually brought about by a later cause of independent origin that was not foreseeable”)

(quotation omitted). As discussed above, however, the numerous well-control errors committed

by BP’s co-defendants were both “of independent origin” and unforeseeable to BP, which

depended and necessarily relied upon these companies’ expertise. Because (1) Halliburton’s

failure to monitor the drilling and (2) Transocean’s errors in responding to the April 20 loss of

well control constituted “later causes of independent origin” that were not foreseeable to BP,

there is significant risk to the class that BP could invoke this defense and demonstrate that its

conduct was not the legal cause of class members’ asserted injuries. On this causation point, we

note that the Fifth Circuit—in a massive maritime case involving an explosion and hundreds of

deaths in Texas—ultimately exonerated the French Government and held it blameless on appeal

because of the lack of direct causation. See Republic of France v. United States, 290 F.2d 395,

399-401 (5th Cir. 1961); see also Sofec, 517 U.S. 830 (affirming finding of superseding

causation in maritime accident).

               3.     At Any Trial, In The Alternative, BP Would Establish That Liability
                      Is Divisible Among BP And Its Co-Defendants.

       BP has long contended that it cannot be liable for the entirety of plaintiffs’ damages,

because any alleged negligence committed by BP was not the “sole proximate cause of

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Plaintiffs’ alleged damages.” BP Answer to Am. B1 Compl. (Rec. Doc. 4130) (Fifth Aff.

Defense); see also Rec. Doc. 4392 at 13-15 (explaining the legal basis for a divisibility defense

under OPA); Rec. Doc. 5124 at 9-10 (same). Even if BP did not succeed in demonstrating that

the errors and omissions of its co-defendants constituted superseding causes breaking the chain

of causation, BP would establish that a divisible portion of plaintiffs’ damages was caused by

actors other than BP. In light of the numerous errors by BP’s co-defendants, BP submits that

there are “volumetric, chronological, or other” bases for dividing liability among the defendants.

See Burlington N. & Santa Fe Ry. Co. v. United States, 556 U.S. 599, 617-18 (2009) (quotation

omitted).

       Although the Court has previously declined to apply the divisibility doctrine, see Rec.

Doc. 5809 at 12, if this settlement were not approved, that decision would have to be defended

on appeal by the PSC. BP respectfully submits that it has a significant argument that it cannot be

liable for damages that it did not cause and that OPA is indistinguishable from CERCLA in its

incorporation of basic common law divisibility into the terms of liability. See Burlington N., 556

U.S. 599; Restatement (Second) of Torts § 433A (1965). In contrast, under the settlement, BP

has committed to pay class members the entirety of their compensatory damages, as the PSC

acknowledges by referring to the class as being made whole. See Part I.B.5, supra.

               4.     At Any Trial, BP Would Establish That Its Conduct Did Not
                      Constitute Gross Negligence Or Willful Misconduct.

       In Houston Exploration Co. v. Halliburton Energy Services, Inc., 269 F.3d 528 (5th Cir.

2001), the Fifth Circuit defined gross negligence as “willful, wanton and reckless conduct that

falls between intent to do wrong and ordinary negligence.” Id. at 531. It is “substantially and

appreciabl[y] higher in magnitude than ordinary negligence.” Id. at 532 (quotation omitted); see

also Becker v. Tidewater, Inc., 586 F.3d 358, 367 (5th Cir. 2009); United States v. Citgo


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Petroleum Corp., No. 08-893, Doc. No. 234, at 2-3 (W.D. La. Sept. 29, 2011) (appeal pending)

(rejecting U.S.’s assertion of gross negligence under Clean Water Act in connection with large

oil spill, and observing that “[g]ross negligence is substantially higher in magnitude than regular

negligence”). As explained in Houston Exploration, “courts have defined gross negligence as

the ‘entire absence of care,’ the ‘want of even slight care and diligence,’ and the ‘utter disregard

of the dictates of prudence, amounting to complete neglect of the rights of others.’” 269 F.3d at

532 (citations omitted). Willful misconduct represents an even higher standard.

         BP’s conduct did not violate or even approach these high thresholds. BP studied the

Macondo prospect, used a peer-reviewed, government-approved well design, and hired and

relied upon reputable contractors to drill, cement, monitor, and control the well consistent with

industry practice and contracts. That is not a company engaged in gross negligence or willful

misconduct. For that reason, even if punitive damages were available as a matter of law (a point

that BP contests, see Part II.E, infra), they are not available on the facts of this case.

         B.       Many Plaintiffs’ Claims Fall Outside The Categories Of Recovery Permitted
                  By OPA.

         If this case were litigated through final judgment, many plaintiffs would be unable to

recover anything under the substantive law. Under OPA—which BP submits provides the only

law that can apply to the plaintiffs’ claims—only three carefully delineated categories of

damages may be recovered by private plaintiffs:40

              •   damages for injury to, or economic losses resulting from destruction of, real or
                  personal property, see 33 U.S.C. § 2702(b)(2)(B);

              •   damages for loss of subsistence use of natural resources, see id. § 2702(b)(2)(C);
                  and

40
  To the extent that maritime law applied to these claims (a proposition that, as the Court is aware, BP has
contested), claims failing under OPA would also fail under the rule of Robins Dry Dock & Repair Co. v. Flint, 275
U.S. 303 (1927).


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             •   damages equal to the loss of profits or impairment of earning capacity due to the
                 injury, destruction, or loss of real property, personal property, or natural
                 resources, see id. § 2702(b)(2)(E).

        The Settlement Agreement provides generous compensation for many kinds of loss that

fall into none of these categories, such as to real property owners whose property was not oiled

and business owners who have suffered lost profits despite not making use of natural resources

that were injured, destroyed, or lost as a result of the spill. If not for the Settlement Agreement,

these claimants would likely receive no compensation whatsoever—and they certainly would not

receive the generous compensation provided by the settlement. See generally BP Mot. to

Dismiss BP Dealer Claims (Rec. Doc. 6893); BP Mot. to Dismiss Recreation Claims (Rec. Doc.

6894); BP Mot. to Dismiss Stigma Claims (Rec. Doc. 6895).

        C.       Many Plaintiffs Would Be Unable To Show That They Satisfied OPA’s
                 Presentment Requirement.

        Under OPA, a claimant may not file suit against BP until he or she has first presented a

claim to BP, and then either (1) the claim is denied; or (2) a 90-day negotiation period has

expired without settlement—a period that begins to run after the claim has been “presented.” 33

U.S.C. § 2713(c). Presentment permits a responsible party a fair opportunity to evaluate the

claim for settlement, and so compliance is a “mandatory condition precedent” to filing suit in

court. Boca Ciega Hotel, Inc. v. Bouchard Transp. Co., 51 F.3d 235, 240 (11th Cir. 1995). BP

consistently has argued that under OPA, each B1 plaintiff must satisfy OPA’s claim presentation

process before filing suit. Presentment cannot be satisfied post hoc without dismissal and

refiling.

        The Court has agreed with BP, ruling that “the text of OPA clearly requires that OPA

claimants must first ‘present’ their OPA claim to the Responsible Party before filing suit” and

describing this requirement as a “mandatory condition precedent.” See B1 Order (Rec. Doc.
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3830) at 29-30. Nevertheless, the Court initially declined to determine which of the B1 plaintiffs

have complied with the requirement, effectively maintaining their suits without a threshold

determination that presentment has been satisfied. See id. at 30-31.

       BP has fully reserved its presentment defense, with only one limited exception for opt-out

plaintiffs who have expired offers from the GCCF. Thus, if this case were to proceed to trial, the

Court would have to address the presentment question head on, as BP would seek to enforce the

threshold requirement of presentment either before this Court or, as necessary, on appeal. Those

plaintiffs who had not complied with OPA’s presentment requirement would see their claims

dismissed. Even if such dismissal were without prejudice, many plaintiffs might find themselves

unable to re-file their claims by virtue of OPA’s three-year statute of limitations. See 33 U.S.C.

§ 2717(f). And of course, during this process, time would pass—in contrast to the settlement

process, which will pay claimants now.

       D.      Many Plaintiffs Would Be Unable To Establish That Their Damages Were
               Caused By The Spill.

       During the pendency of this litigation, the parties have vigorously contested the standard

of causation that applies under OPA. BP has consistently argued that plaintiffs may not recover

under OPA unless they each can demonstrate that their injuries were proximately and in fact

caused by the discharge. See, e.g., BP Mot. to Dismiss the B1 Master Compl. (Rec. Doc. 1440-

1) at 45 n.31; BP Reply in Supp. of Mot. to Dismiss the B1 Master Compl. (Rec. Doc. 2312) at

23; BP Mot. to Dismiss BP Dealer Claims (Rec. Doc. 6893). This argument ties explicitly to the

language in the statute: “removal costs and damages . . . that result from” an oil discharge, 33

U.S.C. § 2702(a) (emphasis added), “[d]amages for injury to, or economic losses resulting from

destruction of, real property or personal property,” id. § 2702(b)(2)(B) (emphasis added), and

“[d]amages equal to the loss of profits or impairment of earning capacity due to the injury,


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destruction, or loss of real property, personal property, or natural resources,” id. § 2702(b)(2)(E)

(emphasis added). If BP were to prevail on these arguments, either before this Court or on

appeal, a significant number of plaintiffs who otherwise would receive compensation pursuant to

the settlement would likely obtain nothing at all. See Shell Oil, 155 F.R.D. at 563 (approving

settlement where “[p]roving causation could be quite troublesome for some claimants”).

       Moreover, BP’s causation defenses would retain force even if this Court were to hold that

OPA demands some causal showing less stringent than proximate cause. In no case would

courts be expected to allow an award of damages based on speculation or highly attenuated

assertions of harm allegedly traceable to the spill. In each case, each plaintiff would need to

demonstrate both (1) an injury caused by the spill; and (2) economic damages traceable to the

spill, and not some other causal event. Such proof is extraordinarily difficult—and, unlike in this

settlement, would need to be established with admissible evidence subject to the full adversary

process. By contrast, the settlement provides generous compensation based, in many instances,

upon presumption zones or other forgiving causation standards that would not apply by statute or

general maritime law.

       E.      BP Could Demonstrate On Appeal That Punitive Damages Are Unavailable
               As A Matter Of Law.

       Even putting aside the fact that punitive damages are not warranted on the facts of this

case, there is also significant risk to the plaintiff class that BP would demonstrate that punitive

damages are not available as a matter of law.

       Rejecting BP’s argument that OPA displaces federal maritime law as to OPA responsible

parties such as BP, the Court held in its B1 Order that punitive damages are available under

federal maritime law. See B1 Order (Rec. Doc. 3830) at 25. Respectfully, this conclusion is

contrary to the conclusions of other courts, see S. Port Marine, LLC v. Gulf Oil Ltd. P’ship, 234


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F.3d 58, 65-66 (1st Cir. 2000); Gabarick v. Laurin Mar. (Am.) Inc., 623 F. Supp. 2d 741, 747

(E.D. La. 2009); Clausen v. M/V NEW CARISSA, 171 F. Supp. 2d 1127, 1133 (D. Or. 2001). To

affirm the Court’s conclusion, the Fifth Circuit would be required to split with the First Circuit in

South Port Marine and open the ruling to review by the Supreme Court, which looks to circuit

splits as the primary criterion for granting certiorari. See Sup. Ct. R. 10(a). BP thus submits

that there is a significant risk to plaintiffs that BP would prevail on this issue on appeal.

        Moreover, even if plaintiffs could demonstrate their entitlement to punitive damages, the

Supreme Court has held that the ratio of punitive to compensatory damages may not exceed 1:1

in the vast majority of maritime cases. See Exxon Shipping Co. v. Baker, 554 U.S. 471, 513

(2008). And at the very least, Robins Dry Dock would apply to most types of maritime claims,

meaning only those who own property that was oiled (or who satisfied the commercial fishermen

exception to Robins that some lower courts have adopted), would even be eligible to seek

punitive damages, see, e.g., In re Taira Lynn Marine Ltd. No. 5, LLC, 444 F.3d 371, 377 (5th

Cir. 2006) (“It is unmistakable that the law of this circuit does not allow recovery of purely

economic claims absent physical injury to a proprietary interest in a maritime negligence suit.”).

Such obstacles to recovery strongly counsel in favor of approving the settlement. See Shell Oil,

155 F.R.D. at 563 (approving settlement where it was “not clear that the plaintiffs could prove

punitive liability”).

        Finally, the settlement includes generous RTP payments. These payments represent

multiples of actual compensatory damages to account for future risk and uncertainty and all

claimed damages of any type. Thus, even apart from BP’s position that punitive damages are

unavailable, the contemplated RTP payments plainly serve as a surrogate for any benefits that




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punitive damages might otherwise provide (as well as well as a liquidation of any claimed rights

to punitive damages).

       F.      At Any Trial, BP Would Establish That The Gulf Is Undergoing A Robust
               Recovery, Further Weakening Claims For Economic Damages.

       A further obstacle to the class if this case were to proceed through adversarial litigation is

the evidence that the Gulf is undergoing a robust recovery. This evidence would substantially

weaken any claim that class members are entitled to compensation for future injury.

               1.       Coastal Areas

       Dr. Elliott Taylor, a lead technical advisor to the SCAT team, reports that he has visited

dozens of sites across the Gulf Coast multiple times since the spill began. Taylor Decl. (Ex. 19)

¶ 11. He further opines that the “scope and thoroughness of the SCAT program for the DWH oil

spill is unprecedented, and that the SCAT program provides an accurate and detailed

understanding of the current level and character of shoreline oiling in the Gulf and the level and

character of oiling over time.” Id. ¶ 23. As he explained, “SCAT teams have surveyed many

segments of the Gulf shoreline multiple times over many months since May 2010.” Id. ¶ 32.

“Surveying segments repeatedly allows SCAT to assess changes in oiling over time, assists in

understanding the effectiveness of shoreline treatment activities, and provides an understanding

of the shoreline’s seasonal variability.” Id.

       Dr. Taylor’s surveys left him with the clear conclusion that the Gulf was undergoing a

strong recovery. As he has explained, “more than 3,900 miles of shoreline have been formally

moved out of the response or recommended for removal from the response.” Id. ¶ 33. Now that

“[a] variety of scientists and organizations have searched for oil in near-shore areas for more

than two years, throughout all seasons of the year,” id. ¶ 42, he concludes that any future re-

oiling “would almost certainly be minimal, discrete, and localized.” Id. ¶ 43.


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               2.      Wetlands

        Dr. Harold Leggett, former Secretary of the Louisiana Department of Environmental

Quality, “made a series of site visits to the Louisiana wetlands so that [he] could personally

observe the condition of the wetlands.” Leggett Decl. (Ex. 14) ¶ 12. He opined that “the marsh

appeared to be healthy and recovering well,” with the exception of one specific location that

Unified Command had selected to test recovery methods. Id. ¶ 15. “Even the heavily oiled areas

I observed appeared to be healthy and recovering well, again with the exception of the ‘test

plot.’” Id. In conclusion, he explained,

        I believe that the marsh has made remarkable progress in recovery from this
        event, and that little to no observable impact will be visible in the next year. Even
        now, in many of these sites where heavy oiling occurred, there is no longer any
        observable oil. In addition, I personally observed both animal and plant life
        flourishing in these areas, including many species of birds, several school of
        porpoises and fish and extensive re-vegetation occurring.

Id. ¶ 15.

        Similarly, Wharton “made a series of site evaluations of the Louisiana wetlands on March

27, 2012, including aerial observations from a helicopter and ground observations from a boat.”

Wharton Decl. (Ex. 21) ¶ 17. Of the seven sites where he was on the ground, “SCAT reported

heavy oil at five of the sites and moderate oil at two of the sites at their maximum level of oiling

observed.” Id. ¶ 18. He also visited twenty-one additional sites by boat between June 12 and

June 14, 2012. Id. ¶ 20. “Overall, the wetlands where oil was observed appear to be recovering,

including an appearance of healthy vegetation, the emergence of new vegetation shoots, as well

as a reduction in the degree of oiling due to response activities or natural attenuation.” Id. ¶ 22.

“In fact, oil is currently no longer observed in many areas where oil was observed after the DWH

spill.” Id. “Based on my experience, my observations, and the materials I reviewed for this

declaration, I expect that the degree of oiling from the DWH spill will continue to decrease over


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time along the Louisiana shoreline from both response activities and natural attenuation.” Id.

¶ 25. “I also expect that sites that were once reported as having oil will be reported in the future

as having no oil.” Id.

                 3.       Water

         Dr. Alan Jeffrey41 explains that the Operational Scientific Advisory Team (“OSAT”) was

a government-led multi-agency team formed as part of the response to the Deepwater Horizon

spill. Jeffrey Decl. (Ex. 11) ¶ 9. It brought together expertise from the Bureau of Ocean Energy

Management, Regulation, and Enforcement; the Environmental Protection Agency; the National

Oceanic and Atmospheric Administration; the Coast Guard; the U.S. Geological Survey; the Fish

and Wildlife Service; and BP. Id.

         Dr. Jeffrey describes two projects: OSAT-I, which examined 17,000 water and sediment

samples taken between May 5 and October 23, 2010; and OSAT-II, a follow-up investigation to

examine the spatial distribution and potential impacts of oil residues in the nearshore, surfzone,

and sandy beach environments.              Id. ¶ 10.     All told, OSAT “comprised a very broad and

scientifically robust detection, sampling, and monitoring program” that “was well-designed and

implemented in a way that effectively measured the extent of oil and dispersant components in

the nearshore environment following the DWH spill.” Id.

         The results of the OSAT projects were unequivocal. As Dr. Jeffrey explains, “the OSAT-

I investigation found no samples in the nearshore zone that exceeded human health benchmarks

and a very low number of water and sediment samples that exceeded aquatic life benchmarks”

for polycyclic aromatic hydrocarbons (“PAH”). Id. ¶ 12. Of 6,909 water and sediment samples

41
   Dr. Jeffrey is a Senior Geochemist at ZymaX Forensics in Escondido, California, where has managed
environmental geochemistry projects, including data interpretation and preparation of reports. Jeffrey Decl. (Ex. 11)
¶ 2. He holds a Ph.D. in oceanography from Texas A&M University, as well as a Masters degree in organic
chemistry and a bachelors degree in biochemistry, both from Queen’s University in Canada. Id. ¶ 1.


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analyzed for PAH, only 35 samples “consistent with MC252 oil or of indeterminate origin”

exceeded aquatic life benchmarks, and “[n]one of the exceedances in samples collected after

August 3, 2010, were consistent with MC252 oil.” Id. (emphasis added).

         As for OSAT-II, it “addressed three types of shore and nearshore oil residue, including

supratidal buried oil (‘SBO’), small surface residue balls (‘SSRBs’), and submerged oil mats

(‘SOMs’).” Id. ¶ 19. As Dr. Jeffrey explains, findings included (1) recently collected weathered

oil samples from the beach environment showed 86-98% depletion of total PAH; (2) the risk of

leaching of SBO into groundwater is minimal due to the combined effects of weathering,

biodegradation, and the location of the buried oil; (3) in most locations, models predict PAH

concentrations in SBO will decrease to 20% of “already substantially depleted” current levels

within five years; and (4) the risk of potential cancer and non-cancer health effects from short-

and long-term exposures does not rise to the levels EPA deems to pose unacceptable health risks.

Id. ¶ 20.

                 4.       Seafood

         Dr. John W. Tunnell, Jr.,42 has explained that seafood in the Gulf is undergoing a strong

recovery.     Perhaps most significantly, no seafood tested by Louisiana’s Seafood Safety

Surveillance Program between July 2010 and November 2011 exceeded levels of hydrocarbon-

based compounds deemed sufficient to raise concerns by the Food and Drug Administration or

National Oceanic and Atmospheric Administration. See Tunnell Decl. (Ex. 20) ¶ 19. Rather,

“state and federal officials have determined that seafood from the Gulf of Mexico is as safe to eat

now as it was before the spill.” Id. ¶ 26. But the seafood is not only healthy—it is also available
42
   Dr. Tunnell is Associate Director and Endowed Chair of Biodiversity and Conservation Science at the Harte
Research Institute for Gulf of Mexico Studies, and Professor of Biology, Fulbright Scholar, and Regent’s Professor
in the Department of Life Sciences, College of Science and Engineering, Texas A&M University Corpus Christi
(TAMU-CC). Tunnell Decl. (Ex. 20) ¶ 1. He helped develop and then taught for almost twenty years at the
National Spill Control School at TAMU-CC, focusing on the effects of oil spills on the marine environment. Id. ¶ 2.


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in numbers nearly unchanged from their pre-spill levels:

         Shellfish: Based on landings data listed in NOAA and the Gulf State Marine Fisheries

Commission, “there was not much of an effect, if any, on adult shrimp population levels in the

northern Gulf of Mexico in 2010 or 2011.” Id. ¶ 33; see also Fishkind Decl. (Ex. 4) ¶ 77(a)

(“The volume of shrimp landed in the class geography during the period from September-

December 2010 (when fishing grounds re-opened) was 4% above the average volume of

landings over the same period from 2007-2009.”). While oysters dropped in harvest levels in

2010 as compared to the 2007-2009 period as a result of fishery closures and Louisiana’s

decision to divert freshwater from the Mississippi River to flood estuarine areas, they increased

past their 2010 levels in 2011. See Tunnell Decl. (Ex. 20) ¶¶ 40-43. “Once salinity returns to

normal ranges in the relevant areas, oyster populations in those areas should return to pre-freshet

trends within 18 to 24 months.” Id. ¶ 50. According to Dr. Tunnell, it appears that salinity is

returning to normal levels. Id.43 As to blue crab, while there was a drop in landings in 2010 as a

result of fisheries closures, the 2011 harvest of 51.7 million pounds is above the 44.1 million

pound long-term average of the past sixty years. Id. ¶ 53; see also Fishkind Decl. (Ex. 4) ¶ 77(d)

(“The volume of blue crab landings in the class geography in May-August 2011 was 36% above

the same period in 2010, and only 6% below the average of 2007-2009.”). In sum, “while blue

crab populations of the northern Gulf of Mexico showed a decrease in landings during the 2010

fishery closure, by the end of 2011, harvests and abundance were in line with long-term pre-spill

historic trends.” Tunnell Decl. (Ex. 20) ¶ 55. “State data also indicate that abundance in

Louisiana is generally above both the long-term average and the benchmark average.” Id.



43
  Indeed, as Dr. Fishkind notes, the “volume of oysters landed in the class geography in May-August 2011 was 71%
above the same period in 2010.” Fishkind Decl. (Ex. 4) ¶ 77(c).


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         Finfish: By the end of 2011, finfish harvests “appear[ed] to be within or above historic

trends.” Id. ¶ 56; see also Fishkind Decl. (Ex. 4) ¶ 77(b) (“The volume of finfish landed in the

class geography in September-December 2010 was 3% above the average of 2007-09 levels.”).

With regard to vermillion snapper, preliminary data from 2011 indicate more than three million

pounds of commercial landings, which is above the long-term average and approximately the

same as the 2007-2009 benchmark period average. Tunnell Decl. (Ex. 20) ¶ 60. Because the red

snapper population is rebounding after decades of overfishing, the Gulf of Mexico Fishery

Management Council recently announced a 25% increase in the quota for 2012, to 3.71 million

pounds. Id. ¶ 62. Black drum commercial landings “were as high as they had been since 2004”

in 2011, id. ¶ 66, and yellowfin tuna, which has been subject to a long-term downward trend

since at least 1990, increased from 2010 to 2011, id. ¶ 68.

         In summary, Dr. Tunnell concludes that “most of the fishery species relevant for the

Seafood Compensation Program appear to be within pre-spill landings and population trends in

most areas of the region.” Id. ¶ 71. This conclusion accords with Dr. Fishkind, who notes that

“as a general matter, fishing activity returned to pre-Spill levels of activity after spill-related

closures ended in late 2010.” Fishkind Decl. (Ex. 4) ¶ 77.

                 5.       Tourism

         In light of the fact that the coast, wetlands, water, and seafood are returning to their pre-

spill conditions, it is unsurprising that tourism has also recovered. According to Landry, based

on his review of Smith Travel Research (“STR”) data,44 “it appears any overall loss of business

from reduced tourism that may have resulted from the Spill was replaced and more than offset by

new demand.” Landry Decl. (Ex. 13) ¶ 39. In sum, “the destinations do not appear tainted and

44
  “STR data is widely relied upon by industry participants and is recognized as the standard source for evaluating
tourism and hotel industry performance.” Landry Decl. (Ex. 13) ¶ 20.


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did not suffer long term demand decline.” Id. ¶ 40. Rather, “the affected area has experienced

new record high revenues in 2011 and the trend appears to continue in 2012.” Id. ¶ 48. Thus,

the settlement “should more than fully compensate businesses and individuals in hospitality and

tourism for any economic harm experienced.” Id.

          Drs. Fishkind and Richardson agree. See Fishkind Decl. (Ex. 4) ¶ 70 (“More specifically,

available data indicates that tourism recovered by late 2010 and that the summer of 2011, the

first following the DWH Spill, was especially strong for the Gulf tourism industry and 2012

continues to be strong.”); Richardson Decl. (Ex. 16) ¶ 41 (“In fact, there are signs illustrated by

tourism-related activity in 2010 and 2011 suggesting that Louisiana’s industry has been on the

upswing.”).

          G.     New Complexities And Hurdles For Plaintiffs’ Claims Would Surely Arise
                 During A Lengthy, Multi-Phased Trial Process.

          Finally, actually litigating this case would engender innumerable complexities and proof

problems that would take many years to resolve. By any measure, this case has already been one

of the most expensive and complex in history. See supra Part I.C.2. As explained above, the

pretrial briefing has produced a wide variety of extraordinarily difficult and unprecedented legal

questions. Should the case go to trial, the Court would have to resolve those questions. And

given the lack of controlling precedent on so many of the legal issues, a series of complex

appeals to the Fifth Circuit and possibly beyond would surely follow. At the end of that lengthy

litigation odyssey, however, it is unlikely that either party would be wholly successful. The only

thing that is certain is that a trial would delay payment to the class for years—likely a decade or

longer.

          The Exxon Valdez litigation provides a clear example of the risks of litigation to the class.

As noted above, nearly twenty years elapsed between the 1989 Exxon Valdez oil spill and the


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Supreme Court’s decision in Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008). Many of the

plaintiffs had died before the case reached the Supreme Court, see Brief for Respondents, Exxon

Shipping Co. v. Baker, No. 07-219, 2008 WL 194284, at *16 (U.S. Jan. 22, 2008), and many

others suffered due to the lengthy litigation process. Indeed, experts who studied the effects of

the Exxon Valdez litigation on the local populace have said that the litigation “produce[d] an

independent secondary disaster, which [rather than the original spill] is the primary source of

ongoing secondary trauma.” J. Steven Picou, When the Solution Becomes the Problem: The

Impacts of Adversarial Litigation on Survivors of the Exxon Valdez Oil Spill, 7 U. St. Thomas

L.J. 68, 81 (2009); see also supra n.36 (describing the lengthy Amoco Cadiz trial and appellate

proceedings).

III.   OBJECTIONS RECEIVED THUS FAR LACK MERIT.

       As discussed above, relatively few objections have been received to date, particularly in

light of the comprehensive class notice program, pursuant to which millions of people and

businesses received notice of the settlement. This reflects the initial judgment of the class that

the Settlement Agreement is fair, reasonable, and adequate. Those objections that have been

received, moreover, lack merit. See, e.g., Miller Decl. (Ex. 15) ¶ 43 (“I have reviewed objections

filed as of August 8, 2012 and find in them no basis for revising the opinions expressed above.”).

BP addresses objections that have been received to date herein; BP will address additional

objections that are received following the filing of this brief in its reply submission.

       A.       No One Has Standing To Complain About Exclusion From The Class, As
                The Settlement Agreement Has No Effect Whatsoever Upon The Legal
                Rights Of Non-Class Members.

       Recognizing that the Settlement Agreement provides generous compensation to those

who fall within its claims frameworks, certain objectors complain that the settlement negotiated

by the parties does not resolve their claims. In some cases, the objector does not fall within the

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settlement class as a result of the objector’s geographic location. See, e.g., Rec. Doc. 6317; Rec.

Doc. 6383; Rec. Doc. 6404; Rec. Doc. 6497; Obj. Doc. 40;45 Obj. Doc. 42; Obj. Doc. 45; Obj.

Doc. 53; Obj. Doc. 55; Obj. Doc. 56. Other objectors have substantive claims that the parties

have not agreed to settle. Many such claims are ones BP regards as having no colorable legal

basis at all. See, e.g., Rec. Doc. 6345 (BP dealer claims); Rec. Doc. 6382 (same); Obj. Doc. 34

(unrealized reduction in property value); Obj. Doc. 35 (similar); Obj. Doc. 36 (similar); Rec.

Doc. 6830 (similar); Obj. Doc. 46 (similar); Obj. Doc. 43 (similar); Obj. Doc. 37 (mortgage

brokers).46

         As the Court has recognized, however, persons falling outside the settlement class are

entirely unaffected by the Settlement Agreement, and thus lack standing to challenge it. See Rec.

Doc. 7038 at 1 (“In the context of class settlements, non-settling parties generally have no

standing to challenge the proposed settlement”); Preliminary Approval Order at 16-17

(“Generally, non-class members do not have standing to object to a class settlement.

Significantly, claims excluded from the proposed settlement are unaffected and preserved.”)

(emphasis added and citations omitted); Apr. 25, 2012 Preliminary Approval Hr’g Tr. at 48:19-

49:1 (“[W]hen you say that some category is excluded from this settlement, that does not in any

way mean they cannot pursue or continue to pursue their claims in court or otherwise. . . . They

are just not affected by the settlement one way or the other.”); cf. Miller Decl. (Ex. 15) ¶ 44

(“There is no ‘right’ to be included in a class action settlement, and attorneys who craft a

45
  On June 4, 2012, the Court established No. 10 Civ. 7777 (E.D. La.) as a separate case number for the filing of
objections. See Rec. Doc. 6616. Citations to “Obj. Doc.” refer to documents filed on this separate objections
docket.
46
   Because parties excluded from the settlement suffer no prejudice and remain in their status quo state, the parties
need not justify why certain types of claims are or are not included within the settlement. Nevertheless, BP has
previously explained that three particular types of claims are not compensable, one indication of why it has declined
to settle these claims. See generally BP Mot. to Dismiss BP Dealer Claims (Rec. Doc. 6893); BP Mot. to Dismiss
Recreation Claims (Rec. Doc. 6894); BP Mot. to Dismiss Stigma Claims (Rec. Doc. 6895).


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settlement necessarily have discretion to determine who is included and who is excluded from

the release.”).47

         Nor need the point be phrased in the language of standing. Fundamentally, the purpose

of fairness review under Rule 23(e) is to ensure that absent class members are not bound by an

unfair settlement. See, e.g., Piambino v. Bailey, 610 F.2d 1306, 1327 (5th Cir. 1980) (“Rule

23(e) requires the trial judge to review any proposed settlement of a class action. The purpose of

this salutary requirement is to protect the nonparty members of the class from unjust or unfair

settlements affecting their rights.”) (emphasis added); Pearson v. Ecological Sci. Corp., 522

F.2d 171, 176-77 (5th Cir. 1975) (“The special prophylactic function that subdivision (e) of Rule

23 was designed for is to assure that any person whose rights would be affected by a dismissal or

compromise has the opportunity to contest the proposed action.”) (emphasis added and quotation

omitted). Persons excluded from the class remain in exactly the same position as they occupied

before the settlement was reached, and so the Court has no basis for considering these persons’

objections. They remain free to litigate their claims as they please.

         B.      The Mississippi Attorney General’s Objections Lack Merit.

         On April 26, 2012, Mississippi, through its Attorney General, filed a memorandum

opposing the Settlement Agreement. See Rec. Doc. 6370 (“Miss. Objs.”) Mississippi primarily

argued that the Court should reject the Settlement Agreement because the class definition did not

include persons who had already reached final settlements with BP through the GCCF.

According to Mississippi, the GCCF releases are invalid both because (1) OPA does not permit

the use of final releases and (2) the releases here were procured through duress.


47
  This conclusion, of course, comports with settled precedent. See, e.g., Feder v. Elec. Data Sys. Corp., 248 F.
App’x 579, 581 (5th Cir. 2007) (per curiam) (citing Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d 942, 974-75
(E.D. Tex. 2000)).


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       The argument fails for several reasons. First, OPA clearly contemplates the use of final

releases to achieve the statutory goal of facilitating out-of-court settlements. The thrust of

Mississippi’s argument is that BP should have to pay twice to release the very same claims the

GCCF has already settled using funds from the Deepwater Horizon Oil Spill Trust and that BP

has a non-existent duty to agree to such an outcome in settlement negotiations with the plaintiffs.

       Second, the GCCF system provided numerous options. Specifically, claimants seeking

compensation from the GCCF were presented with a choice between accepting (1) interim

payments, which did not require final releases; (2) “Quick Pay” payments, which granted

claimants immediate compensation in exchange for a final release; and (3) final payments,

carefully calculated to compensate for all past and future losses in exchange for a final release.

See Gulf Coast Claims Facility, Final Rules Governing Payment Options, Eligibility and

Substantiation Criteria, and Final Payment Methodology (Feb. 18, 2011) (Ex. 6), at 2. Prior to

November 23, 2010, the GCCF also made available “emergency advance payments” specifically

to ensure that anyone in dire financial straits could receive compensation without requiring a

final release. See Gulf Coast Claims Facility, Frequently Asked Questions (Ex. 7) ¶ 14. Thus,

the GCCF both fully satisfied BP’s obligations under OPA and ensured that no claimant made a

decision under duress.

       Third, as is particularly relevant here, the exclusion of persons who signed GCCF

releases is irrelevant to the Court’s disposition of this motion for final approval. The legal point

is that the Court’s sole task at this time is to determine if the Settlement Agreement is fair and

reasonable to the class members who will be bound by the judgment. See supra Part III.A. If

the Mississippi Attorney General were correct that the GCCF releases could be challenged, then

persons who signed such releases could attempt to pursue such claims in litigation. At that time,



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BP would again defend the releases as valid and fully enforceable. Nothing in this Settlement

Agreement affects the legal rights of these non-class members one way or the other.

       Fourth, putting all other issues aside, Mississippi lacks standing to object to the fairness

of either the economic loss or medical settlements. The Court has already recognized this

standing defect with respect to the State of Louisiana. See Rec. Doc. 7038.

               1.      The GCCF Releases Comported With OPA, Were Not The Product
                       Of Duress, And Are Valid And Enforceable.

       OPA was designed to facilitate out-of-court settlements. See, e.g., 135 Cong. Rec. H7965

(daily ed. Nov. 2, 1989) (describing the congressional goal “to allow for quick and complete

payment of reasonable claims without resort to cumbersome litigation”) (emphasis added);

Boca Ciega Hotel, 51 F.3d at 238-39 (noting the “congressional desire to encourage settlement

and avoid litigation”); Miss. Objs. at 4 (“[T]he initial underlying congressional intent in creating

the OPA-mandated claims process was to encourage settlement and avoid litigation.”). As a

result, any argument premised on the incorrect notion that OPA impedes settlements by

prohibiting final releases must fail.

                       a.      OPA Permits Final Releases And Presupposes Their Use To
                               Reduce The Burden Of Oil Spill Litigation On The Judiciary.

       Mississippi argues that the GCCF releases are invalid because OPA does not permit final

releases. In support of this argument, Mississippi relies upon two statutory provisions that

require a responsible party to establish, and to advertise, a procedure for the payment of interim

damages claims. See 33 U.S.C. § 2705(a); id. § 2714(b)(2). Mississippi further relies upon 33

U.S.C. § 2715, which provides as follows:

       (a)     In general

               Any person, including the Fund, who pays compensation pursuant to this
               Act to any claimant for removal costs or damages shall be subrogated to
               all rights, claims, and causes of action that the claimant has under any

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               other law.

       (b)     Interim damages

               (1)     In general

                       If a responsible party, a guarantor, or the Fund has made payment
                       to a claimant for interim, short-term damages representing less
                       than the full amount of damages to which the claimant ultimately
                       may be entitled, subrogation under subsection (a) of this section
                       shall apply only with respect to the portion of the claim reflected in
                       the paid interim claim.

               (2)     Final damages

                       Payment of such a claim shall not foreclose a claimant’s right to
                       recovery of all damages to which the claimant otherwise is entitled
                       under this Act or under any other law.

Id. § 2715.

       Taken together, these provisions require a responsible party to have a procedure for the

payment of interim claims. Nothing in their text even plausibly bars the use of final releases

where the responsible party and the claimant agree upon a final settlement. Unsurprisingly,

Mississippi has identified no authority adopting such a novel interpretation. Settling claims with

finality and with clarity presumes the use of releases. See, e.g., Williams, 23 F.3d at 935 (“Public

policy favors voluntary settlement of claims and enforcement of releases.”); Att’y Gen. Jim

Hood’s Resp. In Opp’n to the Mots. to Vacate & Incorporated Mem. of Law, In re Jim Hood,

Att’y Gen. ex rel. State of Miss., No. 94-1429, 2006 WL 3769644 (Miss. Ch. Ct. Apr. 17, 2006)

(“Should the Movants succeed here, it will leave all those who enter into settlement agreements

with the State indefinitely in doubt as to the finality of such agreements.”) (emphasis added).

       The legislative history of the 1996 OPA amendments, which added the provisions about

interim damages upon which Mississippi relies, further confirms that the purpose of the

amendments was simply to make the payment of interim claims possible. Prior to the 1996


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amendments, there was concern that a claimant’s acceptance of an interim payment could

foreclose the claimant’s ability to receive the rest of his or her damages later. See Oil Spill

Prevention & Resp. Improvement Act: Hr’gs Before the S. Comm. on Environment & Pub.

Works, 104th Cong. 166 (1996) (statement of Barry M. Hartman, Counsel to Rhode Island

Lobsterman’s Association) (“Our concern has always been one thing and one thing only, and

we’ve said it until we are blue in the face—there is a provision of OPA, section 1015, that says

on its face that if you accept payment from anyone under the Act, you subrogate all your rights

under every other law to that person to whom you have accepted payment. That section can be

read by a court looking at the strict language of the statute to mean that if I accept $1 on my

claim from the insurer, I have subrogated all my rights under all other laws for all claims that I

have.”); id. at 239 (statement of Bob Smith, President, Rhode Island Lobstermen’s Association)

(“[I]f I as a claimant accept an interim payment from the insurer under this law, this provision

could be construed to require that I give the insurer all my rights to claim damages under any

other law, even if I was not yet compensated for all my losses.”). In other words, the purpose of

the statutory amendments was to “make it clear that interim payments are allowable.” Id. at 255.

       Nothing in the statutory text or the legislative history suggests a congressional intention

to provide that final releases are impermissible, and adopting such a rule here would directly

frustrate OPA’s goal of encouraging out-of-court settlement.

                      b.      The GCCF Releases Were Not Procured By Duress.

       Mississippi further argues that all GCCF releases are void because they were procured by

duress. Even if this issue were amenable to a class-wide resolution (which it surely is not, given

the highly fact-specific showing that a claim or defense of duress requires), Mississippi has

failed to demonstrate that the standard of economic duress has been satisfied. Under Mississippi

law (which applies to GCCF releases signed by Mississippi residents), “the complaining party
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must establish: (1) that the dominant party threatened to do something which he had no legal

right to do; and (2) that the wrongful threat overrode the volition of the victim and caused him to

enter an agreement against his free will.” Bailey v. Estate of Kemp, 955 So. 2d 777, 783 (Miss.

2007) (quotation omitted). Critically, economic duress “cannot be predicated upon a demand

which a party has a legal right to do.” In re Estate of Davis, 832 So. 2d 534, 538 (Miss. Ct. App.

2001) (quotation omitted).

         Mississippi identifies no unlawful threat made by BP or the GCCF, and so it cannot

satisfy the first requirement of the duress standard. Nor can Mississippi satisfy the second

requirement, as any individual displeased with the GCCF’s offer of a final payment remained

free to, among other things, (1) accept only an interim payment, which would not require a final

release; (2) accept no payment, and sue BP; or (3) accept no payment, and make a claim against

the Oil Spill Liability Trust Fund. Indeed, Mississippi identifies no evidence whatsoever upon

which it would rely to prove that duress occurred in any individual case. Accordingly, its duress

argument must fail.48


48
   Mississippi further argues that the releases are invalid because they purport to release BP of liability for its
assertedly grossly negligent conduct. While the Court has explained that “gross negligence will invalidate a
release,” see Rec. Doc. 5446 at 14 (emphasis omitted), in context the Court obviously means that a prospective
release for gross negligence is invalid. Indeed, Houston Exploration Co. v. Halliburton Energy Servs. Inc., 269 F.3d
528 (5th Cir. 2001), upon which the Court relied in its indemnification order and which Mississippi invokes in its
objection, itself relies upon a provision of Louisiana law that unambiguously applies to prospective releases. See
La. Civ. Code Ann. art. 2004 (“Any clause is null that, in advance, excludes or limits the liability of one party for
intentional or gross fault that causes damage to the other party.”) (emphasis added) (quoted in Houston Exploration
Co., 259 F.3d at 531 n.1). The other authority is equally clear. See, e.g., Sevarg Co. v. Energy Drilling Co., 591 So.
2d 1278, 1281 (La. Ct. App. 1991) (“Sections 18.8, 18.14, and 18.15 of the contract, given the interpretation
espoused by Energy, are null, because they, in advance, exclude or limit the liability of Energy for intentional or
gross fault that causes damage to Sevarg.”) (emphasis added); Royal Ins. Co. of Am. v. Sw. Marine, 194 F.3d 1009,
1016 (9th Cir. 1999) (“‘An attempted exemption from liability . . . for a future willful or grossly negligent act is
generally held void . . . .’”) (emphasis added) (quoting 8 Williston on Contracts § 19:23 (4th ed.)); La Esperanza de
P.R., Inc. v. Perez y Cia. de P.R., Inc., 124 F.3d 10, 19 (1st Cir. 1997) (“[T]he prospective wrongdoer’s potential
liability should be enough to deter negligence.”) (emphasis added and quotations omitted) . Failure to limit this
principle of law to preventing a party from immunizing itself from liability for future gross negligence would
effectively prohibit settlement in any case involving gross negligence, which is obviously not the law. See, e.g.,
Loscher v. Hudson, 182 P.3d 25, 34 (Kan. Ct. App. 2008) (“Unless an indemnity agreement encourages the
commission of the illegal act, a contract to indemnify against the consequences of an illegal act that has already
been committed has generally been upheld.”); Brown v. Gallagher, 902 N.E.2d 1037, 1040 (Ohio Ct. App. 2008)

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                  2.       The Parties Are Not Required To Negotiate The Broadest Settlement
                           Agreement Possible, And So The Validity Of The GCCF Releases Is
                           Irrelevant To The Fairness Of The Settlement Agreement.

         Although the GCCF releases are valid and enforceable, the validity of the GCCF releases

is irrelevant to the fairness of a settlement that does not affect the legal rights of persons who

have signed such releases. As the Court has recognized, it is “‘perfectly reasonable—and not at

all unfair or un-adversarial—for class counsel to define the class in a way that, in their opinion,

would lead to the best recovery for the class. Fairness does not require class counsel to act on

behalf of individuals not in the class, even if at one time those individuals were included in a

pretrial class definition.’” Preliminary Approval Order at 16-17 (emphasis added) (quoting

McBean v. City of N.Y., 233 F.R.D. 377, 384 (S.D.N.Y. 2006)). Put slightly differently, even if

persons who signed GCCF releases still had valid claims, nothing requires the parties to settle

such claims, either as a part of a comprehensive class action settlement, or separately.49

         Here, the parties had valid reasons for excluding persons who had signed GCCF releases,

the simplest of which is that including claims that already had been settled and paid for by BP

would make no sense. Those claims were terminated by the releases and there is no reason to

pay to release the same claims twice. Hence, BP and the PSC could not reach a voluntary

settlement on this issue. Mississippi may not now ask the Court to require the parties to settle

(“[O]ne may make an agreement to be indemnified or to indemnify with respect to a crime or illegal act which
occurred prior to the making of the agreement. This has been the law for many years throughout the United States
and in this State.”) (quotation omitted); Oxy, USA, Inc. v. Sw. Energy Prod. Co., 161 S.W.3d 277, 287 (Tex. Ct.
App. 2005) (“We find the public policy argument of deterring misconduct by preventing a party from contracting
away liability to be inapplicable in this case because the Indemnity Agreement is limited to actions that have already
occurred.”).
49
   The authority is uniform that a court may not require parties to a civil suit to reach a settlement that is broader
than the one they have themselves negotiated. See Manual for Complex Litigation (Fourth) § 21.61 (“The judicial
role in reviewing a proposed settlement is critical, but limited to approving the proposed settlement, disapproving it,
or imposing conditions on it. The judge cannot rewrite the agreement.”); see also Kothe v. Smith, 771 F.2d 667, 669
(2d Cir. 1985); Gen. Mill Supply Co. v. SCA Servs., Inc., 697 F.2d 704, 712 (6th Cir. 1982) (“In these days of
crowded dockets, settlement of civil suits, like plea bargains in criminal cases, are much desired by courts, which
cannot force them.”).


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claims that they have not agreed to settle themselves. And, of equal importance, Mississippi may

not hold up a settlement paying billions of dollars to others on the basis that it wants a different

settlement for those whose rights are not affected by the settlement. If Mississippi’s position

were valid, it would create a veto right over any class settlement for a non-party whose rights are

not affected by a proposed settlement. No logic supports such a position, which is contrary to

settled law and would mean that no settlement could ever be reached—all to the detriment of the

Mississippi citizens with live claims who will receive substantial monies under the settlement.

                3.      In Any Event, Mississippi Lacks Standing To Object To The
                        Exclusion Of Certain Of Its Citizens From The Class.

        Finally, even if the GCCF releases were invalid (which they are not), and even if this

purported invalidity were relevant to the fairness of the settlement (which it is not), Mississippi

lacks standing to object to the Settlement Agreement on behalf of persons who signed GCCF

releases. While the Court has already correctly concluded that Louisiana lacks standing, BP

briefly summarizes the relevant law as it also applies to Mississippi. See Rec. Doc. 7038 at 2

(concluding that the Settlement Agreement “will in no way affect any procedural or substantive

rights of . . . Louisiana”).

                        a.     The Class Action Fairness Act Does Not Vest Mississippi With
                               Standing To Object To The Class Settlement.

        Mississippi argues that it may object to the Settlement Agreement pursuant to section

1715 of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715. That section, captioned

“Notifications to appropriate Federal and State Officials,” provides as follows:

        Not later than 10 days after a proposed settlement of a class action is filed in
        court, each defendant that is participating in the proposed settlement shall serve
        upon the appropriate State official of each State in which a class member
        resides and the appropriate Federal official, a notice of the proposed settlement
        ....



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28 U.S.C. § 1715(b) (emphasis added). This procedural statute simply requires notification; it

does not create a substantive right of standing that a state official would not otherwise possess.

To the contrary, the statute is explicit that “[n]othing in this section shall be construed to expand

the authority of . . . State officials.” Id. § 1715(f); see also S. Rep. No. 109-14, at 35 (2005),

reprinted in 2005 U.S.C.C.A.N. at 34 (“The state and federal officials are not required to take

any affirmative action once they receive the proposed settlement according to new section 28

U.S.C. 1715(f); nor does this section expand their current authority in any respect.”) (emphasis

added); Letter from Fifteen State Attorneys General to Senators Bill Frist & Harry Reid (Feb. 7,

2005), reprinted in 151 Cong. Rec. H644-45 (daily ed. Feb. 16, 2005) (observing that the

“notification provision lacks meaning” because it did not create substantive rights for the

Attorneys General).

                       b.      Mississippi May Not Object To The Settlement Agreement As
                               Parens Patriae.

       Mississippi’s parens patriae argument reflects a fundamental misunderstanding of the

doctrine. As the Supreme Court has explained, “to have [parens patriae] standing the State must

assert an injury to what has been characterized as a ‘quasi-sovereign’ interest.” Alfred L. Snapp

& Son, Inc. v. P.R., ex rel. Barez, 458 U.S. 592, 600 (1982). “Not all that a State does, however,

is based on its sovereign character.” Id. at 601. While “a state may, for a variety of reasons,

attempt to pursue the interests of a private party, and pursue those interests only for the sake of

the real party in interest . . . [i]nterests of private parties are obviously not in themselves

sovereign interests, and they do not become such simply by virtue of the State’s aiding in their

achievement. In such situations, the State is no more than a nominal party.” Id. at 602

(emphasis added).




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         At bottom, “the State must articulate an interest apart from the interests of particular

private parties.” Id. at 607 (emphasis added); see also, e.g., State of Okla. ex rel. Johnson v.

Cook, 304 U.S. 387, 396 (1938) (noting the “governing principle that the State must show a

direct interest of its own and not merely seek recovery for the benefit of individuals who are the

real parties in interest”); Louisiana ex rel. Caldwell v. Allstate Ins. Co., 536 F.3d 418, 428 (5th

Cir. 2008) (explaining that a proper “interest is lacking when a state undertakes to sue for the

particular benefit of a limited number of its citizens” and that the “State must show a direct

interest of its own”) (quotations omitted); Paterson v. Texas, 308 F.3d 448, 451 (5th Cir. 2002)

(“As for the State’s argument that it represents the interests of Texas class members, we know of

no authority that would give it standing in a representative capacity. . . . The class

representatives, not the State, are by federal law the parties authorized to prosecute and settle the

claims of the class members.”).

         Here Mississippi seeks to assert the narrow financial interests of a confined subset of its

citizens,50 rendering parens patriae standing inappropriate. Indeed, because the citizens whom

Mississippi seeks to represent fall outside the class and lack standing to object to the settlement

in their own right, see supra, Mississippi’s invocation of the parens patriae doctrine is

particularly audacious. Its objections contain no explanation whatsoever of how a settlement

agreement that at worst fails to affect the legal rights of certain of its citizens creates an injury to

its sovereign interests.51


50
   Mississippi has nearly three million citizens. See United States Census Bureau, State & County QuickFacts:
Mississippi, http://quickfacts.census.gov/qfd/states/28000.html. In contrast, Mississippi itself estimates that the
issue it raises affects only 200,000 claimants across all states, who already have been paid substantial sums in
exchange for which they signed a release of claims. See Miss. Objs. at 1-3.
51
   The parens patriae doctrine is further inapplicable because the few citizens whom Mississippi purports to
represent are more than capable of asserting their own interests. Cf., e.g., P.R. ex rel. Quiros v. Bramkamp, 654 F.2d
212, 217 (2d Cir. 1981) (“A final factor to consider in determining whether to allow a state to proceed as parens
patriae is ‘the presence or absence of a more appropriate party or parties capable of bringing suit.’”) (quoting

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        C.       The Florida Attorney General’s Objections Lack Merit.

        On April 13, 2012, five days before the Settlement Agreement was finalized and filed in

Court, the Florida Attorney General filed a “statement of interest” regarding the Settlement

Agreement. See Rec. Doc. 6239. Florida complained both that (1) certain Florida residents and

businesses would be excluded from the class definition as a result of its geographic boundaries,

and (2) the Court’s preliminary approval order would result in the immediate discontinuation of

the interim claims process.

        Florida’s first contention lacks merit, as discussed above. Not only does Florida itself

(for the same reasons as Louisiana and Mississippi) lack standing to object to the Settlement

Agreement, but the citizens about whose exclusion Florida complains would also lack standing

to complain in their own capacity, since they have no individual standing to do so.                           See

Preliminary Approval Order at 16.

        The Court has also already rejected Florida’s objection with respect to the interim claims

process. As the Court explained in its preliminary approval order, “the parties have represented

that BP will continue to receive and process Oil Pollution Act (‘OPA’) claims for those excluded

from the settlement class and those who opt out of the settlement class,” and “[p]resumably, that

process will include an interim payments process.” Id. at 18 n.19. BP’s claims process is now

fully operational, and as the Court predicted it permits excluded parties and opt-outs to submit

claims for interim damages. See BP, Claims Information, http://www.bp.com/claims (“Under

OPA, claims may be filed with the BP Claims Program for interim, short-term damages

representing less than the full amount to which the claimant may ultimately be entitled.”). BP


Pennsylvania v. Kleppe, 533 F.2d 668, 675 (D.C. Cir. 1976)); In re Tobacco/Governmental Health Care Costs
Litig., 83 F. Supp. 2d 125, 134 (D.D.C. 1999) (“Parens patriae standing is rarely appropriate in ‘the presence of a
more appropriate party or parties capable of bringing suit.’”) (quoting Kleppe, 533 F.2d at 675).



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has advertised its claims program in a United States Coast Guard-approved campaign, with

advertisements appearing in more than a dozen Florida newspapers.

       D.      Halliburton’s Objections Lack Merit.

       On April 24, 2012, Halliburton filed “preliminary objections” to the Settlement

Agreement. See Rec. Doc. 6350. In response, the Court found in its preliminary approval order

that Halliburton’s objections were “unavailing,” as Halliburton had not “shown any . . . form of

legal prejudice that would give it standing to object.” Preliminary Approval Order at 17 & n.18.

After Halliburton nevertheless requested discovery regarding the settlement agreements nearly

three months later, the Court reiterated that Halliburton lacked standing because “the proposed

settlements will in no way affect any procedural or substantive rights of Halliburton.” Rec. Doc.

7038 at 2.

       As the Court has now twice ruled that Halliburton lacks standing to object to the

Settlement Agreement, BP need not establish once more that (1) Halliburton lacks standing and

(2) in any event, Halliburton’s arguments are both wrong and irrelevant to the whether the

settlement satisfies the standard of fairness, reasonableness, and adequacy required by Rule 23.

BP instead respectfully directs the Court to its briefs addressing Halliburton’s discovery requests,

see Rec. Doc. 7033; Rec. Doc. 7037, upon which the Court relied in concluding that Halliburton

lacked standing. See Rec. Doc. 7038 at 2 (finding Halliburton lacked standing in part “[f]or

reasons expressed by BP”).

       E.      The VoO Offset Was Reasonable.

       Certain objectors complain about the VoO offset, pursuant to which economic loss

payments to charter boat operators are reduced by amounts paid to compensate them for their




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participation in the VoO program.52 According to these objectors, they are entitled to both

(1) full payment for their participation in the VoO program, and (2) full payment for all

economic losses sustained, calculated as though they had received no payment whatsoever for

their participation in the VoO program.

        The reason for a VoO offset is simple; it is to prevent a double recovery. The obvious

fact is that a charter boat operator who chartered his vessel to BP to participate in the VoO

program and received compensation for this participation has not suffered as severe an economic

loss as someone who could not participate. In fact, that the offset is only partial is a testament to

the hard bargain that the PSC drove during the negotiations, as a VoO participant who was paid

for its work usually suffered no loss of income and in many cases made more income than it

would have had the oil spill never taken place.

        The Coast Guard’s National Pollution Funds Center, which administers the Oil Spill

Liability Trust Fund, agrees with these obvious points:

        FAQ-8:            If I make a claim to the NPFC for lost income as a result of the oil
                          spill, will any income I received from alternative employment,
                          including employment as an oil spill responder, or unemployment
                          benefits, be considered in determining my compensation?

        A:                Yes. When considering payment for lost profits or lost earnings
                          claims by businesses and individuals the NPFC will require the
                          claimant to provide information on income from alternative
                          employment, including income related to any employment or sales
                          in connection with the oil-spill response and any unemployment
                          benefits received. Additionally, 33 C.F.R. § 136.105(b) and other
                          sections of the Claims Regulations require claimants to report any
                          compensation a claimant receives for the claimed amount or other
                          income that results from the oil spill. That income will be
                          considered in determining the actual loss to compensate.
52
  See, e.g., Rec. Doc. 6402; Rec. Doc. 6403; Rec. Doc. 6405; Rec. Doc. 6406; Rec. Doc. 6407; Rec. Doc. 6408;
Obj. Doc. 2; Obj. Doc. 3; Obj. Doc. 4; Obj. Doc. 5; Obj. Doc. 6; Obj. Doc. 7; Obj. Doc. 8; Obj. Doc. 9; Obj. Doc.
10; Obj. Doc. 11; Obj. Doc. 12; Obj. Doc. 13; Obj. Doc. 14; Obj. Doc. 15; Obj. Doc. 16; Obj. Doc. 17; Obj. Doc.
18; Obj. Doc. 19; Obj. Doc. 20; Obj. Doc. 21; Obj. Doc. 22; Obj. Doc. 23; Obj. Doc. 24; Obj. Doc. 25; Obj. Doc.
26; Obj. Doc. 27; Obj. Doc. 28; Obj. Doc. 29; Obj. Doc. 30; Obj. Doc. 31; Obj. Doc. 48.


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See National Pollution Funds Center, Deepwater Horizon Claimant FAQs (“NPFC FAQs”) ¶ 8,

http://www.uscg.mil/npfc/claims/DWH_faqs.asp.

        Nevertheless, certain VoO objectors complain that the VoO offset applies to charter boat

operators seeking compensation under the economic loss framework, but that it does not apply to

commercial fishermen seeking compensation under the Seafood Compensation Program. Yet

because charter boat operators who participated in the VoO program chartered their vessels to

BP, their normal business was not disturbed to the same extent as commercial fishermen, who

were engaged in a different type of work and did not receive profits in their ordinary line of

employment.53         While BP submits that under the law neither group is entitled to double

compensation, BP was willing to provide more generous terms to commercial fishermen in order

to reach a settlement.

        F.       Objections To The Seafood Compensation Program Lack Merit.

        Certain objectors complain about aspects of the Seafood Compensation Program. None

of these objections has merit.

                 1.       GO FISH’s Objections Lack Merit.

        GO FISH—“Gulf Organized Fisheries in Solidarity and Hope,” an advocacy group

formed after the spill—filed “comments and objections” regarding the Seafood Compensation

Program on April 25, 2012. See Rec. Doc. 6353. GO FISH presents a grab-bag of objections,

none of which justify rejection of the settlement.

        First, GO FISH complains that for many fishermen, the Seafood Compensation Program

awards are insufficient to protect against the risk of long-term damage. See Rec. Doc. 6353 at 3.
53
   Finally, certain VoO objectors allege that when they were hired to participate in the VoO program, they were told
that their payments for participating would not offset any other compensation that they would receive. Were this
issue ever litigated, BP would contest these objectors’ version of the facts. But because a settlement is meant to
avoid a trial on the merits—and certainly does not need to provide double compensation to win court approval—
these allegations in no way preclude the Court from finding that the settlement is fair, reasonable, and adequate.


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But GO FISH offers only its own say-so; it presents no evidence either that (1) the Gulf is not

recovering or (2) that the generous RTPs provided by the Settlement Agreement are insufficient

to protect against the risk of future loss. In contrast, BP has demonstrated using expert testimony

that the Gulf is recovering, such that the risk of future losses is low. See supra Part II.F.4. GO

FISH also has no response to the point that much of the damage to fisheries that did occur

resulted not from the oil spill but from the unilateral decision of Louisiana to divert freshwater

into its estuary areas in 2010.54

         Second, GO FISH complains that the program pays too much money to oyster

leaseholder property claims, leaving insufficient money in the Fund to pay other claims. See

Rec. Doc. 6353 at 3. Yet this argument depends upon GO FISH’s unsupported fear that there is

insufficient money in the Seafood Compensation Program to compensate all claimants under the

terms of the program. See Rec. Doc. 6353 at 5. Yet as Balhoff has concluded, a “conservative”

(i.e., likely too high) estimate of initial payments under the Seafood Compensation Program is

$1.9 billion. See Balhoff Decl. (Joint Ex. B) at 4. Similarly, Dr. Smith has explained that “$2.3

billion is clearly sufficient compensation to meet a standard of fair, reasonable, and adequate.”

Smith Decl. (Ex. 17) ¶ 18. Because GO FISH has no basis for its contention that there will be

insufficient funds in the Seafood Compensation Program to pay all claims, it cannot show that

any claimants will be undercompensated. Its objection accordingly fails for this reason alone.
54
   Assume arguendo that GO FISH (or other objectors) could somehow come up with evidence supporting such
objections. All that would mean is that the parties have disputes as to various facts, but it proves nothing about the
settlement’s fairness, as the parties here have agreed to settle disputed claims. Regardless of whether one agrees
with BP with respect to the merits of this lawsuit, the law clearly provides for settlement of even so-called
“meritorious” claims, reflecting the fact that settlements are generally based on several different considerations. See
In re Am. Bank Note Holographics, 127 F. Supp. 2d 418, 427 (S.D.N.Y. 2001) (“[W]hile Plaintiffs believe that their
claims are meritorious, the fairness and reasonableness of the proposed Settlement in light of the risks, burdens and
uncertainties of continued litigation are manifest.”); In re Newbridge Networks Sec. Litig., No. 94-1678, 1998 WL
765724, at *2 (D.D.C. Oct. 23, 1998) (“Counsel maintain that plaintiffs’ legal claims are meritorious, but settlement
forestalls the substantial and inevitable uncertainties attendant to proceeding to trial”); Lazy Oil Co. v. Witco Corp.,
95 F. Supp. 2d 290, 337 (W.D. Pa. 1997) (“[N]o matter how confident one may be of the outcome of the litigation,
such confidence is often misplaced.”) (quotation omitted), aff’d, 166 F.3d 581 (3d Cir. 1999). If the rule were
otherwise, colorable claims could never be settled. That is not the law.

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See, e.g., Cobell v. Salazar, 679 F.3d 909, 921 (D.C. Cir. 2012) (requiring objectors to show

“persuasive evidence of class members who are under-compensated by the distribution

scheme”). Finally, even if there were some risk that the $2.3 billion allocated to the Seafood

Compensation Program is inadequate to fully compensate all relevant claims (and BP submits

that there is not), such minor risk still would not counsel against approval of the settlement. See

Int’l Union, United Auto., Aerospace, & Agric. Implement Workers of Am. v. Gen. Motors Corp.,

No. 07-14074, 2008 WL 2968408, at *33 (July 31, 2008) (“Although there is a risk that the

assets . . . may not be sufficient to fund benefits at the existing level for the lives of all

participants, the parties—in fashioning a compromise—are entitled to allocate the risk of

investment performance among themselves.”); see also Robinson v. Ford Motor Co., No. 04-

844, 2005 WL 5253339, at *5 (S.D. Ohio June 15, 2005) (“[T]he Court must view the agreement

in its entirety, rather than isolating individual components of the agreement for analysis.”)

(quotation omitted). In fact, while this Settlement Agreement will fully and fairly compensate

class members for all established losses, “there is no reason, at least in theory, why a satisfactory

settlement could not amount to a hundredth or even a thousandth part of a single percent of the

potential recovery.” Parker v. Anderson, 667 F.2d 1204, 1210 n.6 (5th Cir. 1982) (quotation

omitted); accord Lazy Oil Co. v. Witco Corp., 95 F. Supp. 2d 290, 339 (W.D. Pa. 1997)

(collecting cases), aff’d, 166 F.3d 581 (3d Cir. 1999).

       Third, GO FISH complains that to qualify for “expedited” compensation, fishermen must

both have good records and be in the top bracket of income earners. This is a problem, GO FISH

says, because the “historic method” of compensation places too much risk on class members.

See Rec. Doc. 6353 at 3. As Dr. Smith has explained, however, the documentation requirements

for vessel owners, captains, and crew are all reasonable. See Smith Decl. (Ex. 17) ¶¶ 26-27, 67.



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Moreover, Dr. Smith has explained that the “historic revenue method is already a fair approach”

for those claimants who use it. See id. ¶ 37; see also Fishkind Decl. (Ex. 4) ¶ 127 (explaining

that the loss percentage that applies under the historic revenue method for shrimp claimants is

generous).

       Fourth, GO FISH complains that the expedited method is not available at all for

crabbers, finfish fishermen, and oystermen. See Rec. Doc. 6353 at 9. Contrary to GO FISH’s

contention, however, the compensation methods applicable to each of these groups is fair.

       •     As for blue crab, the compensation approach “accounts for both the downturn in

             landings in 2010 and the potential that some blue crab fishermen incurred capital

             losses as a result of damaged or lost fishing gear (such as crab traps) in the period

             following the oil spill,” Smith Decl. (Ex. 17) ¶ 47, and the “RTPs for blue crab

             claimants are sufficiently large to expect that they will cover any reasonable

             expectation of future losses.” Id. ¶ 51; see also Fishkind Decl. (Ex. 4) ¶ 137 (“The

             standard loss factor for the blue crab industry is set at 35% and the price adjustment

             factor is set at 20%. Both of these parameters are generous in light of the landings

             data for blue crabs.”).

       •     With respect to finfish, the “finfish component of the SCP is fair, reasonable, and

             adequate, likely to over-compensate individual claimants.” Smith Decl. (Ex. 17)

             ¶ 58; see also Fishkind Decl. (Ex. 4) ¶ 142 (“[T]he Seafood Program provides fair

             and adequate compensation to claimants in the finfish industry.”).

       •     Finally, as to oystermen, “the compensation approach is fair, reasonable, and

             adequate,” Smith Decl. (Ex. 17) ¶ 42, even giving oystermen the benefit of a price

             increase that was likely caused in part by the reduction in harvest due to closures and


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           freshwater diversions following the Deepwater Horizon incident. See id. ¶ 42; see

           also id. ¶ 135 (“[T]he Seafood Program provides fair and adequate compensation to

           claimants in the oyster industry.”).

While BP has justified the structure and compensation methods of the Seafood Compensation

Program by reference to considerable expert testimony (and, indeed, the parties negotiated the

agreement with the benefit of expert assistance), GO FISH presents only its own speculative

assertions that the compensation amounts are inadequate.

       Fifth, GO FISH complains that the Seafood Compensation Program uses 2009 as a

benchmark year, ostensibly a bad year for some commercial fishermen. See Rec. Doc. 6353 at

11. In reality, the shrimp, finfish, blue crab, and seafood crew plans permit a claimant to choose

among (1) 2009; (2) an average of 2008 and 2009; and (3) an average of 2007, 2008, and 2009.

See Agreement Ex. 10 at 7 (shrimp); id. at 43 (finfish); id. at 55 (blue crab); id. at 66 (seafood

crew). The oyster plan generally uses a combination of 2007, 2008, and 2009, with the ability to

discount a bad year in some circumstances. See id. at 30. As explained above, the number of

options that claimants are given is highly favorable as compared to litigation, where the chosen

benchmark year would be highly contested even assuming liability were established. See, e.g.,

Smith Decl. (Ex. 17) ¶ 22. Additionally, declines in the shrimp industry that are unrelated to the

Deepwater Horizon spill—caused by rising fuel prices, costs of regulatory compliance, and

downward pricing pressure caused by imports—mean that “extending the baseline period for

revenues further back in time before 2007 could yield results that are not representative of the

catch expected in 2010 in the absence of the spill.” Id. ¶¶ 29, 32. “Extending the benchmark

period in this way could incorporate information from a period when exogenous market




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conditions were more favorable than they were in 2010, and thus may provide a less reliable

benchmark for estimating a claimants ‘but-for’ catch in 2010.” Id. ¶ 32.

       Sixth, GO FISH complains that the 2.25 RTP for subsistence claims is too low. See Rec.

Doc. 6353 at 13. While GO FISH contends that the “seafood that is sold commercially is the

same seafood that fishermen bring home to feed their families and communities,” id. at 13, the

“Framework [for Subsistence Claims] amply compensates commercial fishermen for that lost

subsistence catch at retail prices — rather than the wholesale prices at which they sell their catch

— and those subsistence-related recoveries are independent of payments from the Settlement’s

Seafood Compensation Program.” Kelley Decl. (Ex. 12) ¶ 23.

       Seventh, GO FISH argues that the release is invalid ab initio because it fails to state that,

in the event a particular release were procured by fraud, that release would be invalid. See Rec.

Doc. 6353 at 13. While GO FISH and its members will be free to allege fraud as a defense to

any specific release should the facts ever support it (and BP submits that they will not), the

release’s failure to explicitly state that it would become void in the event of fraud does not mean

that it is facially void in all cases, absent any particularized showing of fraud.

       Eighth, GO FISH complains that the agreement penalizes those who accepted transition

interim payments. See Rec. Doc. 6353 at 14. According to GO FISH, once class members who

accepted a 60% payment during the transition period file a claim form in the settlement program,

they are barred from opting out, and instead must either accept the remaining 40% of their offer

from the GCCF or accept the settlement program’s offer. Rec. Doc. 6353 at 14. No one in this

position was compelled to either take the 60% transition payment or to file a claim with the

settlement program. Moreover, such claimants have made a choice to proceed to seek the




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benefits of the settlement program, which are made available to class members. Hence, their

assent to participate in the settlement class has been made clear.

       Ninth, GO FISH complains that executed releases infringe on constitutional rights by

limiting class members’ rights to seek remedies relating to the Deepwater Horizon incident. See

Rec. Doc. 6353 at 14. But as noted above, see supra Part III.B.1.a, OPA permits the use of final

releases—and federal courts routinely approve settlements in which one litigant promises not to

institute further legal proceedings against the other. See, e.g., Williams, 23 F.3d at 935 (noting

that public policy favors the voluntary settlement of claims). If GO FISH’s objection had merit,

it would mean that there could never be a settlement of fishing claims in this case—a facially

baseless proposition.

               2.       The Shrimpers’ And Shrimp Processors’ Objections Lack Merit

       The American Shrimp Processors Association complains that shrimp processors who fall

outside the Seafood Compensation Program are treated less generously than shrimp harvesters

who fall within it. See Rec. Doc. 6368 at 5. Under the Court’s rulings, however, commercial

fishermen fall within an arguable exception to the Robins Dry Dock principle and thus—

notwithstanding BP’s arguments to the contrary—conceivably might be eligible for punitive

damages under maritime law in a way that processors are not. See B1 Order (Rec. Doc. 3830) at

19-20. For that reason, there is nothing improper in the parties’ negotiation of detailed claims

frameworks that compensate class members in light of the strength of their claims. See, e.g., In

re WorldCom, Inc. Sec. Litig., 388 F. Supp. 2d 319, 343 (S.D.N.Y. 2005) (“Settlement proceeds

may be allocated according to the strengths and weaknesses of the various claims possessed by

Class Members.”) (citing In re Holocaust Victim Assets Litig., 413 F.3d 183, 186 (2d Cir. 2001));

Phemister v. Harcourt Brace Jovanovich, Inc., No. 77-39, 1984 WL 21981, at *7 (N.D. Ill. Sept.

14, 1984) (finding a proposed distribution fair and reasonable where different class members had
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claims of different strength). Moreover, even if it could be demonstrated that some class

members received supra-compensatory awards while other class members received only

compensatory awards, that is not a basis for rejecting the settlement agreement. See, e.g.,

Cobell, 679 F.3d at 921. It should be noted, as well, that shrimp processors receive the highest

RTP in the Economic Damage Claim Frameworks, an RTP of 3. See Agreement Ex. 15.

        Additionally, certain shrimp plaintiffs have objected on the basis that the benchmark

period under the Shrimp Compensation Plan should be defined to allow shrimpers to select a

single benchmark year between 2006 and 2009, as 2009 was a poor year in the shrimp industry.

See Rec. Doc. 6371. As noted above, however, declines in the shrimp industry that are entirely

unrelated to the Deepwater Horizon spill mean that “extending the baseline period for revenues

further back in time before 2007 could yield results which are not representative of the catch

expected in 2010 in the absence of the spill.” See Smith Decl. (Ex. 17) ¶ 32. Finally, the “RTPs

for shrimp are large,” id. ¶ 39; “the shrimp component of the SCP is fair, reasonable, and

adequate, and likely to over-compensate individual claimants.” Id.

        G.      Selmer Salvesen’s Objections Lack Merit.

                1.      Salvesen’s April 8 Objections

        On April 8, 2012, Selmer M. Salvesen filed an objection to the Settlement Agreement

styled as a motion asking the Court to vacate its opinion resolving the various motions to dismiss

the Amended B1 Complaint. See Rec. Doc. 6186-1. The objection first argues that under the

Supreme Court’s decision in Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S.

26 (1998), the B1 Order somehow constitutes a “trial proceeding” that the MDL court may not

conduct. Second, the objection suggests somewhat vaguely that the Court’s trial plan violates

Salvesen’s right to a jury trial.



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       Salvesen’s Lexecon argument is erroneous, first because it rests on the incorrect premise

that an MDL transferee court may not resolve pretrial motions to dismiss. In reality, transferee

courts rule on such motions regularly. See David F. Herr, Multidistrict Litig. Manual § 9:13

(“The transferee court in multidistrict litigation can hear a wide variety of pretrial motions. Any

motion that could be heard in a transferor court can be heard by the transferee court while the

actions are pending for coordinated or consolidated pretrial proceedings.”); see also, e.g., In re

BP p.l.c. Sec. Litig., --- F. Supp. 2d ----, MDL No. 10-2185, 2012 WL 1098418 (S.D. Tex. Mar

30, 2012) (ruling on a motion to dismiss); In re Apple iPhone 3G & 3GS MMS Mktg. & Sales

Practices Litig., --- F. Supp. 2d ----, MDL No. 2116, 2012 WL 1069169 (E.D. La. Mar. 29,

2012) (Barbier, J.) (same); In re FEMA Trailer Formaldehyde Prods. Liab. Litig., MDL No. 07-

1873, 2012 WL 1019856 (E.D. La. Mar. 23, 2012) (same); cf. In re Ford Motor Co., 591 F.3d

406, 411 (5th Cir. 2009) (per curiam) (holding that once the MDL court has ruled on pretrial

motions and returned the cases to the transferor courts, the transferor courts “should rarely

reverse” the transferee court’s resolution of pretrial motions).      Salvesen cites no contrary

authority.

       Second, Salvesen’s argument depends upon the Court’s acting in an MDL capacity. The

Limitation Action, however, was transferred to the Eastern District of Louisiana for all purposes,

not for pretrial purposes under 28 U.S.C. § 1407. See In re Triton Asset Leasing GmbH, No. 10-

1721, Rec. Doc. 207 (S.D. Tex. Aug. 16, 2010) (Judge Ellison’s transfer order to the Eastern

District of Louisiana).   For that reason, Lexecon has no application to the Limitation and

Liability trial, including claims in Limitation and tenders of such claims by the Petitioners in

Limitation pursuant to Rule 14(c), or to the resolution of claims filed in the Amended B1

Complaint, which was directly linked to the Limitation Action.



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           Third, Salvesen ignores key points about the powers that the Court wields connected to

the Limitation Action: (1) the Limitation Act and the applicable federal rules give the Court

broad discretion and power to resolve third-party claims, see, e.g., Karim v. Finch Shipping Co.,

265 F.3d 258, 264 (5th Cir. 2001) (limitation proceedings “look[] to a complete and just

disposition of a many cornered controversy . . . . The court of admiralty, in working out its

jurisdiction, acquires the right to marshal all claims, whether of strictly admiralty origin or not”)

(emphasis added and quotations omitted); and (2) nothing would prevent the outcome of any

Limitation Act trial from creating claim and issue preclusive effects as to cases transferred into

the MDL pursuant to Section 1407, since those are purely legal defenses that can be applied on a

pretrial basis. There is no conflict between (1) the class action settlement under review here and

(2) litigation on the Amended B1 Complaint for those who opt out of the class and are

participants in that complaint and the Limitation Action to which it attaches.

           Fourth, plaintiffs filed a new class action complaint directly into the Eastern District of

Louisiana to effectuate the settlement and thus did not invoke the JPML’s processes for transfer,

making Lexecon wholly irrelevant to the settlement. See Bon Secour Fisheries, Inc. v. BP

Exploration & Prod. Inc., No. 12-970 (E.D. La. Apr. 16, 2012).

           Finally, Salvesen’s jury trial arguments are misguided. This is true both because binding

authority holds that a district court may conduct a Limitation Action without a jury (despite the

contrary argument Cameron unsuccessfully advanced in its mandamus petition to the Fifth

Circuit, which that court rejected in December 2011),55 and because the resolution of pretrial

motions to dismiss would not infringe upon a jury trial right even if such a right existed as to the




55
     See In re Cameron Int’l Corp, No. 11-30987 (5th Cir. Dec. 26, 2011).


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claims tied to a Limitation Act case. See, e.g., Becker v. Tidewater, Inc., 405 F.3d 257, 259-60

(5th Cir. 2005); Karim, 265 F.3d at 264.

               2.      Salvesen’s July 2 Objections

       On July 2, 2012, Salvesen filed a motion to vacate the Court’s preliminary approval

order. See Rec. Doc. 6831-1. According to Salvesen, the settlement is unlawful because, once a

Limitation Action has commenced with respect to a particular maritime casualty, there can never

be a class action regarding the same casualty, even against a party other than the Limitation Act

petitioner. Id. at 23-24.

       None of the authorities that Salvesen cites supports this proposition. To the contrary,

each case cited by Salvesen involves claims against the Limitation Act petitioner. See In re

Ingram Barge Co., No. 05-4419, 2006 WL 5377855, at *1 (E.D. La. Oct. 19, 1996) (granting a

motion to dismiss brought by the Limitation Act petitioner); In re River City Towing Servs., Inc.,

204 F.R.D. 94, 94 (E.D. La. 2001) (“Before the Court is a Motion for Class Certification . . .

filed by Claimants in this limitation proceeding.     The motion is opposed by Petitioner in

Limitation . . . .”) (emphasis omitted); Gabarick v. Laurin Mar. (Am.) Inc., No. 08-4007, 2009

WL 102573 (E.D. La. Jan. 12, 2009) (dismissing claims filed against the Limitation Act

petitioners). While Humphreys v. HAL Antillen, N.V., No. 93-3799, 1994 WL 682811, at *2-3

(E.D. La. Jan. 31, 1994) involves claims against a non-Limitation Act petitioner, the Court’s

holding depended upon the fact that the class defendant had filed a Rule 14(c) claim against the

Limitation Act petitioner. That precedent simply does not apply here, where only BP entities are

named in the Bon Secour complaint and BP has not sought to implead Transocean.




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       H.      Pinellas Marine Salvage, Inc. And John Mavrogiannis’s Objections Lack
               Merit.

       On July 13, 2012, Pinellas Marine Salvage, Inc. and John Mavrogiannis (collectively,

“Pinellas”) submitted an objection speculating that the settlement is the product of collusion. See

Rec. Doc. 6902-1. There is no valid basis for such an objection.

       Pinellas primarily argues that the settlement is collusive because it retains the claims

administration vendors employed by the GCCF. See id. at 5-7. In so arguing, however, Pinellas

ignores the salient facts that (1) the claims administration vendors will answer to a new claims

administrator, who will in turn be supervised by the Court; and (2) both the claims administrator

and the claims administration vendors will exercise their responsibilities pursuant to new,

detailed, transparent, objective, and highly negotiated claims frameworks. That some of the

vendors who will implement these frameworks remain the same preserves these experienced

vendors, allowing claims to be processed promptly, while having those vendors governed by a

new set of rules.

       Pinellas next argues that the settlement is collusive because its total value is not estimated

to entirely deplete the Deepwater Horizon Oil Spill Trust. See id. at 7. To begin with, this

argument ignores the fact that the settlement is uncapped (with the exception of the Seafood

Compensation Program); there is therefore no guarantee that BP’s liability will or will not

exceed any particular amount. Yet more fundamentally, Pinellas cannot explain why, if the

claims frameworks are otherwise fair, the settlement is required to deplete the Trust. This is

particularly true where (as Pinellas argues) certain claims fall outside the Settlement Agreement

and may be settled at a later date.

       Pinellas also claims that the Settlement Agreement provides excessive compensation to

the PSC, in light of BP’s agreement not to contest an award of up to $600 million for attorneys’


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fees and costs as a combined award in connection with resolving the economic loss and medical

benefit settlements. See id at 7-9. While BP has agreed not to contest such an award, the PSC

has yet to request such an award from the Court. At such time as the PSC files a fee/cost

petition, Pinellas and other class members may opine on its reasonableness. Until such time, this

argument is entirely premature.

       Finally, Pinellas contends that the settlement “makes a mockery of the OPA” by defining

the class with respect to geographic boundaries, requiring final releases, providing for a

shortened limitations period, and failing to pay interest on the amount paid. See id. at 15. But no

one has standing to complain about exclusion from the class, see supra Part III.A, OPA permits

the use of final releases, see supra Part III.B.1.a, and OPA has textual stopping points that accord

with basic causation and background maritime law principles—the same principles that served as

a touchstone when drawing the class’s geographic boundaries. See supra Part II.B. As further

discussed above, RTP payments are meant to compensate for, among other things, pre-judgment

interest. See supra Background Part III.A.2.

       I.      Cass Wilson’s Objections Lack Merit

       On July 25, 2012, Cass Wilson and his business 2 Stix, Inc. (collectively, “Wilson”)

submitted an objection. See Obj. Doc. 50. According to this objection, the Court should not

approve the Settlement Agreement because certain start-up businesses are required to

demonstrate that that an increase in revenue following the Spill was attributable to customers

located in certain geographic zones. Yet these proof requirements are economically reasonable.

See Fishkind Decl. (Ex. 4) ¶ 85 (“[I]t is economically reasonable to increase the threshold

requirements for establishing causation in industries and locations less closely associated with

the Gulf.”). It is therefore unsurprising that this requirement was negotiated by experienced

counsel in consultation with their many business clients. In any event, the Business Economic
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Loss and Start-Up Business Frameworks offer claimants without a presumption several

alternative options for establishing causation, and these requirements are far more forgiving than

the evidentiary burdens that would apply in adversarial litigation.

        J.      Alex Toth’s Objections Lack Merit

        On August 8, Alex S. Toth submitted objections on behalf of his business, Captain Al’s

Restaurant (collectively, “Toth”).    Obj. Doc. 54.     First, Toth contends that the settlement

discriminates against failed businesses, as their damage framework provides less compensation

than businesses that were able to remain in operation. Toth contends that the owners of failed

businesses should receive more compensation, as they are deprived of years of future revenues.

In reality, the Failed Business Framework is carefully designed to compensate the claimant for

the value of his business, permitting him to use any compensation to generate future revenue.

See, e.g., Sharp Decl. (Ex. 18) ¶ 38 (“The Settlement Agreement compensates Failed Businesses

based on the sum of their EBITDA for the latest twelve months of operations prior to May 1,

2010 with an industry-specific multiple applied. This formula calculates the pre-spill total

enterprise value.”); Fishkind Decl. (Ex. 4) ¶ 103 (“Compensation for a Failed Business provides

for payment of the full value of the business at the time of the DWH Spill, generously reflecting

the assumption that the DWH Spill was the sole cause of the claimant’s failure.”); Henley Decl.

(Ex. 10) ¶ 34 (“The formula—last 12 months’ EBITDA multiplied by an empirical industry

multiple minus realized liquidation value—is a widely-recognized measure of damages for failed

businesses.”); Richardson Decl. (Ex. 16) ¶ 57 (“This allows the Claims Facility to get an

estimate of the Total Enterprise Value and then to calculate a net value by subtracting liquidation

value of the assets of the firm.”).

        Second, Toth complains about the EBITDA multiplier that applies to his particular

business. See Agreement Ex. 6 ¶ V.1.b. According to Toth, his business should have received a
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higher EBITDA multiple than other bars and restaurants, as it was very profitable. Yet the

EBITDA multipliers selected by the parties were not invented from whole cloth; they were

carefully calibrated from standard, accepted sources. See, e.g., Sharp Decl. (Ex. 18) ¶ 39 (“The

industry-specific multiples are provided in a table in the Settlement Agreement, and were derived

from data procured from the “Pratt’s Stats” database developed by Shannon P. Pratt. ‘Pratt’s

Stats’ is a transaction database that collects and reports details of sales of certain companies

generally allowing for, among other things, the calculation of pricing multiples associated with

such transactions.       The observed multiples can then be used to estimate the value of a

comparable business.”) (footnotes omitted); Fishkind Decl. (Ex. 4) ¶ 104 (“I routinely use Pratt’s

Stats in my practice and find it to be a reliable source for industry multipliers. Businesses

routinely value their acquisitions and mergers using industry multipliers and trailing 12-month

EBITDA sums.”); Henley Decl. (Ex. 10) ¶ 34 (“The ‘Pratt’s Stats’ that are used as the source for

an industry multiple are widely recognized as the standard source for such multiples.”).56

IV.     THE NOTICE PROVIDED TO THE CLASS MEMBERS FAIRLY INFORMED
        THEM OF THE SETTLEMENT AND ITS TERMS.

        Where parties seek certification of a settlement class pursuant to Rule 23(b)(3) and

approval of a settlement pursuant to Rule 23(e), “notice of the class action must meet the

requirements of both Rule 23(c)(2) and Rule 23(e).” In re CertainTeed Corp. Roofing Shingle

Prods. Liab. Litig., 269 F.R.D. 468, 480 (E.D. Pa. 2010); accord In re Serzone Prods. Liab.



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   Two groups of class members have submitted objections that are highly individualized appeals for particular
treatment in their specific cases. See Obj. Doc. 51; Obj. Doc. 52. Because the goal of the Settlement Agreement is
to compensate all class members in highly transparent and predictable ways, consistent with the negotiated claims
frameworks, any appeals for special treatment in a particular case must fail. And if a particular class member or two
do not like the settlement, then they can opt out of the settlement, and embark upon a decade of litigation with an
uncertain result: that is their choice.




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Litig., 231 F.R.D. 221, 231 (S.D. W. Va. 2005). The notice program that the Court authorized in

its preliminary approval order and that the parties faithfully executed easily meets this standard.

       A.       The Notice Distribution Method And Notice Contents Satisfied Rule 23(c)(2).

       Rule 23(c)(2) provides that where a class is certified pursuant to Rule 23(b)(3), “the court

must direct to class members the best notice that is practicable under the circumstances,

including individual notice to all members who can be identified through reasonable effort.”

Fed. R. Civ. P. 23(c)(2)(B). The notice is required to state (1) the nature of the action; (2) the

definition of the class certified; (3) the class claims, issues or defenses; (4) that a class member

may enter an appearance though an attorney if the member so desires; (5) that the court will

exclude from the class any member who requests exclusion; (6) the time and manner for

requesting exclusion; and (7) the binding effect of a class judgment under Rule 23(c)(3). Id. As

explained below, the notice program complied with all these requirements.

                1.     The Notice Distribution Method Satisfied Rule 23(c)(2).

       The Court already has stated that the “Notice Plan provides the best notice practicable

under the circumstances pursuant to Fed. R. Civ. P. 23(c)(2)(B).” Preliminary Approval Order

at 38 (emphasis added). As the Court explained,

       The Notice Plan contemplates direct mailed notice to individual class members, to
       the extent known, and their attorneys, to the extent known. In addition, the Notice
       Plan provides for a broad-reaching published Notice in numerous national and
       local media, with a notice effort covering the entire United States, primarily
       focusing on the main impact States of Louisiana, Alabama, and Mississippi, and
       enumerated counties in Texas and Florida. Furthermore, banner notice ads will
       appear on national and local web properties. A complete copy of the Proposed
       Settlement with exhibits will be provided to any individuals or entities wishing to
       determine whether they are class members and what their rights are under the
       Proposed Settlement. There will also be a case website where potential class
       members can obtain additional information and documents, including a list of
       frequently asked questions that will be regularly updated to provide useful
       information about the Settlement.

Id. at 37-38.

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         As Cameron R. Azari, Esq.57 explains, “the reach and frequency of the Notice Plan media

effort in the Gulf Coast Areas surpassed that of the vast majority of other court-approved notice

programs, and as designed, it met and exceeded due process requirements.” Azari Decl. (Joint

Ex. A) ¶ 6. In total, the plan included “dissemination of individual notice to known or potential

Settlement Class Members via postal mail and email, an extensive schedule of local newspaper,

radio, television and Internet placements, well-read consumer magazines, a national daily

business newspaper, highly-trafficked websites and Sunday local newspapers (via newspaper

supplements). Notice placements also appeared in non-measured trade, business and specialty

publications, African-American, Vietnamese and Spanish language publications and Cajun radio

programming.” Id. ¶ 8. Azari estimates that 95% of adults in the Gulf Coast were exposed to the

notice an average of 10.3 times each, and that 83% of all U.S. adults were exposed at least 4

times each. Id. ¶ 10.

         Courts routinely approve class notice distribution plans far less robust than that

undertaken here.        For example, in In re Chinese-Manufactured Drywall Products Liability

Litigation, the court approved a notice program consisting of individual notice to all class

members and their counsel and the posting of the Settlement Agreement on the Court’s MDL

website. See MDL No. 2047, 2012 WL 92498, at *13 (E.D. La. Jan. 10, 2012). The Court found

that the notice was “written in plain and straightforward language; it also objectively and

neutrally apprises all Class Members on the nature of the action, the definition of Class and

Subclasses, and relevant deadlines and restrictions, as well as the date and location for the final

Fairness Hearing.” Id. And in In re Combustion, in addition to mailing individual notice to class


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  Mr. Azari is the Director of Legal Notice for Hilsoft Notifications, a firm specializing in “designing, developing,
analyzing and implementing large-scale, un-biased, legal notification plans.” Azari Decl. (Joint Ex. A) ¶ 3. The
Court appointed Hilsoft Notifications as the Class Notice Administrator. See Preliminary Approval Order at 38.


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members, the class notice was “published in two local newspapers, the Baton Rouge Morning

Advocate and the Denham Springs News on March 13, 1997.” 968 F. Supp. at 1129. The court

found the “direct mailings as well as publication in two local newspapers [to be] reasonable and

sufficient to satisfy the Due Process requirement of notice, as well as all notice requirements of

[Rule 23].” Id. The notice plan here, as designed and implemented, has gone well beyond the

scope of the judicially approved notices in these and other cases.

               2.     The Notice Contents Satisfied Rule 23(c)(2).

       Similarly, the Court has already approved the contents of the class notice:

       The Economic Loss and Property Damage Settlement Class Notice clearly and
       concisely states in plain, easily understood language: (i) the nature of the action;
       (ii) the definition of the class certified; (iii) the class claims, issues, or defenses;
       (iv) that a class member may enter an appearance through an attorney if the
       member so desires; (v) that the Court will exclude from the class any member
       who requests exclusion; (vi) the time and manner for requesting exclusion; and
       (vii) the binding effect of a class judgment on class members. See Fed. R. Civ. P.
       23(c)(2)(B).

Preliminary Approval Order at 37; see also Azari Decl. (Joint Ex. A) ¶ 12 (“All notice

documents were designed to be noticeable, clear, simple, substantive and informative. No

significant or required information was missing.”). Because the “plain language of the Notice

apprise[d] all class members of the nature of the action, the definition of the class, the class

claims and the defenses, the class members’ right to be heard, the class members’ right to

exclusion, the time and manner for requesting exclusion, and the binding effect of a class

judgment,” the notice contents satisfied Rule 23(c)(2). See In re OCA, 2008 WL 4681369, at

*15.

       B.      The Notice Satisfied Rule 23(e).

       The Court also has already concluded that “the Notice and the Notice Plan comply with

Fed. R. Civ. P. 23(e)(1)’s requirement that the Court direct notice to Class Members in a


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reasonable manner.” Preliminary Approval Order at 38. As the Court explained, “[t]he notice is

reasonably calculated to inform interested parties of the pendency of the settlement and afford

them an opportunity to determine whether they are class members, seek all relevant information

about the Proposed Settlement, determine their rights under the Proposed Settlement, and present

their objections, if any.” Id.; cf., e.g., Fowler v. Birmingham News Co., 608 F.2d 1055, 1059

(5th Cir. 1979) (noting the “mechanics of the notice process are left to the discretion of the

district court subject only to the broad ‘reasonableness’ standards imposed by due process”);

Navarro-Ayala v. Hernandez-Colon, 951 F.2d 1325, 1337 (1st Cir. 1991) (same principle);

Quigley v. Braniff Airways, Inc., 85 F.R.D. 74, 77 (N.D. Tex. 1979) (noting a district court’s

“virtually complete discretion as to the manner and method of notice”).

       In short, the notice program was extraordinarily robust, and far and away exceeded the

minimum requirements imposed by the Federal Rules and the Due Process Clause. See Azari

Decl. (Joint Ex. A) ¶ 16 (“In my opinion, the Notice Plan was the best notice practicable under

the circumstances of this case and satisfied the requirements of due process . . . .”).

                                          CONCLUSION

       The Agreement that has been reached by the parties is fair, reasonable, and adequate. It

makes the plaintiff class more than whole, while sparing class members years of litigation with

no guarantee of a recovery rising to the generous levels provided for in the agreement.

       Accordingly, BP respectfully requests that the Court grant final approval to the

Settlement Agreement.




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August 13, 2012               Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 13th day of August 2012.


                                                   /s/ Don K. Haycraft
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